                   EXHIBIT B




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                   CRST EXPEDITED, INC.

             INDEPENDENT CONTRACTOR
              OPERATING AGREEMENT




                                                                Rev. October 2017



THIS AGREEMENT CONTAINS INDEMNIFICATION PROVISIONS, WHICH ARE HIGHLIGHTED IN
BOLDFACED UNDERLINED TYPE.




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                    INDEPENDENT CONTRACTOR OPERATING AGREEMENT

          CRST Expedited, Inc. ('Carrier), an authorized for-hire interstate motor carrier registered with the Federal Motor
Carrier Safety Administration ('FMCSA") of the U.S. Department of Transportation ('DOT') and applicable State and foreign
authorities, and the undersigned independent contractor ('Contractor'), together the Parties,' in consideration of the mutual
covenants herein contained and pursuant to the Federal Truth-In-Leasing Regulations, 49 C.F.R. Part 376, enter into this
Independent Contractor Operating Agreement ((he "Agreement').

    1.    CONTRACTOR'S EQUIPMENT AND SERVICES.                       endar days due to Illness or other urgent personal busi-
                                                                     ness;
          1(A). Provision of Equipment and Services.
Contractor warrants that he/she is the "owner" of the equip-                     1(B)(8).   Lead Driver or Team Driver
ment set forth in the attached Equipment Receipt and Sec-           •
                                                                    whose Student Driver or co-Team Driver, respectively,
tion 1 of Appendix A (Contractor Election Form) or as               is riding in but not driving the Equipment for no more
supplemented in an Addendum ('Equipment) within the                 than seven consecutive calendar days because the
meaning of 49 C.F.R. §376.2(d) and has full authority to            other driver has been temporarily disqualified by Carrier
contract the Equipment and services to Carrier; and that the        from driving (due to expiration of commercial driver's li-
Equipment is in good, safe, and efficient operating condition,      cense or other reason approved by Carrier);
meets all applicable federal, state, local, and foreign re-
quirements, and is in all respects fit and serviceable for the                   1(B)(9).    Lead Driver or Team Driver is
use intended under this Agreement. Contractor hereby pro-            dispatched by Carrier to aCarrier terminal in connection
vides Carrier with professional truck driving services, other        with terminatiod of this Agreement by Contractor or Car-
incidental transportation-related services, and the use of the       rier; or
Equipment.
                                                                                 'I(B)(lO). Carrier has disqualified aStudent
         1(B). Team Driving. To maximize Carrier's effi-             Driver or Co-Team Driver from driving, or the Student
ciency in meeting its customers' expedited transportation            Driver or Co-Team Driver has ended his/her service
needs, Contractor agrees to have the Equipment operated              with Carrier or Contractor, respectively, and Contrac-
using two-driver teams only, except when                             tor's other Team Driver is heading to pick up another
                                                                     Student Driver or Co-Team Driver (not to exceed four-
                1(8)(1).   Contractor has entered into a             teen (14) consecutive calendar days).
    Lead Driver Program Addendum to this Agreement and
    aContractor driver ('Lead Driver") Is dropping off aCar-                1(C). No Limitations on Contractor's Use of
    rier driver-candidate employee under such Program            Eguinment. Carrier does not agree to make any minimum
    ('Student Driver) at a Carrier-designated location and       use of the Equipment, to use the Equipment at any particu-
    heading to Contractor-designated time not furnishing
                -                                                lar time or location, or to furnish any specified number of
    services under this Agreement ('Home Time");        -
                                                                 loads or pounds of freight to Contractor or to guarantee any
                                                                 amount of revenue to Contracto'r. Contractor is free to ac-
             1(B)(2).  Lead Driver Is coming back from           cept or reject any specific shipment offered by Carrier. Con-
    Home Time and heading to pick up aStudent Driver;            tractor is not prohibited from entering Into separate agree-
                                                                 ments to provide other equipment and other professional
                1(B)(3)   Lead Driver has dropped off a          truck drivers, not identified as Equipment above or in an
    Student Driver at a Carrier-designated location and no       appendix and drivers not used to service this Agreement, to
    other Student Driver Is immediately available to form a      other motor carriers.      Nor Is Contractor, consistent with
    driving team with Lead Driver;                               Section 1(E) of this Agreement, prohibited from using the
                                                                 Equipment for the pick up, transportation, or delivery of
               1(B)(4).   Lead Driver has dropped off a          property for more than one common carrier or other person
    Student Driver at a Carrier-designated location and is       or entity.
    heading to pick up another Student Driver at adifferent
    location;       -                                                      1(D), Exclusive Possession. Control, and Use.
                                                                 Carrier and Contractor intend to relate to each other entirely
                4(13)(6).   One of Contractor's team drivers     as independent contractors, not as employer and employee.
    ('Team Driver") has dropped off co-Team Driver at            Nevertheless, solely to comply with 49 C.F.R. §
    home or other location for Home Time and is heading to       376.12(c)(1), Carrier shall have exclusive possession, con-
    another location for his/her own Home Time;                  trol, and use of the Equipment for the duration of this
                                                                 Agreement. Contractor may operate the Equipment for an-
              I(B)(6).  Team Driver is coming back from          other motor carrier during this Agreement only with Carrier's
    Home time and heading to pick up Go-Teem Driver;             prior written consent (which shall not be unreasonably with-
                                                                 held) and only if done under a sublease between Carrier
                         Co-Team Driver Is absent from           and the other authorized carrier (including Contractor, If
    the Equipment for no more than seven consecutive cal-        Contractor has the requisite motor carder registra-
                                                                 ttonfoporating authority(ies) and insurance) pursuant to 49


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C.FR      376.12cX2), as applicable and the terms of Sub-               lease Carrier's certificate of insurance required by
section E of this Section. Carrier shall not sublease the               Section 5of the Sublease:
Equipment to another carrier without Contractor's prior wit-
Len consent which consent shall not be unreasonably with-                              1(E)(1)(b),   For Alternative Uses of
held). Carrier shall assume complete responsibility for the             Equipment involvina Contractor Motor Carriage.
operation of the Equipment for the duration of this Agree-              Telephone or email Carder's dispatch and provide
ment, except when the Equipment is under sublease by                    it with valid Information about Contractor wishing to
Carrier to another authorized carrier. Any such sublease                arrange the Alternative Use of Equipment       name,
shall state that the sublessee-carder shall have exclusive              address, identification number (which shall be the
possession, control, and use of the Equipment, and shall                U.S. Department of Transportation number for in-
assume complete responsibility for the operation of the                 terstate private carriers, any applicable state num-
Equipment, for the duration of the sublease.. The foregoing             ber for intrastate private carriers, and the Federal
declarations are made in order to comply with DOT regula-               Employer Identification Number for other private
tions (40 C.F.R. §376.12(c)) and shall not be used to classi-           carriers and shippers), phone number, email ad-
fy Contractor as an employee of Carder. As 49 C.F.R. §                  dress, and individual contact's name     - and about
376.12(c)(4) provides, nothing in the provisions required by            the planned trips (dates, times, and city and state
49 C.F.R. §376.12(o(1) is intended to affect whether Con-               of pickup and delivery). Contractor shall obtain an
tractor's drivers are Independent contractors or employees              oral or emailed release from Carder's dispatch, and
of Carrier and "an independent contractor relationship may              Contractor shall display the Carrier release number
exist when acarder lessee complies with 49 U.S.C. §14102                 on the trip sheet submitted to Carrier after the trip:
and attendant administrative requirements."                              and

          1(E).   Subleases and Other Alternative Uses                                 1(E)(1)(c).    For Alternative Uses of
of Equipment, At Contractor's request, Carder may, with                  Equipment involvinq Exemni Motor Carriage. Con-
respect to any trip or trips, approve uses of the Equipment to           tractor shall submit to Carrier proof (including in the
perform transportation services other than on behalf of Car-             form of a printout of a search on htlp:/111-
rier only under the terms and conditions sot forth in this               public.fmcsa.dot.gov) that it has obtained avalidly-
Subsection (E). The other uses may consist of (together,                 Issued DOT Number (and the name and State un-
"Alternative Uses of Equipment"): (I) Sublease        - Carrier          der which DOT has listed the DOT Number) and
subleases the Equipment (including driving services fur-                 telephone or email Carrier's dispatch and provide it
nished by Contractor) to another authorized for-hire motor               with valid Information about the shipper or private
carrier of property ("Sublease Carrier") for the provision of            carrier (same Information as required in Section
for-hire motor carriage, exempt or non-exempt from the ju-               t(E)(1)(b) above) and about the planned trips
                                                                         -

risdiction of the U.S. Secretary of Transportation under 49              (dates, times, and city and state of pickup and de-
U.S.C. § 13501 at seq., to Sublease Carrier's customers                  livery). Contractor shall obtain an oral or emailed
pursuant to Sublease Carrier's operating authority; (II) Con-            release from Carrier's dispatch, and Contractor
tractor Motor Carriage Contractor uses Contractor's own
                         -
                                                                         shall display the Carrier release number on the trip
motor carrier operating authority to provide for-hire motor              sheet submitted to Carrier after the (rip.
carriage, exempt or non-exempt from the jurisdiction of the
U.S. Secretary of Transportation under 49 U.S.C. §§ 13501                       'i(E)(2).   Compensation For All Aiterna-
et seq., to ashipper (directly or through amotor freight bro-        tive-Use-of-Equlpnient Operations.       In connection
ker), in which event, the provisions of this Subsection (E)          with a Sublease or other Alternative Use of Equipment,
 relating to CONTRACTOR Motor Carriage shall be deemed               Contractor agrees that:
to constitute the sublease required by 49 C.F.R. §
376.12(c)(2); and (Ill) Exempt Motor Carriage Contractor,
                                                 -.
                                                                                      1(E)(2)(a).    Contractor shall submit
 lacking motor carrier operating authority of Contractor's own           any necessary Sublease- or other Alternative Use-
 but possessing avalidly-issued DOT Number, lawfully pro-                related shipping documents to, and obtain settle-
vides for-hire motor carriage, exempt from the jurisdiction of           ment compensation directly and exclusively from,
 the U.S. Secretary of Transportation under 49 U.S.C. §                  Sublease Carrier (in the case of Sublease trips) or
 13501 et seq., to a shipper or private carder (directly or              the shipper or private carrier (in the case of Con-
 through amotor freight broker).                                         tractor Motor Carriage or Exempt Motor Carriage
                                                                         trips). Notwithstanding anything in this Agreement
                1(E)('fl.  Carrier's Authorization and Re-               to the contrary, Carrier shall have no responsibility
     lease. To obtain Carrier's authorization for each Alter-            for collecting freight charges or paying settlement
     native Uso of Equipment, Contractor shall take the fol-             compensation to Contractor for any Alternative-
     lowing steps before accepting atrip:                                Use-of-Equipment trip: and                        -




                      I(E)(1)(a).   For Alternative Uses of                            I(E)(2)(b),    To avoid any implication
          Equipment Involving Subleases,, Have the Sub-                  that Carrier is subsidizing Contractor's independent
          lease Carder complete, sign, date, and then fax, or            business use of the Equipment, Contractor shall
          scan and email, to Carrier a sublease in the form              pay Carrier the per-trip Alternative-Use-Fee stated
          appended as Appendix C (Sublease) of this                      in Section 4of Appendix A (Contractor Election
          Agreement ('Sublease"), together with the Sub-                 Form) to help defray Carrier's administrative, regu-
                                                                         latory, state tax, and possible insurance costs in


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    connection with the Alternative-Use-of-Equipment
    trip.                                                                       1(E)(5)(a).   Subleases, As between
                                                                  Sublease Carrier and Carrier, the sublease shall
           1(E)(3).    Carrier's Identification.                  provide that Sublease Carrier's public liability In-
                                                                  surance (bodily-injury/property-damage coverage
                   i(E)(3)(a). Subleases. For the du-             and environmental restoration coverage) and cargo
    ration of any Sublease, Contractor shall remove or            loss-and-damage insurance shall cover the Equip-
    cover up all of Carrier's Identification on the               ment for the duration of the Sublease; be in at least
    Equipment and display instead the Sublease Card-              the amounts required by FMCSA regulations
    er's Identification; and                                      promulgated under 49 U.S.C. §13906 and by ap-
                                                                  plicable state laws (for public liability insurance, in
                  1(E)(3)(b).    Contractor Motor Car-            acombined single limit of not less than One Million
    riage. For any trip under Contractor's own operat-            dollars ($1,000,000), with a deductible no greater
    ing authority to provide for-hire motor carriage, ex-         than Two Thousand Five Hundred dollars ($2,500),
    empt or non-exempt from the jurisdiction of the               for injury or death to any poison or for damage to
    U.S. Secretary of Transportation under 49 U.S.C.              property in any one occurrence); and be primary to
    §§ 13501 of seq., to a shipper or private carrier,            any insurance coverages that Carder may main-
    Contractor shall remove or cover up all of Carrier's          lain; and
    identification on the Equipment and display instead
    Contractor's identification. If Contractor possesses                         1(E)(5)(b).    Contractor Motor Car-
    interstate or intrastate operating authority and no           riage.       With respect to Alternative-Use-of-
    other motor carrier booked the shipment, the ship-            Equipment trips involving Contractor Motor Car-
    ment, even if exempt from the jurisdiction of the             riage (using Contractor's own operating authority),
    U.S. Secretary of Transportation under 49 U.S.C.              Contractor shall, and hereby warrants that he/she
    §§ 13501 of seq., shall be deemed to be one in-               does, maintain public [[ability insurance (bodily-
    volving Contractor Motor Carriage                             injury/property-damage coverage and environmen-
                                                                  tal restoration coverage) and cargo loss-and-
                  't(E)(3)(c).  Exempt Motor Carriage,            damage coverage, in at least the amounts required
    For any trip by Contractor, lacking Contractor's own          by FMCSA regulations promulgated under 49
    operating authority but possessing a validly-issued           U.S.C. §13906 and by applicable state laws (for
    DOT Number, on which it provides for-hire motor               public liability insurance, in acombined single limit
    carriage, exempt from the jurisdiction of the U.S.            of not less than One Million dollars ($1,000,000),
    Secretary of Transportation under 49 U.S.C.                   with a deductible no greater than Two Thousand
    -13501 of seq., to a shipper or private carrier. Con-         Five Hundred dollars ($2,500), for Injury or death to
    tractor shall remove or cover Carrier's identification        any person or for damage to property in any one
    from the Equipment and shall display Contractor's             occurrence), covering the Equipment for the dura-
    DOT Number and DOT-listed name (or, if applica-               tion of the Alternative-Use-of-Equipment trips.
    ble, D.B.A. Name) on the Equipment for the dura-              Contractor shall provide avalid certificate of Insur-
    lion of each Exempt Motor Carriage trip.                      ance evidencing such coverages to Carrier before
                                                                  accepting any Alternative-Use-of-Equipment trips
            1(E)(4).   Control of and Responsibility              Involving Contractor Motor Carriage. On such trips,
for the Equipment.       As required by 49 C.F.R.                 as between Contractor and Carrier, Contractor's
376.12(c)(1), Carrier, except for Sublease and Contrac-           public-liability insurance and cargo loss-and-
tor Motor Carriage trips, shall with respect to the public        damage insurance policies shall be primary to any
have exclusive possession, control, and use of the                insurance coverages that Carder may maintain.
Equipment, and assume comptele responsibility for the
operation of the Equipment, for the duration of this                          -1(E)(5)(c).     Exempt Motor Carriage.
Agreement, For Sublease trips, Carrier's sublease to              Carrier's public liability coverage and cargo loss-
Sublease Carrier shall, In accordance with 40 C.F.R. §            and-damage coverage pursuant to Section 10(A)
376.22(c)(2), provide that Sublease Carrier shall have            this Agreement shall apply to Exempt Motor Car-
exclusive possession, control, and use of the Equip-              riage trips.
ment, and shall assume complete responsibility for the
operation of the Equipment, - for the duration of the Sub-                1(E)(6).   Fuel Tax Reporting and Pay-
lease. For Contractor Motor Carriage trips, which also        ment. With respect to fuel tax reporting for all Alterria-
constitute subleasing, Contractor shall have exclusive        tive-Use.of-Equlpment trips (including aSublease, Con-
possession, control, and use of the Equipment, and            tractor Motor Carriage, or Exempt Motor Carriage), un-
shall assume complete responsibility for the operation        less Contractor has elected, pursuant to Section
of the Equipment, for the duration of trip.                   5(F)(2)(a) of this Agreement, to obtain Contractor's
                                                              own IFTA Fuel Tax Permit and perform Contractor's
            1(E)(5).   Insurance. For Alternative-Use-        own fuel and mileage tax reporting, Carrier shall be
of-Equipment trips, just as for trips performed on behalf     deemed the reporting entity with respect to the Equip-
of Carrier, Carrier's and Contractor's Insurance obliga-      ment and the fuel consumed by the Equipment, and
tions shall be as set forth In Section 10 of this Agree-      Carrier shall perform (directly or through an outside
ment, provided that:                                          vendor) all fuel and mileage reporting on Contractor's


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    behalf. Contractor shall provide Carrier promptly with       tially advances and later charges back to Contractor) out of
    all properly completed driver logs, original fuel receipts   the gross compensation provided under this Section and
    (each to be submitted with the corresponding log Iridi-      Appendix B (Contractor Compensation) and any other
    calling the fuel purchase for which the receipt was ob-      Contractor moneys. Under no circumstances shall Carrier
    tained), original toll receipts, and an accurate account-    be responsible for such operating expenses.
    ing of all fuel purchases and miles traveled by state.
    Carrier shall deduct or otheiwise recover pursuant to            3.   SETTLEMENT PERIOD AND DOCUMENTATION.
    Section 6(A) of this Agreement quarterly any amount
    stated in Section 5(F)(2)(a)(2) of this Agreement.                      3(A). Settlement. Carrier shall settle with Con-
                                                                 tractor, paying Contractor any Settlement Compensation, as
                1(E)(fl.    International Registration Plan      defined in Section 6(A) of this Agreement within fifteen (15)
    Reporting. With respect to International Registration        calendar days after submission by Contractor or Contrac-
    Plan reporting for all Alternative-Use-of-Equipment trips    tors agent, by mail or in person, of properly completed logs
    (including a Sublease, Contractor Motor Carriage, or         required by FMCSA and those documents, in proper form,
    Exempt Meter Carriage), Carrier shall be responsible         necessary for Carrier to secure payment from the shipper,
    for reporting all miles traveled by Contractor's Equip-      including but not limited to trip sheets, delivery receipts,
    ment and in what state(s). Contractor shall provide          ioadingfunloading records, bills of lading, and any other re-
    Carder promptly with documentation showing all miles         ceipts for which compensation Is to be paid. Contractor
    traveled by state for each trip.                             shall submit such driver logs and delivery documents to Car-
                                                                 rier at its main headquarters or at such other place as Carri-
                  f(E)(8).   Driver Logs.     With respect to    er may designate. Payment shall not be made contingent,
    Sublease trips, Contractor shall submit a copy of all        however, upon submission of a clean bill of lading   --that Is,
    driver togs to both Carrier and Sublease Carrier after       one to which no exceptions have been taken. At each
    each trip. All driver logs should name both Carrier and      weekly settlement, Carrier shall furnish to Contractor, by the
    Sublease Carrier; show all duty time for each 24-hour        method chosen by Contractor In Section 5 of Appendix B
    period of each trip; and the beginning and finishing time    (Contractor Compensation), astatement detailing all debit
    (designating a.m. or p.m.) worked for each identified        and credit entries since the preceding statement (Settlo-
    motor carrier. Pursuant to 49 C.F.R. §395.80), before        merit Statement').
    each Sublease trip, Contractor shall provide to Sub-
    lease Carrier a signed statement stating the Contrac-                  3(B). Documentation. It compensation is based
    tor's total time on duty during the immediately preceding    on apercentage of the revenue for ashipment, Carrier shall
    seven days and the time at which Contractor was last         provide Contractor, before or at the time of settlement, with
    relieved from duty prior to beginning work for Carrier.      acopy of the rated freight bill or acomputer-generated doc-
                                                                 ument that contains the same information, or, In the case of
                 i(E)(9),    Driver Vehicle Inspection Re-       contract carriage, any other form of documentation actually
    ports and Repair Records. With respect to Sublease           used for a shipment containing the same Information that
    and Contractor Motor Carriage trips, Contractor shall        would appear on a rated freight bill.     Contractor shall be
    prepare and submit to Carrier a written Driver Vehicle       permitted to examine Carriers tariffs, or in the case of con-
    Inspection Report complying with the requirements of         tract carriage, other documents from which rates and charg-
    49 C.F.R. §395.11, and Carder shall obtain and main-         es are computed, and documents underlying any computer-
    tain all records relating to repairs of the Equipment.       generated document, at its main headquarters during nor-
                                                                 mal business hours. If rates and charges are computed
                 1(E)(1O). Remaining Agreement Terms.            from acontract, Contractor is entitled to examine only those
    In all other respects, the terms of this Agreement shall     portions of the contract containing the same Information as
    apply to Contractor's Alternative-Use-of-Equipment op-       would appear on a rated freight bill. Carrier may delete the
    erations.                                                    names of shippers and consignees shown on the freight bill
                                                                 or other form of documentation. Carrier has the exclusive
     2. GROSS COMPENSATION,                Contractor's gross    right to set the rates and amounts charged to Carriers cus-
compensation shall be as set forth in Appendix B (Contrac-       tomers, shippers, consignors, or consignees, and nothing In
tor Compensation), and such gross compensation shall             this Agreement shall be construed to limit that right.
constitute the total compensation for the use of the Equip-
ment and for everything furnished, provided, done by, or               4. COMPLIANCE WITH LEGAL AND CUSTOMER
required of Contractor In connection with this Agreement,        REQUIREMENTS. Neither Contractor nor Carrier shall en-
including but not limited to driving of the Equipment and all    gage in, or attempt, conspire, or threaten to engage in, any
non-driving activities such as conducting pre- and post-trip     act or omission that would constitute a felony or intentional
inspections of the Equipment, waiting to load or unload (de-     tort, whether or not relating to or arising out of operations
tention), loading or unloading if required, fueling, repairing   under this Agreement. In addition, Contractor recognizes
and maintaining the Equipment, hooking and unhooking             that Carrier's business of providing motor carrier freight
empty trailers, preparing logbooks and other paperwork, and      transportation service to the public is subject to the require-
other activities and services. As indicated in Section 5(F)      ments of Carrier's customers and to regulation by the feder-
(Operating Expenses) and Section 6 (Charge-Backs) of this        al government acting through DOT, and by various other
Agreement. Contractor as an independent contractor, not
                        -                                        federal, state, local, and foreign authorities.     Contractor
an employee   -   agrees to pay all of Contractor's operating    hereby acknowledges that he/she possesses full and tom-
expenses (including but not limited to those that Carrier ml-    plate understanding and knowledge of the applicable re-


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quiremerds of all such authorities, including but not limited to       a safe manner at all limes so as to avoid actual or
DOT (Including FMCSA's Compliance, Safety, Accountabil-                threatened commitment of a felony or intentional tort,
ity ('CSA) Program, state, provincial, or local highway                endangering the public, the driver, and/or the property
safety, vehicle Inspection, vehicle maintenance, traffic, road,        being transported; (b) adhere to and perform the terms
truck size-and-v;eight, hazardous materials transportation,            of this Agreement; the requirements of all Applicable
cargo security, or other laws and regulations ("Applicable             Law, Carrier's operating authorities, and, conditioned
Lavf'), and of all customer requirements provided to Con-              only upon Point (a) of this Subsection, all customer re-
tractor in writing. Accordingly, Contractor shall adhere to the        quirements (to the extent provided by Subsection H) of
following provisions of this Agreement to aid Carder in dis-           this Section), and Carrier Policies and Procedures ;and
charging its legal duties and customer-service responsibili-           (C) do not, in Carrier's reasonable judgment, cause, in
ties:                                                                  whole or in part, through negligence, gross negligence,
                                                                       or willful misconduct, an 'accident,' as that term Is de-
          4(A). Maintenance and Inspection. Contractor,                fined by FMCSA in 49 C.F.R. §390.5.
at Contractor's expense, shall equip and maintain the
Equipment in accordance with all applicable government                              4(C)(2).   Compliance, Safety, Account-
regulations including but not limited to ensuring the Equip-           ability Program. The parties understand that, as dis-
ment's systematic repair and maintenance and keeping it in             cussed in FMCSA's CSA Carflor Safety Measurement
compliance with the laws and regulations of federal, state,            System Methodology (Feb. 2013, Version 3.0) (SMS),
local, or foreign authorities, and Carrier's safety and equip-         as amended from time to time by FMCSA and pub-
ment maintenance policies. In order to ensure compliance               lished                      online                       at
with all such requirements, Contractor shall make the                  http://csa.fmcaa.dot.gov/Documents/SMSMethOdology.
Equipment available for inspection by Carrier, at Carrier's            pdf. FMCSA will impose negative points for violations
expense, at any time upon reasonable request by Carrier.               found during roadside Inspections under the seven CSA
Contractor also shall have the Equipment Inspected, at Car-            Behavior Analysis Safety Improvement Categories
rier's expense, once annually in accordance with 49 C.F.R.             ('BASiCs'). Collectively, the negative points accumu-
§396.17, either at Carrier's maintenance facility or another           lated across acarrier's fleet (including the vehicles of all
maintenance facility that Carrier authorizes. Contractor shall         contractors under lease to the carder), help determine
bear the expense of any additional inspections of the                  the carrier's CSA rating. Accordingly, Contractor, and
Equipment. To facilitate Carrier's compliance with 49 C.F.R.           any drivers of Contractor, shall at all times meet the
Part 396, Contractor shall keep and maintain, or cause to be           CSA Program's safety standards sufficient to enable
kept and maintained, systematic records of the repair and              Carrier to (a) achieve and maintain a'fit" or similar rat-
maintenance of the Equipment, and shalt, when requested                ing that enables Carder to operate without FMCSA in-
orally or in writing by Carrier, promptly forward to Carrier all       tervention or restriction pertaining to any of the seven
Inspection, repair, or maintenance records requested.                  safety evaluation areas measured by CSA Program
                                                                       ('BASICs"); (b) obtain insurance coverage without in-
          4(5). Equipment Identification. Contractor shall             creased costs associated with driver ratings or other
apply, before placing the Equipment in Carrier's service, to           such driver measurements or qualifications pertaining to
the outside of the Equipment such identification as Carrier            drivers under GSA; and (c) be and remain competitive
may designate in accordance with the requirements of all               with similarly situated carriers with regard to quality of
applicable federal, state, local, or foreign authorities, pmvld-       driver safety as measured under CSA. As part of the
ed that Contractor shall first remove any paint, decals, or            driver qualification process or, for an existing Contractor
other items that, in Carrier's reasonable judgment, would              and such Contractor's already-Carrier-qualified drivers,
interfere with such identification or be otherwise offensive.           upon request by Carrier, each of Contractor's drivers
Carrier reserves the right to require from time to time the             (including Contractor, if a driver) shall consent and au-
repainting or remarking of the Equipment at Contractor's                thorize Carrier to access applicable driver files, SMS
expense. Upon termination of this Agreement or any other                safety scores and other data, and FMCSA's Pie-
time the Equipment Is being operated on behalf of any other
carrier pursuant to Section 1(E) of this Agreement, Contrac-
tor shall immediately, at Contractor's expense, remove,              'Carrier Policies and Procedures" comprise Carder's 'Drug and
paint over, or, in the case of operations on behalf of another     Alcohol Policy.' Passenger Program Policy Statement,' and the
entity, completely cover over, all of Carrier's identification     Federal Motor Carrier Safety Regulations (see 'Rules & Regula-
(see Section 14 of this Agreement for requirements at termi-       tions' at vAwl,fmcsa.dot.gOv). Carder shall furnish apaper copy of
nation of Agreement) all of Carrier's Identification. At no        the Drug and Alcohol Policy and the Passenger Program Policy
                                                                   Statement to Contractor, at no charge, contemporaneously with the
 time during this Agreement shall Contractor place any carri-
                                                                   start of this Agreement and, during this Agreement, shall make
er Identification, paint, arF'iork, logo, or design upon the       these materials available to Contractor on request for Inspection at
 Equipment, except that of Carrier, Without Carrier's prior        aCarrier terminal during normal business hours at no charge. Car-
written consent pursuant to Section 1(E) of this Agreement         rier shall furnish apaper copy of any amendments to the Drug and
 (which consent shall not be unreasonably withheld).               Alcohol Policy or the Passenger Program Policy Statement to Con-
                                                                   tractor, at no charge, before the amendments go into effect. Con-
          4(C).   Lawful and Safe Operations.                -
                                                                   tractor may, at Contractor's expense, inspect, download, and/or
                                                                   print the Federal Motor Carrier Safety Regulations by accessing
                 4(C)(1).    In General. Contractor shall en-      (including, on request, at any Carrier terminal) FMCSA's 'Rules &
                                                                   Regulations' web page indicated above.
      sure that he/she and all drivers or other personnel
      he/she furnishes shall (a) drive or otherwise perform in


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Employment Screening System ('PSP') reports on such                   Equipment tractor(s), Carrier shall bear the ox-
driver, both during the qualification process and at any              pence of removal and re-Installation of any Carrier-
time thereafter by immediately reviewing, signing, and                furnished Communication SysternIEOBR in Con-
returning to Carrier the PRIVACY-RELATED DISCLO-                      tractor's replacement Equipment.
SURES AND CONSENT FORM." attached as Appen-
dix S to the Agreement. Contractor further agrees to                                4(C)(3)(d).    Return     of    Carrier-
notify Carrier In writing within two (2) business days of             Furnished Communication System/EOSR.             Con-
receiving notification from the FMCSA that Contractor                 Iractor shall be responsible for the return of each
or any of Contractor's drivers have been deemed 'unfit"               Carrier-furnished Communication SysternIEOBR to
or 'marginal" based on their safely, Inspection, and                  Carrier immediately upon any request from Carrier
compliance performance.                                               or the termination of this Agreement, in accordance
                                                                      with Section 14 of this Agreement. A qualified
             4(C)(3).    Communication             System             technician selected by Carrier shall remove the
IEOBR. To help fulfill government highway-safety and                  Communication SystemfEOBR. If the Communica-
other Applicable Law requirements Imposed on Con-                     tiort-6ystern/EOBR is lost, damaged as a result of
tractor's drivers (including Contractor, if adriver) andfor           Contractor's negligence, or not returned upon re-
Carrier, including FMCSA's hours-of-service regula-                   quest or upon termination of this Agreement, Con-
tions, by monitoring and documenting such drivers' and                tractor hereby authorizes Carrier to deduct or oth-
their Equipment's compliance with highway-safety and                  erwise recover pursuant to Section 6(A) of this
other Applicable Law requirements, Contractor shall                   Agreement the entire expense incurred by Carrier
maintain in an operable condition in each unit of Con-                in repairing or replacing the Communication Sys-
tractor's Equipment a communications and electronic                   ternIEOBR, together with all collection costs. Car-
onboard recorder system (Communication Sys-                           rier shall not be responsible for any loss or damage
tern/EOBR) that constitutes the Omnitracs, LLC, model                 to Contractor's Equipment arising or resulting from
(hon-currently designated by Cartier.                                 the Installation, use, or removal of the Carrier-
                                                                      furnished Communication SysteniJEOBR.
                   4(C)3)(a).      Furnishlnq of Unit. Ex-
     cept with respect to units of Equipment leased from                            4(C)(3)(e).   Privacy-Related Disclo-
     CRST Lincoln Sales. Inc., (1) Contractor may elect               sures and Consent Form. The Privacy-Related
     to obtain, install in the Equipment, and maintain the            Disclosures and Consent Form," which is attached
     above Communication SystemIEOBR, by Initialing                   as Appendix E of this Agreement, describes the
     OPTION I in Section 3 of Appendix A (Contrac-                    categories of data to be collected through the
     tor Election Form) or (2) Contractor may elect, by               Communication SystemJEOBR; the uses to be
     Initialing OPTION 2in Section 3of Appendix A, to                 made of such data by Carrier; and the right of Con-
     have Carrier arrange to have installed in the                    tractor and any Contractor's driver to review the
     Equipment the Communication SystemfEOBR that                     collected data on request to Carrier, but only data
     constitutes the Omnitracs, LLC, model then-                      relating to the requesting Contractor (including that
     currently designated by Carrier. In the latter event,            Contractor's drivers) or (he requesting driver, re-
     Contractor authorizes Carder to deduct from Con-                 spectively. The form In Appendix E also includes
     tractor's settlement compensation the installation               a consent paragraph, as described in Section
     fee and weekly rent in the amounts set forth In Sec-             4(C)(2) of the Agreement.
     tion 4of Appendix A. For units of Equipment Con-
     tractor chooses to lease from CRST Lincoln Salo,                               4(C)(3)(f).    Use of Communication
     Inc., which will have the Omnitracs, LLC, Commu-                 SystemIEOBR. Contractor shall ensure that Con-
     nication System/EOBR Installed in them, Contrac-                 tractors drivers do not operate the voice, data, tex-
     tor authorizes Carrier to deduct from Contractor's               ting, or other features of any mobile phone or other
     settlement compensation the weekly rent in the                   communications device or system while driving,
      amount set forth In the Deductions Table of Section             except in ahealth, safety, or security emergency.
      4 of Appendix A. In all units of the Equipment,
      Contractor agrees to keep the Communication Sys-                  4(0). Drivers. Contractor shall provide compe-
      tem/EOBR in an operable and functioning condition       tent professional drivers who meet Carrier's minimum driver
      at all times that the, Equipment Is being operated in   qualification standards (part of Carrier's Policies and Proce-
      Carrier's service.                                      dures) and all Applicable Law. As part of the driver qualifi-
                                                              cation process, Contractor and Contractor's drivers shall
                 4(C)(3)(b).    Network         Charge.       authorize Carrier to access applicable driver files.
     Whether the Communication SystemIEOBR is
     Contractor's or Carrier's, Carrier shall deduct or                       4(D)(I).    Medical Examinations.       Con-
     otherwise recover pursuant to Section 6(A) of this           tractor acknowledges that DOT requires all drivers to
     Agreement anetwork charge in the amounts stated              undergo a complete medical examination prior to being
     in Section 4of Appendix A.                                   allowed to drive, in -any capacity whatsoever, In Carri-
                                                                  er's motor carrier services. Such examination shall be
                  4(C)(3)(c).  Re-installation of Carri-          performed and shall include testing for use of controlled
      er-Furnished Communication SystemIEOBR.         In          substances and alcohol. Drivers may be required to
      the event Contractor shall replace the unit(s) of           take follow-up examinations, from time to time, in ac-


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   cordance with the requirements of 49 C.F.R. § 391.41           passengers (other than team co-drivers) to ride In the
   of seq. Additionally, If in the judgment of Carrier afur-      Equipment unless Carrier authorizes it in writing In advance.
   ther medical examination appears warranted, such ex-           Carrier shall authorize Contractor to carry passengers (other
   animation shall be undergone. The expense of the ini-          than team co-drivers) only when one of the exceptions set
   tial medical examination for each of Contractor's drivers      forth in Sections 1(B)(l)-(10) of this Agreement to the team-
   shall be the responsibility of Carrier; the expense of all     driving requirement applies. Before Carrier shell give such
   subsequent medical examinations shall be the respon-           authorization, Contractor, Contractor's driver, AND the pas-
   sibility of Contractor.                                        senger requesting authorization shalt sign and submit to
                                                                  Carrier afully executed release agreement pursuant to the
                4(D)(2).    Drug and Alcohol Testing. As           CRST, Inc. Passenger Program Policy Statement" available
    required by 49 C.F.R. § 382.103 and 382.601, Con-             on request from Carrier. In addition, Contractor shall first
    tractor and Contmctor's drivers shall comply with Carri-      obtain and maintain the passenger insurance coverage re-
    er's Drug and Alcohol Policy, including participation in      quired by Section 10(B)(3) of this Agreement. Contractor
    Carrier's random drug and alcohol testing program, and        agrees not to permit any passenger to operate or be in
    any addendirms or revisions thereto. Violation of Carri-      charge of the Equipment at any time for any purpose
    ers Drug and Alcohol Policy, or positive tests for pro-       whatsoever.
    hibited drugs or alcohol, shall immediately disqualify
    Contractor's driver. Carrier shall bear the expense of all             4(G). Paperwork Reniulrem ents.            Contractor
    drug and alcohol tests.                                       shall submit to Carrier, on a timely basis, all properly com-
                                                                  pleted, accurate, and legible driver logs and supporting doc-
                 4(D) (3).  Disqualification     of    Drivers.   uments (including originals or photocopies of toil receipts),
    Carrier shell have the right to disqualify any driver pro-    physical examination certificates, accident reports, and any
    vided by Contractor in the event that the driver is found     other required data, documents or reports, including any
    to be unsafe, unqualified, unfit, uninsurable, or margin-     documentary evidence that Carrier requests proving Con-
    al, pursuant to federal or state law, in violation of Cern-   tractor has paid all taxes legally due arid owing to any gov-
    er's minimum qualification standards, or In violation of      ernment body. As required by 49 C.F.R. §376.12(1), Carrier
    any policies of Carrier's customers. Drivers with a re-       will keep the original of this Agreement with a copy to be
    cent history of accidents, traffic convictions and/or seri-   maintained by Contractor, and asecond copy to be carried
    ous traffic offenses will not meet Carrier's minimum          In the Equipment during the term of this Agreement.
    qualification standards. Upon a driver's disqualification
    by Carrier, Contractor shalt, if Contractor so chooses,                 4(H), Customer Requirements. Contractor shall
    furnish another competent, reliable, and qualified pro-       adhere to and perform, with respect to each shipment of-
    fessional driver who meets Carrier's minimum qualifica-       fered by Carrier under this Agreement, all service standards
    tion standards or this Agreement shall terminate Imme-        and other requirements of Carrier's customers that have
    diately.                                                      been furnished to Contractor in writing, in hard-copy or elec-
                                                                  (ronlo form, in advance of the shipment and that may rea-
                4(D)(4).   TWIC Requirement. If a Con-            sonably be adhered to and performed without violating Ap-
    tractors driver lacks aTransportation Worker Identifica-      plicable Law or endangering the public, the driver, andfor
    tion Credential ('TWIC") from the Transportation Securi-      the property being transported. If Carrier's customer condi-
    ty Administration of the U.S. Department of Homeland          tions Contractor's driver's access to facilities or freight upon
    Security when dispatched by Carder to make a pickup           the driver's passing the customer's own drug or alcohol tests
    or delivery at a port and therefore needs a suitably-         or upon Contractor's or Contractor's drivers' meeting other
    credentlaled escort, Contractor shall pay the foe             personal-equipment or vehicular standards not imposed by
    charged by the escort.                                        Applicable Law, this Agreement, or Carrier Policies and Pro-
                                                                  cedures, Contractor shall be free, and shall incur no Carrier
          4(E). Driver Records. Contractor shall regularly        sanction as aresult, to reject the tests and/or standards and
submit to Carrier all properly-completed driver log sheets        to refuse Carrier's offer of the customer's shipment.
within, as required by federal regulation (49 C.F.R. §
395.8(l)), thirteen (13) days following Contractor's comple-           5. CONTRACTOR'S RESPONSIBILITIES.                  Carrier
tion of each log sheet and supporting documents (including        and Contractor both recognize their relationship as one of
original toll receipts for Carder's reproduction, lumper          CARRIER and INDEPENDENT CONTRACTOR and not of
(loader/unloader) receipts, trailer washout receipts, medical     EMPLOYER and EMPLOYEE, respectively. Subject only to
examination certificates, accident reports, DOT inspection        regulatory mandates, related Carrier policies, and customer
documents, citations, Driver Vehicle Inspection Reports, and      requirements, it shall be the solo responsibility of Contractor
any other required data, documents, or reports. Contractor        to determine the manner and means of performing all of
agrees that all bills of lading, waybills, freight bills, mani-   Contractor's services under this Agreement, Including, but
fests, or other papers identifying the property carried on the    not limited to:
Equipment shall be those of Carrier or as authorized by Car-
rier, and shall Indicate that the property transported Is under             8(A). Workers. Selecting, setting the compensa-
Carrier's responsibility or that of a carrier to which the        tion, hours, and working conditions, adjusting any grievanc-
Equipment has been subleased.                                     es, and supervising, training, disciplining, and firing all driv-
                                                                  ers, drivers' helpers, and other workers necessary for the
        4(F). Passonqer Authorization, in accordance              performance of Contractor's obligations under this Agree-
with 49 C.F.R. §392.60(a), Contractor shall not allow any         ment, provided that Contractor shall ensure that all such


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drivers and other workers comply with the terms of this                        5(F)(1).    Detention and Accessorial Ex-
Agreement, including the requirements of safe operations          pense. Contractor is responsible for detention expense
and compliance with Carrier's safely policies and proce-          and accessorial services expense except when Carrier,
dures while operating the Equipment on Contractors behalf.        in its sole discretion, elects to bill and actually collects
No person Contractor may engage shall be considered Car-          either type of expense from acustomer, In which event
rier's employee. Contractor alone shall pay any employ-           Carrier shall pay Contractor the percentage of such
ment expenses for Contractor's workers, including but not         amounts specified in Appendix B (Contractor Com-
limited to worker's compensation insurance, employment            pensation);
taxes, and all other benefits and pensions for the Contractor
and Contractor's drivers, drivers' helpers, and other workers.                5(F)(2), Fuel and Mileage Tax Report-
                                                                  ing. Contractor is responsible for all state mileage
          5(B). Equipment. Selecting, purchasing, and fi-         and/or fuel taxes.
nancing, and the Equipment and deciding when, whore, and
how maintenance and repairs are to be performed on the                               5(F)(2)(a).   If Contractor elects, by
Equipment. Contractor shall be free to substitute adifferent          initialing Option Iin Section 2(B)(2) of Appendix A
vehicle for the one constituting the Equipment, if each of the        (Contractor Election Form) or an addendum to
Contractor requirements of Section 1(A) of this Agreement is          this Agreement, to obtain Contractor's own IFIA
met and Carrier furnishes Contractor anew receipt covering            Fuel Tax Permit and perform Contractor's own fuel
the vehicle. The substitute vehicle shall thereupon consti-           and mileage tax reporting, Contractor shall be sole-
tute the Equipment under this Agreement.                              ly responsible for calculating, reporting, and paying
                                                                      all fuel taxes owed for the operation of the Equip-
          5(0). Routes and Completion of Performance.                 ment: and shall Indemnify, defend, and hold
Selecting all routes and refueling stops, provided that to            Carrier harmless against all claims arlelna out
meet customers' demands, Contractor agrees to make time-              of or relating to such fuel tax rqportlnctand
ly and safe deliveries of all loads, to notify Carrier when de-       payment, If Contractor instead elects, by Ini(ialinq
livery has been made or when delivery will be delayed for             Option 2in Section 2(8')(2) of Appendix A, to have
any reason, and to be subject to Carrier's remedies for Con-          Carrier perform (directly or through an outside ven-
tractor's nonperformance provided In Section 12 of this               dor) all fuel and mileage reporting on Contractor's
Agreement.                                                            behalf. Contractor hereby agrees that

         5(0). Loadlnq. Loading and unloading freight                                     5(F)(2)a)(1).       To facilitate the
onto and from the Equipment (if the shipper or consignee                    parties' compliance with the various states' tax
does not assume such responsibilities), with no additional                  reporting and payment requirements (which
compensation for this service except as provided in Appen-                  generally hold the motor carder liable if an In-
dix B (Contractor Compensation).                                            dependent vehicle operator performing trans-
                                                                            portation services on the carriers behalf fails
         6(E). Use of Communications Eaulpment.                             to make the required tax payments), Carrier
Contractor shall ensure that the contractor, or the contrac-                shall be deemed to be the reporting entity with
toes drivers, does not operate the voice, data, texting, or                 respect to the Equipment and the fuel con-
other features of any mobile phone or other communications                  sumed by said Equipment. In such event, Car-
device or system while driving, except In ahealth, safety, or               rier shall settle with Contractor monthly and
security emergency.                                                         submit quarterly, in Contractor's name as indi-
                                                                            cated herein, as to all the applicable reports
           5(F).  Operatlnq Expenses, Paying all operating                  and payments of fuel taxes required of it by the
expenses, including, but not limited to, all expenses for fuel,             (axing bodies and authorities of the appropri-
oil, tires and other spare parts, supplies, and equipment                   ate states, provinces, and other governmental
necessary for the safe, efficient, and lawful operation and                 bodies with respect to the Equipment operated
maintenance of the Equipment; road taxes, mileage taxes,                    under this Agreement. To assist in Carrier's
fuel taxes, Federal heavy vehicle use tax, and state or local               computing and payment of fuel taxes, it shall
property or indefinite situs taxes; fines for parking, moving,              Issue Contractor an advance card for each of
or weight violations resulting, at least in part, from Contrac-             Contractor's drivers that may be used for fuel
tors acts or omissions; ferry, bridge, tunnel, and road (oils;              purchases CRST Advance Card). Contrac-
any C.O.D. freight revenue collected by Contractor from                     tor and Contractor's drivers are free net to use
shippers or others under this Agreement and not remitted to                 Carrier's Advance Card but, to the extent they
Carrier; towing; empty mileage; registration fees, base                     choose not to, Contractor shall provide Carrier
plates, licenses (and any unused portions of such fees,                     promptly with all properly completed driver
plates, or licenses),and pe?mits of all types (except as set                logs, original fuel receipts (each to be submit-
forth In Appendix B (Contractor Compensation)); Con-                        ted with the corresponding log Indicating the
tractors' drivers' or other workers' wages, employee bene-                  fuel purchase for which the receipt was ob-
fits, Insurance, pensions, employment taxes, advances, and                  tained), original toll receipts, and an accurate
any other levies or assessments based upon the operation                     accounting of all fuel purchases and miles
of Contractor's equipment for Carrier; with the following                   traveled by state. In addition, if Contractor's
exceptions:                                                                  Equipment lacks an Omnitracs. LLC, Comrnu-
                                                                             nlcations Systom/EOBR (as defined in Section


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        4(C)(3)), Contractor shall submit to Carrier for         obtain the base plates and deduct or otherwise recover
        each trip a full-size trip sheet (obtainable at          pursuant to Section 6(A) of this Agreement the expense
        any of Carrier's terminals) listing origin, desti-       from Contractor's settlement compensation, Contractor
        nation, states, routes, and miles traveled;              shall so indicate in Section 2(A) of Appendix A (Con-
        Making quarterly computations.                           tractor Election Form).

                       5(F)(2)(a)(2).    Carrier     shall                   5(0)(2).   Permits. Ensuring that all per-
        submit, in its own name, all required reports            mits and licenses necessary for him/her to operate the
        and payments of fuel and mileage taxes owed              Equipment lawfully on Carrier's behalf have been ob-
        with respect to the Equipment under this                 tained, at Contractor's expense, as detailed in Section
        Agreement and shall (a) deduct from Contrac-             2(6) of Appendix A (Contractor Election Form).
        tor's settlements, in installments of up to one
        hundred dollars ($100), or otherwise recover                   5(H). Use of Carrier's Trailer(s). For every hail-
        pursuant to Section 6(A), any net fuel or mile-      er, chassis, or other (railing equipment provided by Carrier
        age tax owed at that time with respect to Con-       for Contractor's use (Carrier's Trailer"), Contractor shall,
        tractors operations in all taxing jurisdictions      while using or otherwise in possession of Carrier'i Trailer,
        combined or (b) credit to Contractor's next set-     be responsible for—and pay—a weekly usage charge to
        Ilernent any net fuel or mileage tax credit or re-   Carder In an amount set forth in the Deductions Table in
        fund due Contractor at that time with respect to     Section 4 of Appendix A (Contractor Election Form),
        Contractor's operations In all taxing jurisdic-      which Contractor hereby authorizes Carrier to deduct or
        tions combined. Carrier shall provide Contrac-       otherwise recover pursuant to Section 6(A) of this Agree-
        tor with at least quarterly summaries of credits     ment; be responsible for daily pro-trip and post-trip inspec-
        and debits for fuel and mileage taxes on a           tions; proper Inflation of tires; prompt informing of Carrier
        state-by-state basis either on Contractor's set-     upon experiencing defective or nial-performing tires, brakes,
        tlement sheets or through separate ac-               or other electrical or mechanical features of Carrier's Trailer;
        countings, at Carrier's option.                      proper lubrication at Contractor's expense; and, subject to
                                                             the Indemnity limit in Section 7(B) of this Acreement, all
                        5(F)(2)(a)(3).     Ordinarily Car-   repairs of all damage to Carrier's Trailer other than ordinary
         rier shall compute Contractor's fuel use and        wear and tear, and Contractor hereby authorizes Carrier to
         mileage taxes on afleelwide average basis. If,      deduct or otherwise recover all these amounts pursuant to
         however, Contractor fails to provide Carrier        Section 6(A) of this Agreement. Contractor agrees to return
         complete and accurate fuel-tax-related rec-         any Carrier's Trailer in the same good condition as received
         ords, as required by the fourth sentence of         by Contractor, reasonable wear and tear excepted, along
         Section 5(f)(2)(a)(1) of this Agreement, In time    with any and all other equipment and property belonging to
         for Carrier's computation, on the seventh (7(h)     Carrier Immediately upon Carrier's request or upon termina-
         day of each month, of Carrier's fuel and mile-      tion of this Agreement. lithe trailer is not in as good as
         age tax reports and payments for the preced-        condition (reasonable wear and tear excepted) as when it
         ing month, Carrier shall compute Contractor's       was delivered by Carrier, Contractor hereby authorizes Car-
         fuel use taxes based on total miles dispatched      rier to restore the trailer to proper condition and to charge
         by Carrier at arate of Jive (5) miles-per-gallon.   back to Contractor the costs of these repairs or recondition-
                                                             ing. If Contractor for any reason fails to comply with
             5(F)(3).   Overweight         and       Over-   this provision and return Carrier's Traitor, Contractor
Dimensional Fines. Carrier shall reimburse Contractor        agrees to reimburse Carrier for all reasonable expense,
for any overweight or over-dimension fine or any fine        Includinq attorneys' fees, Incurred by Carrier In recov-
resulting from improperly permitted over-dimension or        ery of Carrier's Trailer, Contractor shall be liable for,
overweight load, when said line is paid by Contractor        and pay, the entire amount, subject to the Indemnity
with respect to pre-loaded, sealed, or containerized         limits In Section 7(5) of this Agreement, for each inci-
toads or where the trailer, container, or lading was out-    dent Involving damaqe, Including but not limited to, re-
side the control of Contractor, provided that, Contractor    pairs, storaco while awaltinri repair, towing or rnovinq
checked the weight on all axles of the load at the ship-     expense, and replacement costs for atotal loss, arlslnq
per's location (submitting to Carrier ashipper-produced      out of. or In connection wIth, Contractor's use of Carri-
scale ticket) or at the first reasonably-available govern-   er's Trailers, Carrier's customer's trailers, other Carrier
ment-certified scale (submitting to Carrier a govern-         equipment, or enuinment of any other carrier. Before
ment-certified scale ticket), checked the dimensions of       deducting any such damage from Contractors com-
the load and Equipment prior to transport, and Informed      pensation, Carrier shall provide Contractor with a writ
Carrier dispatch of any discovered overweight or over-        ton explanation and Itemization of the deduction. Con-
dimension violations.                                        tractor acireos and warrants that any trailer provided for use
                                                              by Carrier will be used by Contractor and Contractor's driv-
    5(G).   Base Plates and Permits.                          ers to transport only shipments tendered to Contractor by.
                                                              Carrier.
            5(G)(i)    Base Plates,     Obtaining, and
property displaying on the Equipment, the license base            6,   CHARGE-BACKS.
plates necessary to operate the Equipment lawfully on
Carrier's behalf. If Contractor chooses to have Carrier


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          6(A). Deductions Table. Contractor hereby au-                of Appendix A (Contractor Election Form), beginning
thorizes Carrier to charge back or deduct     -  from Contrac-         immediately after the 20-day period. If Contractor fails
tor's gross compensation under Section 2of this Agreement,             to notify Carrier of an objection within the 20 day period
from Conkactor's Escrow Funds (to the extent provided un-              - or if Contractor notifies Carrier in writing of any objec-
der Section 8 of this Agreement), or from other amounts                tion within the 20-day period stated in Section 13 of this
Carrier owes to Contractor at the time of settlement with          -
                                                                       Agreement and the parties are then unable to resolve
Contractor  -   amounts that, under this Agreement or any              the matter, the change shall be rescinded as to Contrac-
addendum, Contractor owes to Carrier, as set forth in the              tor back to its effective date (with any necessary credit
Deductions Table in Section 4of Appendix A (Contractor                 or deduction made on Contractor's next settlement
Election Form) of this Agreement, resulting in a net                   sheet) and the parties shall each have the right to ter-
amount, if any, to be remitted to Contractor (Settlement               minate this Agreement immediately thereafter. Even
Compensations). If Contractor's settlement compensation                after the twenty-dayperiod, Contractor retains Contractor's
proves insufficient, Contractor hereby authorizes Carrier to           right to terminate this Agreement in accordance with the
deduct such items from Contractor's Escrow Fund estab-                 procedures set forth in Section 14 of this Agreement, alt-
lished under Section 8 of this Agreement. Where no dollar              hough Contractor shall remain subject to the change from
figurd is listed in the Deductions Table, the deductions will          the effective date of the change until the effective date and
vary in amount and shall be computed as indicated in the               time of the termination of this Agreement.
column headed "Amount of Deduction br Method of Compu-
tation" or in Section 4of Appendix A (Contractor Election                        6(D).     No Required Purchases from Carrier.
Form) or In an addendum to this Agreement.            Except as        Contractor is not required to purchase or rent any products,
otherwise indicated In that column, (a) Carder shall charge            equipment, or services from Carrier or its affiliates as acon-
Contractor no administrative ("admin.") fee or markup and              dition of entering into this Agreement.
(b) Carrier shall credit Contractor with all rebates, discounts,
credits, or refunds that correspond to particular charge-                      7.   INDEMNIFICATION AND HOLD HARMLESS.
backs or deductions and that Carrier receives while this
Agreement is In effect or, in the case of taxes and fees,                           7(A). In General. Except to the extent Cor'i-
even after this Agreement Is terminated. Instead of or in                  tractor's acts or omissions are covered under the par•
addition to making the deductions authorized by this                       ties' respective Insurance policies as set forth In Sec-
section or other provisions of this Agreement and any                      tion 10 of this Agreement and Appendix A (Contractor
 addendum, Carrier shall have aright to recover, through                   Election Form) with no expense to Carrier. Contractor
 collection agencies, the right of sotoff, and all other                   agrees to defend, Indemnify, and hold Carrier harmless
 available legal means, any such amounts Contractor                        from any claim of direct, Indirect, or oonseciuentlai loss,
 owes, or comes to owe, Carrier under this Agreement.                      damage, delay. fine, civil penalty, or expense, lnoludiflq
                                                                           reasonable attorneys' fees and costs of litigation (to-
          6(B). Information ReQardlnq Deductions. Car-                     gether "Damages") that Carrier pays or otherwise incurs
rier shall provide Contractor with awritten explanation and                arising out of or In connection with Contractor's (includ-
Itemization of any deductions for cargo or property damage                 ing Contractor's agents' or employees') negligence,
before making them. With respect to all charge-backs and                   gross negligence, willful misconduct, material breach of
deductions, Carrier shall make available to Contractor, upon               this Agreement, or other culpable acts or omissions.
request, copies of those documents that are necessary to                   Contractor hereby authorizes Carrier to deduct or oth-
determine the validity of the charge-back or deduction.                    er-wise recover pursuant to Section 8(A) of this Agree-
                                                                           ment any amounts due Carrier under Paragraph I of
          6(C). Chanqes In Existing Deduction Items. If                    this Subsection. Carrier shall furnish Contractor with a
any deduction item, amount, or method of computation on                    written explanation and Itemization of any doductiort for
the Deductions Table in Section 4of Appendix A (Contrac-                   cargo or property damaq_e before the deduction is
tor Election Form) will be changing, whether at Contac-                    made. If Contractor operates the Equipment for any
tar's request or on Carrier's Initiative, Contractor shall be so           purpose other than the carriage of Carrier's lading, Con-
notified by personal delivery, fax, other written notice, or, if           tractor shall hold Carrier harmless and Indemnify Carri-
the parties have both signed Appendix D (Consent to                        er for any damage (including attorneys' fees) arising
Conduct Business by Electronic Methods), by appropri-                      from such use. This Subsection shall remain in full
ate electronic moans outlined in that Appendix. Such modi-                 force and effect both during and after the termination of
fied Items, amounts, or methods shall replace and su-                      this Aqreoment,
persede those shown In the Deductions Table that ap-
pears In Section 4 of Appendix A (Contractor Election                               7(B). Indemnity Limits. Contractor's indemni-
Form). A change shall not take effect until twenty (20)                    ty obligations under Subsection (A) of this Section shall
days after the notice Is deemed given under Section 13                     be limited as follows:
of this Agreement or such later time as Is stated on the
notice. Contractor's failure, by the end of 20-days after                                7(13)(1).  With respect to claims of per-
such notice, to notify Carrier of any objection to the                         sonal inlury (lncludln    death) or damage to the
change shall constitute Contractor's express consent                           property of third-parties, Contractor shall have no
and authorization to carrier to implement the change                           indemnity obligation to Carrier under Section 7(A).
and modify accordingly the amount deducted or other-
wise recovered from Contractor pursuant to Subsection                                    7(8)(2). With respect to claims of car-
 (A) of this Section or the Deductions Table In Section 4                      ,
                                                                               go loss, damage, or delay. lnoludinn clean-up ox-


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   ponses Incurred by Carrier in connection with such        damage to the Equipment or Contractor's other proper-
   toss, damage, or delay, Contractor's Indemnity oh-        ty (and any related fine, civil penalty, or expense, In-
   ligation under Section 7(A) shall be limited to a         cludinq reasonable attorneys' fees and costs of iltlrta-
   maximum of Seventy-Five           Thousand Dollars        tion) due to the negligence, gross negligence, willful
   ($75,000) of the total amount In Damages that Carri-      misconduct, material breach of this Agreement, or other
   er paid or otherwise Incurred per occurrence.             culpable acts or omissions of Contractor or any other
                                                             contractor of CarriorJincludinq aqonts or employees of
              7(13)(3). With respect to claims of loss       Contractor or any other contractor of Carrier, respec
   of or damage to Carrier's Trailer or other Carrier        tivoly): and from any claim by any other contractor of
   property, including towing expenses incurred by           Carrier of loss of or damage to such other contractor's
   Carrier, Contractor's indemnity obligation under          truck, tractor, trailer, or other property (and any related
   Section 7(A) shall be limited to a maximum of Sev-        fine, civil penalty, or expense, Including reasonable at-
   enty-Five Thousand Dollars ($75,000) of the total         torneVs' fees and costs of litigation) due to the negli-
   amount in Damages that Carrier paid or otherwise          gence, gross negligence, willful misconduct, material
   incurred per occurrence.                                  breach of this Agreement, or other culpable acts or
                                                             omissions of Contractor (Including Contractor's agents
              7(13)(4). The amounts specified above          or employees).
   shall include the expense of any defense thereof un
   to the maximum liability amount as set forth in each               7(E). Reclassification. SECTION 91F) AND
   case herein.                                              OTHER PROVISIONS OF THIS AGREEMENT REFLECT
                                                             THAT CONTRACTOR IS, AND BOTH CONTRACTOR
              7(B)(5).  The above indemnity limits set       AND CARRIER INTEND CONTRACTOR TO BE, AN IN-
   forth in Paragraphs 1, 2, and 3 of this Subsection        DEPENDENT CONTRACTOR, NOT AN EMPLOYEE. OF
   shall not apply to Subsections D or E of this See-        CARRIER. IN LIGHT OF THIS FACT AND INTENT: Not-
   tionortd:                                                 withstanding Subsection A of this Section and not sub-
                                                             loot to the limits of Subsection B of this Section, Con.
                     7(B)(5)(a). Loss or damage re-          tractor agrees to Indemnify and hold Carrier harmless
        suiting from accidents or other causes when-         from all reasonable attorney's fees and litigation ex-
        ever the Equipment Is not boin operated on           penses Carrier Incurs In defending against any claims,,
        behalf of Carrier.                                   suits, actions, or administrative proceedings brought by
                                                             Contractor. Contractor's owner (if any), or any employ-
                    7(B)(5)(b).  Loss or damage re-          ees or other personnel engaged by Contractor to per-
        suiting from Inlurios to Contractor or any of        form services under this Agreement         or, at Contrac-
                                                                                                        -



        Contractor's drivers. drivers' helpers, or other     tor's Instance or with Contractor's consent, by any un
        workers whenever the Equipment either is, or Is      Ion or other private organization or member of the pub
        not, being operated on behalf of Carrier.            lie-  that allege that Contractor or any of Contractor's
                                                             workers Is an employee of Carrier, but fail to result in
                                 Loss or damage to the       any final (upon completion of all appeals or the running
        Equipment or Contractor's other property             of all applicable appeal noriods) Fudiclal or administra-
        whenever the Equipment either is, or Is not, be-     tive decision holding the allegation to be true.
        Inn operated on behalf of Carrier.
                                                                    7(F). Indemnification by Carrier.         Carrier
         7(C). Carrier's Coverage. Carrier has secured     agrees to defend, indemnify, and hold Contractor harm-
certain Insurance poilcies and covoraqes directly rele-    less from any claim (Including any for which Contractor
vant to certain risks and liabilities for which Contractor is not Indemnified by Carrier's Insurance) of direct, I
                                                                                                                 ndi-
has agreed to indemnify Carrier tinder this Subsection     rect, or consequential loss, damaqe, delay, fine, civil
(for example, automobile liability, general liability, and penalty, or expense, including reasonable attorneys'
came liability arising out of or in connection with Con-   fees and costs of litigation (together "Damages") that
tractor's (Including Contractor's agents' or employees')   Contractor pays or otherwise incurs arising out of or in
negligence, gross negligence, willful misconduct, or       connection with CarrIer's (Including Carrier's agents' or
other culpable acts or omissions). Such policies are       employees') neqllqnce, gross negligence, willful mis-
expressly for the benefit of Carrier and incidentally may  conduct, material breach of this Agreement, or other
benefit Contractor. Terms of such policies may change      culpable acts or omissions. This indemnification shall
(for example, higher or lower deductibles. length of       not apply to any claim of loss or damage to the Equip-
coverage, UMIIJIM waivers or limitations, or Insurance     ment or to Contractor's other property or to any claim
underwriters). Contractor has neither any obligations      arising out of or In connection with Contractor's opera-
under the policies not any right to change the terms of    tion of the Equipment for any purpose other than the
coverages.                                                 performance of Contractor's obligations under this
                                                           Aqreement. Contractor shall furnish Carrier with awrit-
         1(D). Claims by Contractor or Other Contrac-      ten explanation and itemization of any claim for cargo
tors, Notwithstanding Subsection A of this Section and     or property damage. Carrier's Indemnity obllqathon un-
not sublect to the limits of Subsection B of this Section, der this Subsection (F) shall, if Involving Carrier's (in-
Contractor aqroos to defend, Indemnify, and hold Carri-    cludinn Carrier's agents' or employees') neqllgeiioe, be
er harmless from any claim by Contractor of loss of or      limited to a maximum of One Thousand Five Hundred


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Dollars ($1,500) of the total amount in Damages that                      and Additional Principal Amount is reached or If,
Contractor paid or otherwise incurred per occurrence.                     Contractor does not initially specify an Additional
This dollar limit shall not apply to Damages arising out                  Principal Amount, until Contractor does so by writ-
of or In connection with such claims if invoivinu Carri-                  ten notice to Carder. If, at any time, the balance in
er's (Including Carrier's agents' or ernploveos'l gross                   this Fund falls below the sum of the Principal
negligence, willful misconduct, material breach of this                   Amount and Additional Principal Amount (but
Agreement, or other culpable acts or omissions. Carrier                   above the minimum Principal Amount), Contractor
shall credit to Contractor's next Settlement Compensa-                    hereby authorizes Carrier to resume the weekly
tion any amounts due Contractor under this Section                        deductions until such sum is replenished. Contrac-
from Carrier. This Section shall remain In full force and                 tor may discontinue or change the Additiorial Prin-
effect both during and after the termination of this                      cipal Amount or the deduction rate at any time by
Agreement.                                                                written notice to Carrier.

     8. ESCROW FUNDS. Contractor authorizes Carder,                        8(6). Sneclilo Items to Which Escrow Funds
and Carder agrees, to establish and administer as required       May Be Applied. The Escrow Funds shall be held by Car-
escrow funds aGeneral Escrow Found and a Maintenance             rier to guarantee the performance of Contractor's obligations
and Other Reserve Fund (together, Escrow Funds), both of         under this Agreement (including any addendum).       Specifi-
which Contractor and Carrier agree shall be governed by the      cally-




following terms and conditions.
                                                                                8(B)(1).    General Escrow rFund. This
        8A).    Princ!eal,                                           Fund shalt apply to all deduction itemq set forth in the
                                                                     Deductions Table In Section 4 of Appendix A (Con-
                8(A)(1).   General Escrow Fund. As the               tractor Election Form) and any addendum ("Escrow
    minimum principal to be hold in the General Escrow               Items").
    Fund, Carrier shall deduct from Contractor's settlement
    compensation and deposit In this Fund the Principal                        8(8)(2).      Maintenance     and    Other    Re-
    Amount slated in Section 8(A) of Appendix A (Con-                serve Fund.
    tractor Election Form), at the flat weekly rate stated
    therein, beginning the first week of services provided by                          8(B)(2)(a).   During the Agreement.
    Contractor under this Agreement. If, at any time, the                 This Fund shall apply, during the Agreement, to the
    balance in the General Escrow Fund falls below the                    extent of all Principal and Additional Principal
    Principal Amount, Contractor authorizes Carrier to re-                available, to all maintenance, repair, and tire-
    sume the weekly deductions until the full principal                   related Escrow items and thereafter, to the extent
    amount is replenished.                                                any Additional Principal remains, all other expens-
                                                                          es related to the operation of the Equipment under
              8(A)(2).       Maintenance   and   Other    Re-             this Agreement (not including personal and house-
    serve Fund,                                                           hold expenses) for which Contractor asks Carrier
                                                                          orally, followed by a written request, for a dis-
                      6(A)(2)(a).   Minimum        Principal.             bursement.
         As the minimum principal to be held in the Mainte-
         nance and Other Reserve Fund, Carrier shall de-                                8(B)(2)(b).   Upon Termination of the
         duct from Contractor's settlement compensation                   Agreement. This Fund shall apply, upon termina-
         and deposit in this Fund the Principal Amount stat-              tion of the Agreement, to all Escrow Items.
         ed in Section 8(13)(1) of Appendix A (Contractor
         Election Form), at the Prinelpai cents-per-mite rate              8(C). Accountings. White the Escrow Funds are
         stated therein, beginning the first week of services    under Carrier's control, Carrier shalt provide an accounting
         provided by Contractor under this Agreement. If, at     to Contractor, no less frequently than monthly and separate-
         any time, the balance in this Fund falls below the      ly for each Escrow Fund, on Contractor's settlement sheets
         Principal Amount, Contractor authorizes Carrier to      or separately, of all transactions involving the Escrow
         resume the weekly deductions until the full principal   Funds, including the amount and description of any deduc-
         amount is replenished.                                  tion from or addition to the General Escrow Fund or the
                                                                 Maintenance or Other Reserve Fund. In addition, upon
                       8(A)(2)(b).    Additional Principal. If   Contractor's request at any time, Carrier shall provide Con-
         Contractor elects to continue building the Mainte-      tractor with an accounting of any transactions involving the
         nance and Other Reserve Fund once the Principal         Escrow Funds.
         Amount has been fully deposited, Contractor shall
         initial OPTION Iin Section 8(B)(2) of Appendix A                  8(D). Interest. Carrier shall pay Interest to Con-
         (Contractor Election Form) and specify therein an       tractor on the Escrow Funds, separately, on aquarterly ba-
         Additional Principal Amount (over and above the         sis ("interest period") beginning with receipt of the first Con-
         Pri ncipal Amount) and an Additional Principal          tractor contribution of principal. The interest rate shall be
         cents-per-mile. Carrier shalt then make weekly de-      established on the date the interest period begins and shall
         ductions from Contractor's settlement compensa-         be equal to the average yield, or the equivalent coupon is-
         tion at this latter rate, and corresponding deposits    sue yield, whichever is lower, of 91-day, 13-week U.S.
         in the Fund, until the sum of the Principal Amount


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Treasury bills, as established in the weekly auction by the        hereby assumes full control and responsibility for the selec-
Department of the Treasury.                                        tion, training, hiring, setting of grooming and dress stand-
                                                                   ards, disciplining, discharging, setting of hours, meal and
          8(E). Final Settlement. At the time of the return        rest breaks, wages, and salaries, providing for unemploy-
of any remaining balance in the Escrow Funds, Carder may           ment insurance, slate and federal taxes, fringe benefits,
deduct monies for all Escrow Items. Such deductions shall          workers' compensation Insurance (or, if Contractor prefers,
be limited to amounts Carrier actually spends, incurs, or          occupational accident insurance where both state law allows
owes to athird party, or that Contractor owes to Carrier or a      and Carrier approves), adjustment of grievances, all ads
third party under apurchase or rental contract, before termi-      and omissions, and all other matters relating to or arising out
nation of this Agreement or, with respect to any Contractor        of Contractor's use or employment of drivers; drivers' help-
obligation triggered by termination, including any expenses        ers, and other personnel to. perform any aspect of this
(including reasonable attorneys' fees) incurred by Carrier in      Agreement. No person Contractor may engage shall be
seeking the return of its identification devices and other         considered Carrier's employee. Contractor shall be solely
property, all amounts Carder actually spends, incurs, or           responsible for complying with any and all state, federal,
owes to a third party upon termination or within forty-five        local, and foreign laws applicable to the terms and condi-
(45) days (hereafter. Carrier shall not make deductions from       tions of employment of Contractor's employees or applicants
the Escrow Funds for items for which, by the end of forty-         for employment, including, without limitation, compliance
five (45) days after termination, neither Contractor nor Carri-    with the Federal Fair Credit Reporting Act; verification of
er has yet made an expenditure or incurred a quantified,           immigration and naturalization status; proof of proper tax-
legally binding obligation to pay. Carrier shall provide afinal    payer identification number; proQf of highway use tax being
accounting to Contractor of all such final deductions made         currently paid when the Contractor purchases a license;
from the Escrow Funds within forty-five (45) days from the         proof of payment of income; unemployment; Medicare and
date of termination of this Agreement.                             other state and federal payroll taxes; and, other required
                                                                   withholdings for Contractor's employees. Contractor's per-
          8(F). Return. Of Escrow Balance. In no event             formance of these responsibilities shall be considered proof
shall the Escrow Funds, less any final deductions pursuant         of Contractor's status as an independent contractor in fact.
to Subsection 8(E) of this Section, be returned to Contractor
later than forty-
                five (45) days from the date of termination of              9(E).   Taxes.
this Agreement. Carrier's use, or post-termination return to
Contractor, of any balance in the Escrow Funds shall not                            9(E)(1).    Contractor's Form of Business
constitute awaiver of Carrier's right to recover, through any          and Agreement to File Returns and Pay Taxes. As
available lawful means, any additional amounts Conlractor              an independent contractor, Contractor is free to choose
owes, or comes to owe, Carrier under this Agreement.                   the form in which to operate Contractor's business,
                                                                       Contractor shall file all federal, state, local, and foreign
     9.   CONTRACTOR NOT EMPLOYEE OF CARRIER.                          Income, withholding, employment, and federal heavy
                                                                       vehicle use tax forms and returns that Contractor may
         9(A). In General. It is understood and agreed                 be required by law to file, on account of Contractor and
that Contractor is an independent contractor for the Equip-            all drivers, drivers' helpers, and other workers used by
ment and driver services provided pursuant to this Agree-              Contractor In the performance of this Agreement at the
ment.                                                                  time and place that may be specified in the applicable
                                                                       federal, state, local, and foreign laws, and to pay when
          9(B). Certification of Status. Contractor shall              due all taxes and contributions reported In such forms
provide necessary documentation and apply for certification            and returns. In that regard, Contractor knows:
of Contractor's Independent-contr actor status where man-
dated by applicable state law, including but not limited to,                            9(E)(1)(a).  Of Contractor's     re-
the State of South Dakota (where, If Contractor Is domiciled                sponsibilIties to pay estimated social security
in that State, Contractor shall successfully complete and                   taxes and state and federal Income taxes with
submit to the proper authorities an Independent Contractor                  respect to remuneration received from Carrie
Verification Application, SD E-Form 1658).
                                                                                        9(E)(1)(b).  That the social securi-
         9(G), Selection of Equipment, Maintenance,                         ty tax Contractor must pay Is higher than the
and Routes. Subject only to all Applicable Law and safely                   social security tax the Individual would pay If
considerations, it shall be the sole financial responsibility of            he or she were an employee; and
Contractor to select, purchase or lease, and finance the
Equipment; to decide when, where, and how maintenance                                                 That the service pro-
and repairs are to be performed on the Equipment; and to                    vided by Contractor to Carrier pursuant to the
select all routes and decide all meal, rest, and refueling                  Agreement Is not work covered by the unem-
stops, provided that to meet Carrier's customers' demands,                  ployment compensation laws of any state, In-
Contractor agrees to make timely and safe deliveries of all                 cluding Georgia; provided, however, that
loads, and also agrees to notify Carrier when delivery has                  should Contractor employ or use drivers, help-
been made or when delivery.viill be delayed for any reason,                 ers, or other workers to fulfill Contractor's obli-
                                                                            gations under the Agreement, and such drivers,
          9(D), Contractor's Workers. Subject again only                    helpers, or other workers are covered by the
to all Applicable Law and safety considerations, Contractor                 unemployment laws of any state, including


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        Georgia, Contractor Is solely responsible for               work activities during each week or other period
        providing unemployment insurance for such                   this Agreement was In effect (Including any activi-
        drivers, helpers, or other workers.                         ties for which Carrier has not yet paid Contractorl,
                                                                    only the then-applicable federal minimum hourly
                9(E)(2).   Access to Contractor's Tax               wage or, if higher, a State's then-applicable mini-
   Records. Contractor agrees to furnish Carrier such evi-          mum hourly waqo but only to the extent Contrac-
   dence of compliance with the foregoing as Carrier shall          tor's wage-earning activities occurred In that State,
   reasonably require, Including but not limited to proof of        multiplied by Contractor's total hours actually per-
   Income and payroll taxes currently paid by Contractor            forming on-duty work for Carrier, consisting of both
   (including as provided in Paragraph 2 of this Subsec-            driving and non-driving time, under the FMCSA
   tion) or withheld by Contractor from the wages of Con-           Hours of Service Regulations, 49 C.F.R. Part 395, or
   tractor's drivers and other workers.                             under a State's hours of service regulations to the
                                                                    extent applicable. The total hours worked shall be
               9(E)(3).     Carrier's Filing of IRS Form            computed based on any relevant, reliable evidence,
    1099. Carrier shall, itself or through an agent, file fed-      which may lnIude estimates or prolection& based
    eral income tax IRS Form 1099s with the Internal Rev-           on Settlement Statements, driver logs, shipment
    enue Service with respect to Contractor lithe amount of         and/or vehicle tracking data, bills of lading, fuel re-
    compensation Carrier pays Contractor during a calen-            ceipts, toll receipts, and testimony; and
    dar year reaches the level at which federal law requires
    such forms to be filed.                                                      9(F)(3).  Because reclassification of
                                                                     Contractor's status from independent contractor to
         9(F).   The Parties' Financial Obligations If               employee would fundamentally change the parties'
Contractor Is Determined to Be an Employee. If, wheth-               contracting assumptions and expectations, either
er on Contractor's initiative or not, Contractor Is de-              party may, immediately upon initial issuance (even
clared to be an employee of Carrier by any federal ,                 If appealed or appealable) of a Reclassification De-
state, local, or foreign court, administrative agency, or            cision, terminate this Agreement on one day's no-
other governmental body ("Reclassification Decision"),               lice to the other. The provisions of thl8 Subsection
Contractor and Carrier hereby agree that this Agree-                 shall be deemed to survive any termination of this
ment shall be rescinded back to the time of Its for-                 Agreement.
mation and that both parties shall be returned to their
respective positions before this Agreement was signed.               10. INSURANCE.
Specifically, Contractor and Carrier agree that notwllh-
standing any other provision of this Agreement:                           10(A). Carrier's Insurance Obligations. Pursu-
                                                                 ant to FMCSA regulations (49 C.F.R. Part 357) promul-
                9(F)(1). Contractor shall, upon the Re-          gated under 49 U.S.C. §13906 and applicable state laws,
    classification Decision becoming final and no lonci-         Carrier shall maintain public liability Insurance (person-
    or appealable, immediately (a) owe Carrier, for each         al-injury!property-dan'iago coverage and environmental
    week or other period this Agreement was in effect s          restoration coverage) and cargo Insurance in at least
    all gross compensation under Section 2 of this               such amounts as are required by, covering the Equip-
    Agreement and Appendix B, less any charge-backs              ment at all times the Equipment Is being operated on
    under Section 6(A) of this Agreement, previously             behalf of Carrier. Carrier's possession of such Insur-
    paid to Contractor by Carrier: fbi shall reilnçjuish all     ance, however, shaiF in no way restrict Its rights of In-
    rk!hts In any balances in escrow funds then under            demnification against Contractor as provided for In See-
    Carrier administration that are traceable to com-            lion 7of this Agreement.
    pensation oreviouslv paid to Contractor by Carrier
    and (c) shall owe Carrier any cash advances pro-                      10(8). Contractor's       Insurance    Obligations.
    vided by Carrier to Contractor that Contractor used          Contractor shall maintain, at its sole expense, the following
    for personal, household, or other expenses not In            minimum insurance coverages during this Agreement:
    performance of Contractor's obligations under this
    Agreement or that Contractor retained unspent.                               10(B)(1). Non-Trucking (Bobtail) Liabil-
    Contractor shall be entitled to deduct from these                ity Insurance. Contractor shalt procure, carry, and
    amounts any expenses (Including, for Equipment,                  maintain public liability and property damage Insurance
    other equipment, or tools used in performing work                which shall provide coverage to Contractor whenever
    for Carrier, any actual rent or Installment-purchase             the Equipment is not being operated on behalf of Carri-
    payments made by Contractor or, If none, payments                er in a combined single limit of not less than five hun-
    that would equal fair-market rent for Items of similar           dred thousand dollars ($500,000), with a deductible no
    kind, age, and condition) Contractor Incurred in per-            greater than one thousand dollars ($1,000), for injury or
    formance of Contractor's obligations under this                  death to any person or for damages to property in any
    Agreement that were not covered by char"-backs                   one occurrence. Such coverage shall be no less com-
    or paid by Carrier:                                              prehensive than the coverage Carrier shall facilitate on
                                                                     Contractor's behalf if Contractor so chooses, as provid-
               9(17)(2). Carrier shall, upon the Reclas-             ed in the Certificate of insurance in Section 5 of Ap-
    sification Decision becoming final and no longer                 pendix A (Contractor Election Form). In addition, the
    appealable,    immediately owe Contractor, for all               required coverage shall be primary to any other insur-


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once that may be available from Carrier. Contractor
shall be responsible for all deductible amounts and for                     10(B)(2)(c). Other Stales. If domi-
any loss or damage in excess of the policy limit.               cil ed
                                                                     In any other state, Contractor shall provide
                                                               workers' compensation Insurance coverage for
           10(13)(2). Workers' Compensation         Oc-        those of Contractor's drivers, employees, agents,
cupational Accident Insurance,                                 and other persons required to be principally cov-
                                                               ered under the worker's compensation law of the
                 1O(B)(2)(a). Worker's Compensation            domicile state;
    Coverage. If domiciled in one of the following
    states: Colorado. Massachusetts, Nevada, New                            IO(B)(2)(d). Workers' Compensation
    Hampshire, New Jersey, New York, North Carolina,           Coverage Details. Workers' compensation cover-
    and South Carolina or any state that requires such         age, where required by the above paragraphs,
    coverage, Contractor shall provide workers' corn-          shall be in amounts not less than the statutory lim-
    ponsation insurance coverage on Contractor and             its required by the applicable state's law. The
    shall provide Workers' Compensation Coverage In            worker's compensation insurance policy shall pro-
    all states on those of Contractor's drivers, employ-       vide principal coverage In Iowa and, if different, the
    ees, agents, and other persons required to be prin-        state in which Contractor is domiciled (which state,
    cipally covered under the worker's compensation            if Contractor is a resident of North Carolina, shall
    law of the domicile state. In lieu of Workers' Com-        be deemed to be North Carolina), and shall provide
    pensation Coverage, Carrier may accept Occupa-             "other states coverage" that excludes only North
    tional Accident Coverage for any Contractor who            Dakota, Ohio, Washington, and Wyoming. If Con-
    lives In the above outlined states; however, ap-           tractor is domiciled in any of the four foregoing
    proval of such coverage shall be on acase-by-case          states, Contractor shall have state-fund coverage.
    basis and at the sole discretion of Carrier.               As evidence of such coverage, Contractor shall
                                                               provide Carrier with a copy of the insurance policy
                 10(B)(2)(b).   Kansas,     Mississippi,       declarations page for Carder's verification before
    and Utah.                                                  operating the Equipment under this Agreement.

                        10(13)(2)(b)(1).  Kansas    and                      I0(B)(2)(o). Occupational Accident
         Mississippi.      If Contractor is domiciled in        Coverage. Occupational accident insurance policy,
         Kansas or Mississippi, Contractor shall pro-           where required or permitted by the above para-
         vide occupational accident insurance coverage          graphs, shall include either an endorsement or a
         of at least $1 million on Contractor and work-         separate policy provision whereby an admitted in-
         ers' compensation insurance coverage on                surer provides, or agrees to provide, workers' com-
         those of Contractor's drivers, employees,              pensation coverage that becomes effective for a
         agents, and other persons required to be pun-          claim by Contractor alleging employee status. The
         cipally covered under the worker's compensa-           occupational accident insurance coverage must be
         tion law of the domicile state;                        no less comprehensive than the coverage Carrier
                                                                may facilitate on Contractor's behalf if Contractor
                        10(B)(2)(b)(2).   Utah. If Con-         so chooses, as provided in the Certificate of Insur-
         tractor is domiciled in Utah and is the solo           ance in Section 6 of Appendix A (Contractor
         owner (as that term is defined in 49 C.F.R. §          Election Form), and only if Carrier approves the
         376.2(d)) and exclusive driver of the Equip-           coverage.
         ment, Contractor shall provide Carrier with ev-
         idence, in the form required by Subsection C                    1O(B)(3). Passenner Insurance. If Con-
         of this Section, of occupational accident insur-   tractor wishes to carry passengers ten years old or old-
         ance coverage and acopy of a valid Workers'        er In the Equipment (subject to Carrier so authorizing in
         Compensation Coverage Waiver eWCCWI                advance pursuant to Section 4(F) of this Agreement),
         issued by the industrial Accidents Division of     Contractor shall first procure, carry, and maintain pas-
         the Utah Labor Commission (through the ap-         senger liability insurance that shall provide coverage to
         plication                 online              at   Contractor whenever the Equipment is being operated
         ht(ps:f/webaccess,Iaborconinhission.utah.gov/      (whether or not on behalf of Carrier) for injury or death
         wccoveragowaivors). If Contractor is domi-         to any person riding as apassenger in the Equipment in
         ciled in Utah and is not the sole owner and ex-    a combined single limit of not less than fifty thousand
         clusive driver of the Equipment, Contractor        dollars ($50,000) benefit for accidental death, dismem-
         shell provide evidence, in the form required by    berment, and paralysis for children ages ten through
          Subsection C of this Section, of workers' com-    seventeen years old and not less than one hundred
          pensation insurance coverage on both Con-         thousand dollars ($100,000) for individuals more than
         tractor (unless Contractor has provided Carrier    seventeen years old; not less than one hundred thou-
         with a copy of a valid WCCW) and those of          sand dollars ($100,000) for accident medical benefit
          Contractor's drivers, employees, agents, and      over a 52-week benefit period; not less than one hun-
          other persons required to be principally cov-     dred fifty dollars ($150) per tooth and one thousand dol-
          ered under the worker's compensation law of       lars ($1,000) maximum per accident dental benefit; and
          Utah;                                             not less than five hundred thousand dollars ($500,000)


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   aggregate limit of liability per occurrence, and with no      this Agreement unless and until Carttr has determined that
   deductible. Such coverage shall be no less compre-            the policies are acceptable (Carrier's approval shall not be
   hensive than the coverage Carrier may facilitate on           unreasonably withhold). Contractor shall furnish to Carder
   Contractor's behalf II Contractor so chooses, as provid-      written certificates obtained from Contractor's, insurance
   ed in the CRST Passenger Accident Program Enroll-             carrier or carriers showing that all coverages required by this
   ment Form and Certificate of Insurance available upon         Agreement have been procured from such insurance carri-
   request from Carder. In addition, such coverage shall         ers, that the coverages are being properly maintained, and
   be primary to any other insurance that may be available       that the premiums thereof are paid. Each insurance certifi-
   from Carrier. Contractor shall be responsible for any         cate shall specify the name of the insurance carrier, the pol-
   loss or damage in excess of the policy limits.                icy number, the effective date and expiration date, and the
                                                                 amounts and types of coverage; fist Carrier as an additional
                10(B)4). Other Insurance. In addition to         insured with primary coverage, and show that written notice
   the insurance coverages required under this Agree-            of cancellation or modification of the policy shall be given to
   ment, it Is solely Contractor's responsibility to procure,    Carrier at least thirty (30) days prior to such cancellation or
   carry, and maintain any fire, theft, uninsured and/or un-     modification. 11 acertificate of insurance provided to Carrier
   derinsured motorist, physical damage (collision), or oth-     under this Subsection does not show that written notice of
   er insurance coverage that Contractor may desire for          cancellation or modification of the policy shall be given to
   the Equipment, for any satellite equipment Contractor         Carrier at least thirty (30) days prior to such cancellation or
   leases from Carrier, or for Contractor's health care Or       modification, Contractor shall provide, or cause its insurance
   other needs.      As provided In Section 7 of this            carrier to provide, such notice to Carrier.
   Agreement, Contractor holds Carrier harmless with
   respect to loss of or damaqe to Contractor's                           10(D). Contractor's Liability IF Required Cover-
   Equipment, trailer, or other property, and Carder             ages Are Not Maintained. In addition to Contractor's
   has no responsibility to procure, carry, or maintain          Indemnity obligations to Carrier under Section 7of this
   any Insurance covering loss of or damaqe to Con-              Agreement, Contractor agrees to defend, indemnify, and
   tractor's Equipment, trailer, or other property. Con-         hold Carrier harmless from any direct, Indirect, or coil.
   tractor acknowledges that Carrier may. and Con-               sequential loss, damage, fine, expense, Including rea-
   tractor hereby authorizes Carrier to, waive and re-           sonable attorney foes, actions, claim for Inlury to per-
   sect no-fault, uninsured, and underinsured motorist           sons, including death, and damage to property that Car-
   coverage from Carrier's Insurance policies to the             rier may Incur arisIng out of or in connection with Con-
   extent allowed under Iowa law (or such other state            tractor's failure to maintain the Insurance coverages
   law where the Eaulpment is principally garaqed)               required by this Agreement. In addition, Contractor, on
   and Contractor shall cooperate In the completion of           behalf of Contractor's insurer, expressly waives all sub-
   all necessary documentation for such waiver, elec-            rogation rights against Carrier, and. In the event of a
   tion, or rejection.                                           subrogation action brought by Contractor's 1nsurer,
                                                                 Contractor agrees to defend, indemnify, and hold Carri-
                 10(B)(5). Cargo, Carrier's Trailer(s), and      er harmless from such claim ,
   Related Expenses. Contractor shall procure, carry, and
   maintain insurance coverage for cargo loss, damage, or                   10(E). Availability Of Insurance Facilitated By
   delay, Including clean-up expenses incurred in connec-        Carrier.
   tion with such loss, damage, or delay, and insurance
   coverage for loss or damage to Carder's Trailer(s) or                          10(E)(1). Contractor May Opt for Insur-
   other Carrier property, including towing expenses in-              ance Facilitated by Carrier, Contractor may, if he/she
   curred in connection with such loss or damage, in a                so chooses by initialing one or more boxes in the right-
   combined single limit of not toss than seventy-five thou-          hand column of the "CERTIFICATE OF INSURANCE"
   sand dollars ($75,000) with adeductible no greater than            table in Section 6of Appendix A (Contractor Election
   one thousand five hundred dollars ($1,500). Such cov-              Form) (or, for passenger liability coverage, by complet-
   erage shall be no less comprehensive than the cover.-              ing a"C R81 International Passenger Accident Program
   age Carrier shall facilitate on Contractor's behalf If Con-        Enrollment Form and Certificate of insurance') author-
   tractor so chooses, as provided in the Certificate of In-          ize Carrier to facilitate on Contractor's behalf the Insur-
   surance In Section 5of Appendix A (Contractor Election             ance coverages required or made optional by this
   Form). In addition, the coverage shall be primary to any           Agreement. In any such case, Carrier shall deduct or
   other insurance that may be available from Carrier.                otherwise recover pursuant to Section 6 of this Agree-
   Contractor shall be responsible for all deductible                 ment the cost of such coverage which includes amark-
   amounts and for any loss or damage in excess of the                up earned by Carrier's affiliated Insurance company and
   policy lImit.                                                      amounts for administrative services), as indicated in the
                                                                      attached Certificate of insurance and/or on the "Insur-
         10(C). Requirements Applicable To All Of Con-                ance coverages row In the Deductions Table in Section
tractors Insurance Coveraqes. Contractor shall procure                4 of Appendix A (Contractor Election Form) (and under
insurance policies providing the above-described required             any notice and revised Certificate of Insurance pursuant
coverages solely from properly-licensed insurance carriers            to Section 10(F) of this Agreement).
that are A.M. Best A"-rated (or of equivalent Ilnendal
strength in the commercially-reasonable judgment of Carri-                      10(E)(2). Aut
                                                                                            omatic Authorization If Re-
er), and Contractor shall not operate the Equipment under             quired Coverages Are Not Maintained. If Contractor


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    fails to provide proper evidence of the purchase or            tion within the 20-day period or if Contractor notifies Carri-
                                                                                                --




    maintenance of the insurance required above, Carrier is        er of Contractor's objection within the 20-day period and
    authorized but not required to obtain such insurance at        Contractor and Carrier are than unable to resolve the matter
    Contractor's expense and deduct or otherwise recover           to their mutual satisfaction --   Contractor and Carrier shall
    pursuant to Section 8(A) of this Agreement amounts re-         each have (he right to terminate this Agreement effective
    flecting all of Carrier's expense in obtaining and admin-      immediately upon the change becoming effective (although
    istering such coverage, as indicated in the attached           Contractor shall remain subject to the change until Contrac-
    Certificate of Insurance and in Section 6 of this Agree-       tor's termination's effective date and time).
    ment.
                                                                        II. CONTRACTOR COOPERATION. Upon the hap-
                 10(E)(3). Carrier Is Not in Business of           pening of an occurrence, accident, or incident involving
    Soiling Insurance. Contractor recognizes that carrier          equipment covered by and within this Agreement, Contrac-
    is not in the business of selling insurance, and any in-       tor, and any driver operating the Equipment, pursuant to
    surance coverage requested by Contractor from Carrier          DOT rules and regulations, shall report this occurrence, ac-
    is subject to all of the terms, conditions, and exclusions     cident, or incident to Carrier or its designee immediately by
    of the actual policy Issued by the insurance underwriter       the first available means. Such report shall be completed as
    if such coverage has been obtained pursuant to Sub-            to the time, place, parties involved, and circumstances of the
    sections 10(E)(1) and (2) of this Agreement above.             occurrence. Contractor and Contractor's driver, at Carrier's
                                                                   expense, shall cooperate with Carrier and/or its representa-
                10(E)(4). Certificate of Insurance. Carri-         tive in the investigation of (he occurrence and in any subse-
    er shall ensure that Contractor is provided with acertifi-     quent legal action, including the giving of sworn testimony in
    cate of insurance (as required by 49 C.F.R. §                  a deposition, or testifying during an administrative proceed-
    376.120)(2)) for each insurance policy for the operation       ing or at atrial in acourt of law. Carder shall retain the ex-
    of the Equipment under which Contractor has author-            clusive right to determine the disposition of any such pro-
    ized Carrier to facilitate insurance coverage from the in-     ceeding by way of settlement, satisfaction of judgment, or
    surance underwriter (each such certificate to include the      appeal through the appropriate administrative agency and/or
    name of the insurer, the policy number, the effective          court.
    dates of the policy, the amounts and types of coverage,
    the cost to Contractor for each type of coverage, and               12. CONTRACTOR'S NONPERFORMANCE. If, for
    the deductible amount for each type of coverage for            any reason, Contractor or Contractor's driver fails to com-
    which Contractor may be liable), and Carrier shall pro-        plete the transportation of commodities in transit in atimely
    vide Contractor with a copy of each policy upon re-            manner (including Contractor's dropping a load at afacility
    quest.                                                         Carrier operates or utilizes rather than at the consignee's
                                                                   location), or abandons the shipment, or otherwise subjects
          10(F). Chanqes In Cost Or Other Details Of               Carrier to liabilities from shippers, consignees, or govern-
Coveraqes. If Carrier is facilitating any insurance coverag-       mental agencies on account of the acts or omissions of Con-
es for Contractor pursuant to Section 10(E) of this Agree-         tractor or Contractor's driver en route, Contractor agrees
ment and the cost to Contractor for, or other details of, a        that Carrier shall have the right, without sending notice of
coverage changes from the Information listed in the "CER-          breach to Contractor as provided in Section 14(D) of this
TIFICATE OF INSURANCE" in Section 5 of Appendix A                  Agreement, to complete performance through another con-
(Contractor Election Form) of this Agreement, Contractor           tractor or other person, and then refrain from paying Con-
shall be so notified by Omnitracs transmission, fax, or other      tractor some or all of the compensation that Contractor
written notice. In any event, Contractor shall not be subject      would otherwise have earned for the trip and hold Contrac-
to any such change until twenty (20) calendar days after           tor liable for any? additional expense (beyond Contractors
such notice or such later time as is set forth in the notice.      forgone compensation) entailed in completing performance
Contractor's failure, by the end of twenty (20) calendar           and, subject to Contractor's indemnity limits under Section
days after such notice, to notify Carrier of any objection         7(B)(2) of this Agreement, for any damages that Carrier
to the change shall constitute Contractor's express                pays to shippers or consignees arising out of the failure to
consent and authorization to Carrier to implement (he              make timely delivery of the shipment by Contractor. Con-
change and modify accordingly the deductions from                  tractor hereby authorizes Carrier to deduct or otherwise re-
Contractor's settlement compensation, beginning Im-                cover pursuant to Section 6of this Agreement all such addi-
mediately after the 20-day period.             Such modified       tional expense and damages.
amounts shall replace and supersede those shown in
the Deductions Table in Section 4 of Appendix A (Con-                   13. NOTICES, All notices and notifications required or
tractor Election Form)        Carrier shall thereupon provide      permitted by this Agreement shall be in writing (unless per-
Contractor with a revised certificate of insurance, required       mitted elsewhere in this Agreement to be oral) and deemed
by Section 10(E)(4) of this Agreement, reflecting the change       to have been fully given (unless otherwise specified in this
(such certificate to include the name of the insurer, the poli-    Agreement) upon personal delivery; or when faxed to the
cy number, the effective dates of the policy, the amounts          other party at the fax number shown at the end of this
and types of coverage, the cost to Contractor for each type        Agreement; or when sent by Omnitracs transmission by
of coverage, and the deductible amount for each type of            Carrier to the Equipment or by Contractor to Carrier; or the
coverage for which Contractor may be liable) and, upon             next business day after being deposited with an overnight
request by Contractor, a copy of the corresponding Insur-          delivery company with the express charges prepaid and
ance policy, if Contractor fails to notify Carrier of any objec-   properly addressed to the other party at the address shown


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at the end of this Agreement; or three business days after          (4) Contractor's causing, in whole or in pad, an accident,
being deposited in the United States Mail with first class          as that term is defined by FMCSA in 49 C.F.R. §390.5, pur-
postage prepaid and properly addressed to the other party           suant to Section 4(C) of this Agreement; or 5) any other
at the address shown at the end of this Agreement. Carrier          material breach of this Agreement by either party, the other
and Contractor shall be under acontinuing duly to provide a         party may terminate this Agreement by giving immediate
correct address and telephone number to the other party,            oral (but only if the other party is reachable in person or by
and Carrier and Contractor (if the latter has afax machine)         telephone), followed by written, notice of termination to the
to provide a correct fax number to the other. Notice of an          breaching party. In addition, Section 9(F)(3) of this Agree-
address, telephone-number, or fax-number change shall be            ment provides, among other things, that either party may
given In writing.                                                   unilaterally terminate this Agreement on one day's notice if
                                                                    and when an initial decision is issued by a court or adminis-
    14. DURATION OF AGREEMENT AND TERMINA-                          trative agency reclassifying Contractor from independent-
TION.                                                               contractor to employee status.

          14(A), Term. This Agreement shall begin on the                        14(E). Survival of Liabilities and Entitlements.
Effective Date and end on the Termination Date in the 'In           If, up to and including the date of termination, one or more
Witness Whereof' paragraph just above the signature block           events occur that give rise, before or after that date, to a
below.                                                              liability or entitlement of Contractor or Carrier under this
                                                                    Agreement, such liability or entitlement shall continue, not-
          14(B). Equipment Receipt. Upon taking posses-             withstanding the termination of this Agreement, until such
sion of the Equipment. Carrier shall furnish Contractor with a      liability or entitlement is satisfied in full.
receipt, in the form attached hereto, identifying the Equip-
ment and slating the date and time when possession Is tak-             15. CONTRACTOR'S OBLIGATIONS UPON TERMI-
en by Carrier. The receipts required by this Section may be         NATION. Upon termination of this Agreement:
transmitted to Contractor by hand, mall, overnight delivery,
fax, or other means of communication. Carrier shall main-                     15(A). Completion of Performance. Contractor
tain those records regarding the Equipment required by 49           shall, unless otherwise instructed by Carrier, complete per-
C.F.R. §376.11(d).      -
                                                                    formance of all transportation and other services required by
                                                                    Carrier and any bills of lading pertaining to any shipment or
          14(C). Termination. Either party may terminate            shipments that Contractor may be engaged in hauling at the
this Agreement immediately, in accordance with the proce-           time of termination. Contractor shall receive no compensa-
dures in Subsection (D) of this Section, for any of the rea-        tion for any shipment with respect to which hefshe has failed
sons set forth in that Subsection. In addition, this Agree-         to complete all required transportation and other services.
ment may be terminated at any time for any reason upon              In the event Carrier instructs Contractor not to complete
twenty (20) days' prior written notice to that effect to the        performance of transportation or other services that Con-
other party personally, by mall, by fax machine at the ad-          tractor Is willing and able to perform, Carrier shalt pay Con-
dress or fax number shown at the end of this Agreement, or,         tractor compensation determined in accordance with Ap-
if both parties have signed Appendix D (Consent to Con-             pendix B (Contractor Compensation) for the portion of
duct Business by Electronic Methods), by the electronic             such services that Contractor performed prior to termination.
means specified in that appendix. The effective date and
time of termination shall be as set forth in the written notice               15(B). Return of Carrier's Property. Contractor
given by either party, or on the receipt for the Equipment if       shall, immediately upon termination of this Agreement or the
one is Issued by Contractor to Carrier, or at the date and          completion of the transportation or other services provided
time when, as a practical matter, possession of the Equip-          for herein, whichever occurs later, both remove all of Carri -
ment by Carrier pursuant to 49 C.F.R. §376.11(b)2) ends,            ers identification devices from the Equipment and, except In
whichever of these three dates/limes is earliest.                   the case of identification painted directly on the Equipment,
                                                                    return them to Carrier via prepaid hand-delivery, overnight
           14(0). Reasons for Unilateral Termination by a           delivery, or certified mall (provided that if the identification
Party.     Notwithstanding anything to the contrary In this         device has been lost or stolen, awritten notice (letter) certi-
Agreement, in the event of (1) a party's engaging in, or at-        fying its removal shall satisfy this requirement); return all of
tempting, conspiring, or threatening to engage in, any act or       Carrier's property, including trailers, base plates, permits,
omissIon that would constitute a felony or Intentional tort,        and other paperwork, Omnitracs communications equip-
pursuant to Section 4of this Agreement; (2) the insolvency          ment, and freight, to Carder's facility in Cedar Rapids, IA, or
or filing of bankruptcy of either party; (3) Contractor's viola-    to any closer location Carrier designates; and pay Carrier all
tion of, or failure to fully adhere to and perform, the require-    amounts Contractor owes Carrier at that time under this
ments of (a) any customer of Carrier to the extent provided         Agreement.
by Section 4(1-1) of this Agreement, (b) any applicable feder-
al, state, local, and foreign authorities, including but not lim-              15(C). Remedies for Failure to Return Carrier's
ited to DOT, state, provincial, or local highway safety, vehi-       Property. If Contractor fails to return Carrier's property or
cle inspection, vehicle maintenance, traffic, road, truck size-      freight to Carrier or remove and return all of Carrier's identi-
and-weight, hazardous materials transportation, cargo secu-          fication from the Equipment upon termination of this Agree-
rity, or other laws and regulations CApplicable Law"),               ment, Contractor shall pay Carrier all expenses (including
Carrier's operating authorities; or (d) Carrier Policies and         reasonable attorneys' fees) Carrier incurs in seeking the
Procedures, all pursuant to Section 4(C) of this Agreement;          return of such Items, and Carrier may pursue other remedies


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                                                                           CRST000021
allowed by law or authorized in this Agreement against Con-              payable. The amounts of compensation for trips start-
tractor. Such remedies include withholding Contractor's last             ed, and the amounts of advances and other amounts
settlement payment until ha/she removes and, except in the               due Carder, before the effective date of this Agreement
case of identification painted directly on the Equipment, re-            shall be determined under the predecessor agreement;
turns all of Carrier's identification devices or delivers to Car-        the payment procedures shall be determined under this
der aletter certifying that such devices have been removed,              Agreement; and the payment timing shall he deter-
and making deductions from any remaining balances in                     mined under the predecessor agreement or this
Contractor's Escrow Fund for the replacement value of Car-               Agreement, whichever requires payment earlier.
rier's unreturned property and for other amounts Contractor
owes Carrier, as provided by Section 8of this Agreement,                              16(D)(3). Amendments. No supplement,
                                                                         modification, or amendment to this Agreement shall be
   16, FORM OF AGREEMENT AND MISCELLANEOUS                               binding unless in writing and signed (either manually or
PROVISIONS.                                                              electronically) by both Carrier and Contractor, except as
                                                                         otherwise provided with respect to charge-backs and
           16(A). General. The subject headings of the sec-              other deductions In Section 6of this Agreement and in-
tions and subsections of this Agreement are included for                 surance deductions in Section 6 of Appendix A. No
purposes of convenience only and shall not affect the con-               waiver of any of the provisions of this Agreement shall
struction or interpretation of any of its provisions. Refer-             constitute a waiver of any other provisions whether or
ences in this Agreement to "he/she," 'him/her," and                      not similar, nor shall any waiver constitute a continuing
 hislher.s" shall be read as "it" and "its," respectively, If Con-       waiver, No waiver shall be deemed effective or binding
tractor is a corporation, limited liability company, partner-            upon the Contractor unless executed in writing by the
ship, or other entity, rather than anatural person.                      party making the waiver.

         16(B). SeverabIlity.     If any provision (Including                 16(E). Copies of This Agreement and Statement
any sentence or part of a sentence) of this Agreement (in-           of Lease. Carrier shall, as set forth In 49 C.F.R. §376.12(0,
cluding Its appendixes and addondums) is deemed invalid              keep the original of this Agreement, with a copy to be re-
for any reason whatsoever, this Agreement shall be void              tained by Contractor. Pursuant to 49 C.F.R. §376.11(c)(2),
only as to such provision, and this Agreement shall remain           a "Statement of Lease" shall be carried on the Equipment
otherwise binding between the parties. Any provision void-           for those periods that the Equipment Is operated by or for
ed by operation of the foregoing shall be replaced with pro-         Carder under this Agreement.
visions that shall be as close to the parties' original intent as
permitted under applicable law.                                           17. GOVERNING LAW. This Agreement shall be in-
                                                                     terpreted in accordance with, and governed by, the laws of
          16(C). Waiver. The failure or refusal of either par-       the United States and, except as otherwise provided herein,
ty to insist upon the strict performance of any provision of         of the State of Iowa, without regard to the choice-of-law
this Agreement or to exercise any right in any one or more           rules of such State or any other jurisdiction. THE PARTIES
Instances or circumstances shall not be construed as a               FURTHER AGREE THAT ANY CLAIM OR DISPUTE ARIS-
waiver or relinquishment of such provision or right, nor shall       ING FROM OR IN CONNECTION WITH THIS AGREE-
such failure or refusal be deemed acustomary practice con-           MENT, WHETHER UNDER FEDERAL, STATE, LOCAL,
(raw to such provision or right. Original, faxed, otherwise          OR FOREIGN LAW (INCLUDING BUT NOT LIMITED TO
imaged, or electronic signatures shalt be equally valid.             49 C.F.R. PART 376), SHALL BE BROUGHT EXCLU-
                                                                     SIVELY IN THE STATE OR FEDERAL COURTS SERVING
         16(D). Complete Agreement.           Immediately upon       CEDAR RAPIDS, IA, THE PARTIES HEREBY CONSENT
this Agreement's becoming effective:                                 TO THE JURISDICTION AND VENUE OF THE STATE
                                                                     AND FEDERAL COURTS SERVING CEDAR RAPIDS, IA.
                 16(D)('l). Complete Agreement.       This
     Agreement(including the attached Appendices and any                  18. BINDING EFFECT. This Agreement shall be bind-
     addendums) constitute the entire Agreement between              ing on and inure to the benefit of Carrier and Contractor and
     Carrier and Contractor and fully replaces and super-
                               -                                     their respective successors, assigns, heirs, personal repre-
     sedes any CRST Expedited, Inc. or CR81 Van Expe-                sentatives, and administrators. Contractor may not assign
     dited, Inc. Independent Contractor Operating Agree-             or subcontract all or any portion of Contractor's obligations
     ment or other prior or contemporaneous agreements,              tinder this Agreement to another person without Carrier's
     representations, and understandings pertaining to the
                                              -                      prior written consent.
     subject matter contained herein.
                                                                          19. COLLECTION EXPENSES. Contractor hereby au-
                16(D)(2). Credits and Debits Under Pre-              thorizes Carrier to deduct or otherwise recover pursuant to
     vious Agreement Between Parties. Any Contractor                 Section 6(A) of this Agreement afinance charge of one and
     escrow fund balances under any written agreement be-            a half percent (1.5%) per month (eighteen percent (18%)
     tween the Parties that this Agreement replaces shall be         annually), or the maximum allowed by law If less, to Con-
     credited to Contractor's Escrow Fund under this                 tractor on balances over thirty (30) days' past due. Contrac-
     Agreement. All compensation and diher amounts due               tor further agrees that if he/she defaults In the payment of
     Contractor from Carrier, and all advances and other             any amount due and, to assist In collecting the amount duo,
     amounts due Carrier from Contractor, pursuant to any            Carrier engages the services of       collection agency. Con-
     such predecessor agreement, shall remain due and                tractor shall pay Carder for all costs involved in such collec-


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                                                                           CRST000022
lion, including attorneys' lees, except to the extent otherwise   Carrier, and Carrier shall promptly provide them to himTher.
determined by law.                                                If Contractor thinks Carrier reported erroneous informalion
                                                                  to a credit-reporting agency, Contractor should so notify
     20. AUTHORITY TO COMPLETE CREDIT CHECK.                      Carrier . Carrier shall then promptly Investigate the matter
Carrier shall have the authority to obtain a credit report on     and, if Carrier's Investigation shows Contractor was correct,
Contractor from any national credit-reporting agency at any       Carrier shall contact each credit-reporting agency to which it
time during this Agreement and for as long (not exceeding         reported the information and shall request that the agency
one hundred eighty (180) days) alter its termination as Con-      correct the report. It Carrier disagrees with Contractor after
Iractor owes money to Carrier. Carrier may report Contac-         Carrier's investigation, Carrier shall notify Contractor In writ-
tor's performance under this Agreement to credit-reporting        ing and instruct Contractor how to submit a statement of
agencies, including Contractor's failure to make payments         Contractor's position to those agencies. Contractor's state-
on time. If Contractor wishes to know the names of the            ment shall become a part of Contractor's credit record with
agencies Carr  ier has contacted, Contractor should so notify     the agencies.

         IN WITNESS WHEREOF, Carrier and Contractor hereby execute this Agreement. This Agreement shall begin
at 12:01 am. Central Time on the        day of              20.  ('
                                                                  Effective Date) and end at 11:&3 p.m. Cental
                                                                       ,


Time on October 1, 2018 (
                        'Termination Date).




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                                                                           CRST000023
          By signing below, Contractor acknowledges that, as reflected in the terms of this Agreement:

                    Contractor is NOT an employee of Carrier, and all aspects of the relationship between
                    Contractor and Carrier are based on Contractor's status as an Independent contractor;

                    Contractor has agreed to be responsible for the operating     expenses      incurred In connec-
                    tion with his/her business oppratlons;     -




                    Contractor's agreement to take responsibility for FiTs/her expenses is an indispensable
                    term of this Agreement but for which Carrier would not have agreed to pay the gross
                    compensation stated above or entered Into this Agreement;

               o    The gross compensation Carrier agrees to pay Is not Intended to ensure that Contractor
                    covers his/her operating expenses, but instead to provide the amount of revenue suffi-
                    cient, in the relevant market for such services, to convince acontractor-business both to
                    provide, maintain, fuel, legally-credential, and otherwise operate suitable and dependable
                    Equipment and to provide and pay a qualified professional driver or drivers to drive that
                    Equipment; and

               •    The gross compensation paid to Contractor is MORE than Carrier would pay an employ-
                    ee to perform professional driving services-, viliIch reflects the reality of the marketplace,
                    in that Carrier cannot attract contractors willing to take the entrepreneurial risk of fund-
                    ing and running their own businesses by paying merely the personal-servlces wage that
                    they could get as employees.




CONTRACTOR:                                                   CARRIER: CRST Expedited, INC.
Check one:         D Corporation
                   U Limited Liability Company
                   0 Partnership
                   D Sole Proprietorship
Organized in State of:
With Employer ID No.:
OR Social Security i. (last 4$igits)

By:      jUI               A,1'                                By:
        Signature

Authorized Rep .
               's Name (Typed or Printed)                      Phillip Regos
                                                               Director- Independent Contractors
Title                                                          3930 16th Avenue
                                                               Cedar Rapids, IA 52406
Address (Street, P.
                  O. Box)                                      TeL 319-731-3890
                                                               Fax 319-731-6558
City, State &Zip Code

Mobile Telephone Number            Fax Number

Email Address

Date




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                                                                        CRST000024
                                                        EQUIPMENT RECEIPT


RECEIVED FROM:                     An4-h                       crV           - Fr                         Cbc on i
                                                                                                                 rac t
                                                                                                                     orh) the following
                                                   Printeti Name of Contractor
Equipment:



         Equipment Type                    -   -                                                            -       -
                                                                                                                             Carrier
   -(Specify Tractor or Trailer)       Year                   Make    -
                                                                                 Model   -           Serial WIN) ti         -Unit 1/

                                      2i',            ptrU                   AkJLP                    6 2totp'




covered by the Independent Contractor Opera ing Agreement between Contractor and Carrier dated    1                          /20
Carrier hereby accepts receipt of the above-identified equipment at      _.M. Central Time on the
                                                                             ,_:                                                   day of

                       .20     ,at                                    In        (\1ov-ry
                                                   Location                                        City                        State


                                                                          Carrier:       CR81 Expedited, Inc.




 Authorized Representatives Name (Typed or Printed)                       Phillip Reges
                                                                          Director—Operations 1C
                                                                                               -


                             Drivers Name if Different                    3930 16th Avenue
                                                                          Cedar Rapids, IA 52406
 Date                        Tractor No.                                  Tel. 319-731-3690
                                                                          Fax 319-731-9246




                             CRST Expedited, Inc. Independent Contractor Operating Agreement                      Rev. October 2017
                                                  EQUIPMENT RECEIPT




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                                                                          CRST000025
                                                        APPENDIX A

                                             CONTRACTOR ELECTION FORM

    1.    EQUIPMENT.    The commercial motor vehicle equipment (
                                                               'Equipment') governed by this Agreement consists of:


                    tType                                                                                             Carrier
  -.:'specify Tractor or Trailer)                      Make   -:                           ::Ser1aI (VIN) #            Un it P




    2.    BASE PLATES AND PERMITS

          2(A). Base Plates. If Contractor so elects (by initialing OPTION 1, "Carder shall obtain base plate...," below,
Carrier shall Initially pay the amount owed to the issuing jurisdiction for the base plate(s) and deduct or otherwise recover
pursuant to Section 6(A) of this Agreement that expense, plus an administrative lee to Carrier. 11 this Agreement is termi-
nated prior to Contractor's complete reimbursement of Carrier's expense, Carrier is hereby authorized to deduct or other-
wise recover pursuant to Section 6(A) of this Agreement any remaining amount. If Contractor removes and returns the
base plate(s) to Carrier upon the termination of this Agreement and If Carrier then receives a refund or credit for the base
plate(s) or resells the plate(s) to another contractor, Carder shall refund to Contractor a prorated share of the amount re-
ceived by Carrier, less any transfer or replacement fees owed to the plating jurisdictions.

          CONTRACTOR SHOULD INITIAL ONE OF THESE TWO OPTIONS;

                  OPTION 1:         Carrier shall obtain Indiana (if Contractor has title to the vehicle) or Iowa Interna-
                  tional Registration Plan base plate for Contractor's tractor and charge the cost back to Contractor.
                  The annual cost shall consist of the amount Carrier paid the issuing State for the plate (estimated
                  Initially and then adjusted up or down to match the aotual amount billed to Carrier by the State)
                  plus aten percent (10%) administrative fee to Carrier.

                  OPTION 2:         Contractor shall obtain own base plate for tractor.

         2(13). Permits. Certain governmental permits and licenses, which are the financial responsibility of Contractor
under Sections 5(F) and (0) of this Agreement, must be maintained to authorize Conlractór to provide services to Carrier
legally.

                2(B)(1).   Unified Carrier Registration Fee, in 2005, Congress enacted the Unified Carrier Registration
    ("UCR") fee as a replacement for numerous states' Single-State Registration System ('8 SRS') fees, effective with the
    2007 calendar year. The UCR fee is assessed against amotor carrier based on the number of trucks in the carrier's
    fleet. Carrier shall deduct once a year, or otherwise recover pursuant to Section 6(A) of this Agreement, a pro rata
    share of this lee whatever fee is set under the law for the year divided by the number of trucks in Carrier's fleet, with no
    administrative fee paid to Carrier).

                  2(B)(2).  IFTA Permit and Fuel Tax Reportinq. Under the international Fuel Tax Agreement ("IFTA"), an
     annual fuel tax permit must be obtained, and quarterly fuel taxes must be reported and paid to the IFTA base state, for
     the Equipment's operations nationwide. Contractor may, by Initialing the line to the left of OPTlON1 below, elect to ob-
     tain the IFTA permit and perform (or have athird-party vendor perform) all fuel tax reporting with respect to the Equip-
     ment, in accordance with Section 5(F)(2)(a) of this Agreement. Alternatively, Contractor may, by initialing the line to
     the left of OPTION 2below, elect to have Carrier obtain the IFTA permit and perform all fuel tax reporting with respect
     to the Equipment, In accordance with SectWn 5(F)2)(b) of this Agreement.


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                                        CONTRACTOR ELECTION FORM Page AA      -




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                                                                              CRST000026
          CONTRACTOR SHOULD INITIAL ONE OF THESE TWO OPTIONS:

                      OPTION 1: Contractor shall obtain'the IFTA permit, and perform all fuel tax reporting services, with
                      respect to the Equipment at Contractor's expense.

     (    0           OPTION 2: Carri
                                   er shall obtain the IFTA permit, and perform all fuel tax reporting services, with re-
                      sped
                         dto the Equipment, and shall deduct or otherwise recover pursuant to Section 6(A) of this
                      Agreement the permit fee (with no admin. fee to Carrier), and any additional fuel tax that Contractor
                      may owe.

                2(13)(3).   Other ReQuired Permits. To make Contractor eligible to handle shipments in States sewed or
    transited by Carrier, Carrier shall obtain all permits required by law with respect to the Equipment and deduct or other--
    wise recover pursuant to Section 6(A) of this Agreement the cost (with no Carrier administrative 1ee.

                 2(13)(4). Return of Permits. All permits and licenses issued In Carrier's name shall be returned to Carrier
    upon termination of this Agreement. No refund shall be made to Contractor by Carrier of the permit costs upon termi-
    nation of this Agreement, even if returned permits are reused by Carrier. Contractor shall be liable to Carrier for all ex-
    penses incurred by Carrier due to Contractor's failure to return all such permits.

         2(C). Settlement Deductions. Carrier shall deduct or otherwise recover pursuant to Section 6(A) of this Agree-
ment seventy-five dollars ($75.00) per week until the total cost of base plate(s), permits, and/or fuel tax reporting (not In-
cluding any additional fuel tax that Contractor may owe) under this Appendix are fully paid. The deductions shall begin im-
mediately for current Contactors and the third full week after aContractor first enters into this Agreement for new Contrac-
tors.

         2(D). Itemization Available. Contractor may, upon request, obtain an itemization of the base plate and/or permit
fees Carrier has advanced for Contractor pursuant to this Appendix, the portion of the total already paid by Contractor and
the portion remaining.

      COMMUNICATIONS SYSTEMIEOBR. In accordance with Section 4(C)I3 of this Agreement (CONTRACTOR
      .


SHOULD INITIAL ONE OF THESE TWO OPTIONS):

CONTRACTOR SHOULD INITIAL ONE OF THESE TWO OPTIONS:

                      OPTION 1: Contractor shall furnish and install Contractor's own compatible Communications Sys-
                      tem/EOBR the Equipment.

                      OPTION 2: Carrier shall arrange, at its expense, to have aCommunications SyatemfEOBR installed in the
                      Equipment and shall deduct or otherwise recover pursuant to Section 6(A) of this Agreement the weekly
                      rent sot forth in Section 4of this Appendix. IF CONTRACTOR INITIALS TI-/IS OPTION, CONTRACTOR
                      SHALL ALSO SIGN THE ATTACHED OMNITRACS, LLCSSYSTEM RECEIPT.

Under either OPTION Ior OPTION 2, Carrier shall deduct or otherwise recover pursuant to Section 6(A) of this Agreement a
network usage charge of the amount per week shown in Section 4of this Appendix (such amount being based on the aver-
age per-truck messaging usage charges to Carrier by Omnitracs, LLC, with no mark-up or administrative charge to Carrier).

     4. DEDUCTIONS TABLE. Pursuant to Section 6(A) of this Agreement, Contractor hereby authorizes Carrier to
charge back or deduct from Contractor's gross compensation under Section 2 of this Agreement, from Contractor's Es-
                            -


crow Fund, or from other amounts Carrier owes to Contractor at the time of settlement with Contractor amounts that, un-
                                                                                                           -




der this Agreement or any addendum. Contractor owes to Carrier, as set forth in the Deductions Table immediately below:


                  CHARGE-BACK OR OTHER DEDUCTION ITEM                            AMOUNT OF DEDUCTION OR
   CODE                                                                          METHOD OF COMPUTATION

                  Accounting services if Contractor elects to ob-   See the American Truck Business Services Addendum.
    AQ            tain them from American Truck Business Services
              -
                  by signing the American Truck Business Services
                  Addendum.
  AD, WC          Advance Card -- Advances In compensation not      1. Amount Carrier loaded on Contractor's CRST Advance
                  yet earned leaded by Carder, at Contractor re-       Card at Contractor's request, plus a $4 per-Card-load
                  quest, on Carrier's advance card ('CRST Advance      fee (comprising both the amount charged by the CRST
                  Card),                                               Advance Card issuer and an admin. fee to Carrier).

                                                                    2. For each Carrier cash-load onto the Advance Card, the


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                                                                           CRST000027
           CHARGE-BACK OR OTHER DEDUCTION ITEM                                    AMOUNT OF DEDUCTION OR
CODE                                                                              METHOD OF COMPUTATION

                                                                     third-party issuer of the Card will debit the Card a
                             -                                       transaction fee for each direct-deposit or registration of
                                                                     a preaulhorized check drawn from the Card after the
                                                                     first two debits. Also, each lime Contractor uses the
                                                                     Advance Card to obtain cash from an automated teller
                                                                     machine, to make apurchase (at any truck stop or oth-
                                                                     er vendor honoring such cards), or to make certain
                                                                     other transactions, the third-part
                                                                                                      yissuer of the Card will
                                                                     deduct a per-transaction too. None of the revenue
                                                                     from the Card-issuer's fees shall be shared with Carri-
                                                                     er. All Advance Card transactions are governed by
                                                                     Card-issuer rules, which, together with Card-Issuer
                                                                     transaction fee information, shall be available to Con-
                                                                     tractor by contacting the Card Issuer's Internet web ad-
                                                                     dress listed on the Card or the Card Issuer's Customer
                                                                     Service telephone line, 1-800-226-3870.

                                                                   3. For use of the credit-card feature of the CRST Advance
                                                                       Card for fuel purchases, see 'Fuel Purchase? row he-
                                                                       low.
SA, AD     Advance check                                           If Contractor elects, with Carrier's prior written consent, to
                                                                   use a Carrier advance check to pay any of Contractor's
                                                                   expenses under this Agreement, Carrier shall charge back
                                                                   the amount advanced, plus a $4 per-transaction too
                                                                   (comprising both the fee charged by issuer of Carrier's
                                                                   advance checks and an admin. fee owed to Carrier.
           Alternative Uses of Equipment Fee to help de-           For Exempt Motor Carriage, a $250-per-trip Alternative
           fray Carrier's administrative, regulatory, state tax,   Use Fee. For all other Alternative Uses of Equipment, a
           and possible insurance costs in connection with         $150-per-trip Alternative-Use-Fee
           each Alternative-Use-of-Equipment trip.
           Cash-on-Delivery freight revenue from ship-             Amount of freight revenue not collected, or collected but
 -         pers, sublease carriers, or others that was not         not remitted, to Carrier in violation of this Agreement.
           collected, or was collected but not remitted, by
           Contractor to Carrier when such actions were
           required by this Agreement.
     1<2   Co-Driver Schooling Charges if Contractor               See the Co-Driver Schooling Addendum.
           elects, by executing the Co-Driver Schooling De-
           ductions Addendum, to have Carrier provide driv-
           er training, and qualify, arelative or friend as aco-
           driver with Contractor.
LM, TO,    Collection costs                                        Amount Carrier pays a collection agency to collect past-
                                                                   due amounts under §19 of Agreement.
                                                               -




ER, MR
           Communications equipment Charges for loss
                                             -
                                                                   Amount paid to third-party vendor or otherwise incurred by
           of or damage to the Communications Sys-                 Carrier.
           tom/EOBR under §4(C)(3) of this Agreement, If
           Contractor elects, by so indicating in Appendix A
           (Contractor Election Form), §3, to have Carrier
           Install such equipment in Contractor's tractor
           Equipment at Contractor's expense.
           Communications SystemlEOBR rental oharg- $7.63 per week
           es, if Contractor elected to have Carrier install a
           •
           Communications System/EOBR in the Equipment                                                               -




           pursuant to §4(C)(3) of Agreement and §3 of
           Appendix A (Contractor Election Form).
     SO    Communications        SystemslEOBR        network $9 per week
           charge for unlimited messaging using communi-
           cations equipment pursuant to § 4(C)(3) of
           Agreement.
AC, CC      Damages, losses, fines, penalties, court costs, To extent the Damages are subject to the indemnity limits

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                                                                            CRST000028
         CHARGE-BACK OR OTHER DEDUCTION ITEM                                       AMOUNT OF DEDUCTION OR
CODE                                                                               METHOD OF COMPUTATION

         attorneys' fees, and oilier expenses (together             set forth In §§ 7(B)(1)-2) of Agreement, Carrier shall de-
         "Damages") Carrier incurs in connection with Con-          duct or otherwise recover pursuant to §6A) of Agreement
         tractors obligations under this Agreement or               up to $100 per week, until fully paid, for the up-to-$l,000
         breach thereof arising out of Contractor's flog-           in Damages owed by Contractor for each accident claim
         ligence, gross negligence, willful misconduct,             (AC, Al, A2, A3, A4); and up $100 per week, until fully
         or other culpable acts or omissions under this             paid, for the up-to-$1,500 in Damages owed by Contractor
         Agreement, pursuant to §7of Agreement, subject             for each non-accident claim (CC, 62, 63, 64). If the
         to indemnity limits set forth in §7(E3)(1)-(2) of          Damages are governed Instead by § 7(1E3)(3) of Agree-
         Agreement.                                                 nient, the full amount of the Damages may be deducted
                                                                    Immediately or on whatever schedule Carder sets.
 AR      Deficit payment: Amounts deducted to retire                Amount Contractor owes Carrier, plus interest at arate of
         debt to Carrier from previous settlement(s), plus          1.5% per month (16% per annum), unless applicable state
         interest                                                   law requires alower rate.
 EF      Detention, accessorial, and other customer-                Amount Carrier was unable to collect from customer as
         charge revenue not collected by Carrier from its           a result of Contractor's failure to transmit to Carder the
         customer because of Contractors failure to                 necessary documentation supplied by the customer, pro-
         transmit to Carrier the necessary documentation            vided that no charge-back shall be made to Contractor II
         supplied by the shipper or consignee                       belch acontacted Carrier's dispatch regarding issue prior
                                                                    to departure from customer consignor or consignee) loca-
                                                                    tion.
         Driver Recruiting charges pursuant to Driver               See Driver Recruiting Addendum.
         Recruiting Addendum if Contractor elects to em-
         ploy or contract to obtain the driving services of a
         Carrier employee-driver
EY, JF   Earnings Correction     -  Credit to, or deduction         Amount credited or deducted shall be determined by ap-
         from, Contractor's settlement compensation to              plying Contractor's compensation rate(s) from Appendix
         reflect difference between the amount originally           B (Contractor Compensation) to the difference between
         billed to the shipper and the amount ultimately            the amount originally billed to the shipper and the amount
         collected from the shipper after correction of any         ultimately collected from the shipper after correction of
         errors on the bill                                         any errors on the bill
 NZ,     Equipment lease payments if Contractor elects,             See Equipment Lease and Equipment Lease Charges
         by executing the Equipment Lease Charges Ad-               Addendum.
         dendum and the Equipment Lease appended to it,
         to lease the Equipment from CRST Lincoln Sates,
         Inc. or One-Call Transportation, Inc.
         Escort fee pursuant to § 4(D)(4) of this Agree-            Amount Carrier paid to escort.
         ment if Contractor's driver lacks a TWIG and
         therefore needs a suilably-credontialed escort in
         order to make apickup or delivery at aport
 FE      Express mail or other package delivery services            Amount Carrier paid to U.S. Postal Service or other pack-
         If Contractor charges them to Carrier's account            age delivery service vendor.
         with the delivery service vendor.
 FD      Fines, penalties, including traffic tickets and re-    -   Amount Carrier paid or otherwise incurred.
         lated court costs, attorneys' fees, and other legal
         expenses that § 5(F)(3) of Agreement makes
         Contractor responsible for                                                      -




 TX      Fuel and mileage taxes                                     In connection with quarterly computation and submission
                                                                    of fuel and mileage tax reports and payments to the vari-
                                                                    ous taxing jurisdictions, any not fuel or mileage tax owed
                                                                    at that time with respect to Contractor's operations In all
                                                                    taxing jurisdictions combined shall be deducted at $100
                                                                    per week until fully paid,. Carder shall credit Contractor at
                     -                                              next settlement wIth any net fuel or mileage tax credits or
                                                                    refunds due Contractor with respect to Contractor's opera-
                                                                    tions in all taxing jurisdictions combined. Soo also of Ap-
                                                                    pendix A (Contractor Election Form),       .§ 2(6) regarding
                                                                    possible charge-backs for IFIA Fuel Tax Permit.
  Ri      Fuel purchases                                            1. When Contractor elects to purchase fuel from third-
                                                                       party vendors using the credit-card feature of the CRST

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                                                                        CRST000029
            CHARGE-BACK OR OTHER DEDUCTION ITEM                               AMOUNT OF DEDUCTION OR
CODE                                                                          METHOD OF COMPUTATION

                                                                 Advance Card, Carrier shall deduct        -and show on
                                                                 Contractor's settlement statement     - or otherwise re-
                                                                 cover pursuant to §6(A) of Agreement an amount no
                                                                 greater than the price posted at the fuel vendor's pump
                                                                 (plus the Card-issudr's transaction fee in certain in-
                                                                 stances see Item 3below). The amount deducted or
                                                                          -




                                                                 otherwise recovered, If toss than the cash (pump) price,
                                                                 is the result of acents-off-retail discount to Contractor
                                                                 that Carrier has negotiated with the fuel vendor. Die-
                                                                 count amounts available to Contractor are as indicated
                                                                 In Supplement I('CRST Fuel Purchasing Program) to
                                                                 this Appendix. Carrier shall deduct or otherwise recover
                                                                 pursuant to §6(A) of Agreement the cents-off-retail
                                                                 discount price (that Is, the price posted at the fuel ven-
                                                                 dor's pump, less the cents-per-gallon discount negoti-
                                                                 ated by Carder, at time of Contractor's purchase)     . In
                                                                 the event of any changes in Supplement 1, Carrier
                                                                 shall provide Contractor with an updated version before
                                                                 the changes take effect.

                                                               2. If Carrier receives any discount on Contractor's' fuel
                                                                  purchases or if the fuel purchases of all Carriers con.-
                                                                  tractors combined reach certain volumes resulting in
                                                                  Carrier's receiving rebates from some fuel vendors,
                                                                  Carrier shall retain all such discounts and rebates and
                                                                  NOT share them with Contractor or other contractors.

                                                               3, If Contractor elects to purchase fuel, using the CRST
                                                                  Advance Card, at a truck slop that Is not listed in Sup-
                                                                  plement Ito this Appendix and thus does not offer Car-
                                                                  rier's contractors a cents-off-retail discount, Contractor
                                                                  will be charged back whatever transaction fee the Ad-
                                                                  vance Card Issuer charges to Carrier.

                                                               4. Contractor is under no obligation to use the CRST Ad-
                                                                  vance Card for fuel or other purchases, and may in-
                                                                  stead use cash, checks, or other credit or charge
                                                                  cards.
ZA, ZB,     Garnishment orders (including but not limited to   $100 per week or the amount Carrier paid In compliance
ZC, ZD,     child-support orders) by courts and tax liens      with any lawfully Issued order or lien, acopy of which Car-
 ZE, ZF     against Contractor or Carrier compensation         rier shall supply to Contractor at or before the first deduc-
  (etc.),                                                      lion relating to it, plus an admin. fee to Carrier (the
    GA                                                         amount to be determined by the law of the jurisdiction
                                                               issuing the order or lien, or, If such state does not address
                                                               admin. fees, the law of the State of Iowa). After termina-
                                                               tion of, but not during, this Agreement, Carrier shall de-
                                                               duct from contractors Escrow Fund (after all deductions
                                                               authorized by this Deductions Table) the portion of any
                                                               garnishment or lien amount due that exceeds the balance
                                                               In Contractor's Settlement Compensation.
   DO       General Escrow Fund (former Performance             See Appendix A (Contractor Election Form), §8(A)
            Bond) contributions by Contractor
   MZ       Inspection of Equipment to the extent the finan-   Amount Carrier paid outside vendor. If Contractor elects
            cml responsibility Is Contractor's under Agree-    to obtain inspections from Carrier's maintenance facility,
            mant, §4(A)                                        the amount Carder Incurred for parts and labor resulting in
                                                               a price competitive with other maintenance vendors In the
                                                               relevant market
BT, 7S,     Insurance coverages Contractor elcts, via the      See Appendix A (Contractor Election Form), §5
DP, PJ,     CERTIFICATE OF INSURANCE in §6(A) of Ap.           The costs stated in Appendix A (Contractor Election


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                                                                         CRST00003O
           CHARGE-BACK OR OTHER DEDUCTION ITEM                                     AMOUNT OF DEDUCTION OR
CODE                                                                               METHOD OF COMPUTATION

PP, 113,   pendix A (Contractor Election Form) and/or by            Form), §5, are amounts the insurer(s) charged for the
  OP       executing a CRST International "Passenger Acci-          required and optional coverages Contractor selected (and
           dent Program Enrollment Form," to have Carder            for those required coverages with respect to which Con-
           facilitate or that Carrier maintains at its expense      tractor failed to provide Carrier proper evidence of Con-
           because Contractor failed to provide proper cvi-         tractor's purchase and maintenance of thorn), including,
           dence of the purchase or maintenance of the re-          where indicated, profit to Carrier's affiliated Insurance
           quired coverages under §10(E) of Agreement               company and/or an admin. foe to Carrier. The costs are
                                                                    subject to possible increases (see §10(F) of Agreement).
Li, LE     Licensing (base plate fees). if Contractor elect-        See Appendix A (Contractor Election Form), §2(A), or
           od, by so indicating in §2 of Appendix A (Con.           an Addendum, regarding partial refunds of base plate fees
           tractor Election Form) or an Addendum, to have           Carder shall provide Contractor under certain circum-
           Carrier pay the fees in advance                          stances.
LI, LE     Licensing (permit fees) under § 7(13) Agreement          See Appendix A (Contractor Election Form). § 2(13) or
           and § 2 of Appendix A (Contractor Election               an addendum.
           Form) or an Addendum, but not including overdi-
           monsional permit fees
   IL      Loan payments if Contractor elects, by so mdi-           Weekly payments of at least $250/week based on princi-
           cating on-Loan Addendum, to borrow an amount             pal and Interest agreed to by Contractor and Carrier, as
           of $1,000 or more from Carrier to cover cost of          reflected In Loan Addendum.
           maintenance, repairs, or other expenses
  DU       Logo Store clothing and other items that Con-            Amount Carrier incurred, plus markups resulting In prices
           tractor elects to purchase at Carrier's store            (which shall be provided to Contractor upon request at the
                                                                    time he/she purchases or places order for items) competi-
                                                                    tive with other vendors In the relevant market(
                                                                                                                  s).
  R8       Maintenance and Other Reserve Fund contribu-             See Appendix A (Contractor Election Form), §8(13).
           lions by Contractor
RJ, RH,    Maintenance, repairs, parts, and replacement             Amount Carrier paid maintenance provider. If Contractor
P9, M2,    tires that Contractor elects, and Carrier each time      elects to obtain products or services from Carrier's third-
ML, RO,    agrees, to have Carrier advance funds for the            party maintenance provider, the amount Carrier Incurred
RG, RI,    purchase from third-party maintenance providers          for parts and labor, plus an administrative fee of $5 per
Rj, RK,    and charge Contractor back for it                        hour, resulting in a price competitive with other mainto-
  RL                                                                nanco vendors In the relevant market. If Contractor elects
                                                                    to pay the outside vendor directly using aCarrier Advance
                                                                    Check or Card, see "Advance Check" or "Advance Card"
                                                                    rows above.
  MC       Motel/hotel guestroom and other charges If               Amount Carrier paid outside vendor or, if Contractor
           Contractor elects to have Carrier advance such           elects to stay in Carrier's hotel, the amount Carrier in-
           charges                                                  curred, plus a markup resulting in a price (which shall be
                                                                    provided to Contractor upon request at the time lie/she
                                                                    checks into the hotel) competitive with other hotel/motel
                                                                    vendors in the relevant market
  MC       Operating expenses not otherwise listed in this          Amount Carrier paid or otherwise incurred. For use of
           table for which Contractor Is responsible under          Advance Card to pay for maintenance, repairs, or tires,
           this Agreement and regarding which Carrier re-           see "Advances Card row above.
           ceives a purchase order or invoice Is otherwise
           requested by Contractor to make an expenditure
           in the first instance.
  MC       Parking charges Carder paid outside vendor for           Amount Carrier paid outside vendor.
           parking
  RQ       Personal Insurance Program, including medical,           See the Personal Insurance Program Addendum.
           dental, vision, critical illness, disability, and per-
           manent life coverages.
   PY      Physical examinations for Contractor's drivers           Amount Carrier paid outside vendor. See also "Co-Driver
                                                                    Schooling Addendum, if applicable.
   IL      Previous deficit payment plan: Payments by               See Loan Addendum.
           Contractor to retire debt owed to Carrier from op-
           erations under a previous independent contractor
           operating agreement pursuant to a Loan Adden-
           dum.

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            CHARGE-BACK OR OTHER DEDUCTION ITEM                                    AMOUNT OF DEDUCTION OR
 CODE                                                                              METHOD OF COMPUTATION

    Fl      Routing andfor Fuel Optimization Services If           See Appendix A (Contractor Election Form),       §7
            Contractor elects, by initialing OPTIONS 2or 3 in
            Appendix A (Contractor Election Form), §7, to
            purchase such services from or through Carrier
   FC       Sublease payments to Carrier if Contractor             See   §i(E)(2)(b) of Agreement.
            elects to use the Equipment to handle trip-leased
            loads pursuant to §I(E)(2)(b) of Agreement
   MC       Travel cost (bus, air, taxi, or other passenger        Amount Carder paid outside vendor.
            fares) if Contractor needs to travel due to an acci-
            dent or for other Carrier-approved trips.
   MC       Term In atio n-related expenses pursuant to §14        Amount Carrier paid or otherwise incurred.
            of Agreement, including without limitation reason-
            able attorneys' fees, Involved In seeking the return
            of, replacing, or having to forego refunds, credits,
            or sale proceeds relating to Carriers base plates,
            permits, identification, and other property, includ-
            ing trailers, paperwork, satellite communications
            equipment, and freight
 RJ, RH,    Tire purchases if Contractor elects to purchase        Amount Carrier paid to outside vendor plus a$10 per tire
 P9, M2,    tires at discount from retail prices through Card-     admin, fee to Carrier
 ML, RG,    er's National Account Programs
 RG, RI,
 RJ, RK,
   RL
   TO       Tells for highways, bridges, tunnels, ferries, and     Amount Carrier paid to the toll authorities, plus any related
            other facilities                                       lines, penalties, and fees
            Trip-completion additional expense and/or              Amount Carrier paid or otherwise incurred beyond the
            damages, pursuant to §12 of Agreement                  amount of Contractor's forgone compensation pursuant to
                                                                   §12 of Agreement
    TO      TRANSFLO Express® charges if Contractor                $15 per month for unlimited dispatches, comprising both
            elects to use Carrier's account with TRANSFLO          the amount Carrier paid to TRANSFLO Express® and an
            Express® to send correspondence to Carrier's           admin. fee to Carrier.
            offices or those of its affiliates on an expedited
            basis
    MZ      Truck washes if Contractor uses Carrier's ac-          Amount Carrier paid outside vendor.
            count
    TU      Usage charge for Carrier's Trailer(s), pursuant        $25 per week
            to §5(H) of-Agreement

     5. CERTIFICATE OF INSURANCE. Contractor hereby requests Carrier, through Carrier's insurer, to facilitate on
Contractor's behalf (if they are available) the insurance coverages Contractor has selected by placing Contractor's initials In
the right-hand column below:       -




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                                                                          CRST000032
                                                                                                   INITIAL "YES"
                                       TYPE OF COVERAGE                                            TO REQUEST
                                                                                                    COVERAGE
1.    Non-TruckIn< (Bobtail) Liability Insurance:

      Name of Insurer:          Great Plains Casualty, Inc.

      Policy No:                GPNTIAO3O and GPENTIAO3I

      Effective Date(s):        From the effective date (boiow) of this Certificate of insurance
                                through the next succeeding June 1, and each subsequent annu-
                                al renewal period, subject to Contractor's payment of insurance
                                cost and other policy terms and conditions

      Amount of Coverage:       $500,000 combined single limit

      Cost to Contractor:       $30 per Unit of Equipment per month
                                Inowdes profit to Carders affiliated insurance company

      Deductible:               $0 per occurrence

If Contractor domiciled in Michigan:

      Name of insurer:          Hudson Insurance Co.

      Policy No:                11540101 -127674

      Effective Date(s):        From the effective date (below) of this Certificate of Insurance
                                through the next succeeding October 1, and each subsequent
                                annual renewal period, subject to Contractor's payment of Insur-
                                ance cost and other policy terms and conditions

      Amount of Coverage:        $500,000 combined single limit

      Cost to Contractor:        $44.17 per Unit of Equipment per month
                                 Includes profit to Confers affiliated Insurance company

      Deductible:                $0 per occurrence

2.     Workers' Compensation Insurance (CONTRACTOR SHOULD INITIAL. "YES" IN THE
       COLUMN TO THE RIGHT OF ONLY ONE OF THE FOLLOWING TWO OPTIONS A OR                   -.




       A.           By Initialing "YES" In the column to the right, CONTRACTOR ELECTS TO                   YES
             PURCHASE WORKERS' COMPENSATION COVERAGE FOR HIMSELF1HERSELF
             AND CONTRACTOR'S DRIVERS OR OTHER EMPLOYEES (IF ANY) FROM AN
             INDEPENDENT SOURCE NOT FACILITATED BY CARRIER. CONTRACTOR HAS
             PROVIDED CARRIER WITH A COPY OF THE INSURANCE POLICY DECLARA-
             TIONS PAGE EVIDENCING SUCH COVERAGE IN ACCORDANCE WITH SECTION
             1Q(B)(2)(d) OF THIS AGREEMENT.                    -




        B.          By Initialing "YES" in the column to the right, Contractor attests that
             HEist-lB HAS NO EMPLOYEES AND that he!she is              a resident of, and the              YES
             work Is NOT principally localized in, KANSAS or any state whosostatutes, regu-
             lations, or case law Carrier Interprets to doom owner-operators to be employees
             absent worker's compensation coverage secured by the owner-operator, and
             CONTRACTOR HAS ELECTED NOT TO OBTAIN WORKERS' COMPENSATION
             COVERAGE FOR HIMSELF/HERSELF INDEPENDENTLY.




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                                                                          CRST000033
                                                                                                     INITIAL "YES"
                                     TYPE OF COVERAGE                                                TO REQUEST
                                                                                                      COVERAGE
3.    Occupational Accident Insurance

      WHERE STATE LAW ALLOWS AND CARRIER APPROVES                                                           YES

      Name of Insurer:         Zurich American Insurance Co.                                                 NO

      Policy No:               216-000-654

      Effective Date(s):       From the effective date (below) of this Certificate of Insurance
                               through the next succeeding November 1, and each subsequent
                               annual renewal period, subject to Contractor's payment of insur-
                               ance cost and other policy terms and conditions

      Amount of Coverage:      tip to $1,000,000 per occurrence based on schedule of benefits
                               available to Contractor upon request (benefits are reduced for in-
                               dividuals over 70 years old)

      Cost to Contractor:      $154.00 per covered individual per month (including an adminis-
                               trative fee to Carrier), deducted at $35.54 per week for 52 weeks-




                               or, if over 70 years old, $145.00 per covered individual per month
                               (with no administrative fee to Carrier), deducted at $36.25 per
                               week for first 48 weeks of coverage year
                               All costs include profit to Cantor's affiliated insurance company

      Deductible:               $0

4.    PhysIcal Damaqe Insurance:

      Name of Insurer:          Great Plains Casualty, Inc.                                                   ES

      Policy No:                GPPY1A040                                                                    NO

      Effective Date(s):        From the effective date (below) of this Certificate of insurance
                                through the next succeeding September 1, and each subsequent
                                annual renewal period, subject to Contractor's payment of insur-
                                ance cost and other policy terms and conditions

      Amount of Coverage:       Contractor-spedlied value of Unit of power-unit Equipment of
                                $                   (any Tractor Equipment claims, however, shall
                                be paid at only the actual cash value of insured Tractor Equipment
                                at time of occurrence, in accordance with insurance policy)

      Cost to Contractor:       4,5% of Contractor-specified value of Tractor Equipment, deduct-
                                ed weekly for 52 weeks
                                Includes profit to Carrier's affiliated insurance company and ad-
                                ministrative f
                                             eeto Carrier

      Deductible:               $1,000 per occurrence




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                                                                          CRST000034
                                                                                                             INITIAL "YES"
                                             TYPE OF COVERAGE                                                TO REQUEST
                                                                                                              COVERAGE
   5.    Insurance for Cargo. Carrier's Trailer(s). and Related Expenses

         Name of Insurer:               Great Plains Casualty, Inc.

         Policy No:                     GPPYIAO22

          Effective Date(s):            From the Effective Dale as stated in Section 2(a) of this Agree-
                                        meet through the next succeeding September 1st, and each sub-
                                        sequent renewal period.

         Amount of Coverage:            $75,000 combined single limit per occurrence for damage to car-
                                        go, Carrier's Trailer(s), and related towing and clean-up costs.
                                        For more details regarding coverage, see insurance policy,

          Cost to Contractor:           $34.62 per week
                                        Includes profit to Carrier's affiliated insurance company

          Deductible:                   $1,000 per occurrence


    6. CERTIFICATE OF WORKERS' COMPENSATION INSURANCE (If Contractor Elects NOT To Have Coverage
Facilitated By Carrier)

          If Contractor has elected NOT to have Carrier facilitate workers' compensation (or, where permitted, occu-
pational accident) Insurance coverage, Contractor hereby certifies that the statement below, to the left of which Conlrac-
tot's undersigned authorized representative has inscribed Contractor's Initials, is true and correct (Contractor SHOULD INI-
TIAL ONLY ONE BOX):

    CONTRACTOR: Please
   Initial ONE Box Below If                                               STATEMENT
      Statement Is TRUE
                                     1. Contractor has NO employees; and he/she IS domiciled in a state whose statutes,
                                        regulations, or case law Carrier interprets to deem owner-operators to be employees
                                        absent worker's compensation coverage secured by the owner-operator. Accordingly,
                                        as REQUIRED by Section 10(13)(2) of this Agreement, Contractor HAS purchased
                                        workers' compensation Insurance coverage for himself/herself. Attached hereto
                                        is the certificate of insurance, and the declarations cage from Contractor's workers'
                                        compensation insurance policy, showing principal coveraqo in Iowa and in the state in
                                        which the work will be crincicaltv localized (as required by Sections 10(B)(2 and
                                        10(C) of this Agreement is attached hereto; OR

                                     2. Contractor has NO employees; and he/she IS domiciled in Kansas, Mississippi, or
                                 -      Utah. Accordingly, as REQUIRED by Section 10(6)(2) of this Agreement, Contractor
                                        HAS purchased workers' compensation Insurance coverage or occupational ac-
                                        cident insurance coverage for himself/herself, The certificate of Insurance and
                                        declarations pecje from Contractor's insurance policy (as required by Section 10(C) of
                                        this Agreement) is attached hereto; OR

                                     3. Contractor has NO employees; and he/she IS NOT domiciled in Kansas, Mississippi,
                                        Utah, or any state whose statutes, regulations, or case law Carrier interprets to deem
                                        owner-operators to be employees absent worker's compensation coverage secured
                                        by the owner operator. Contractor has elected NOT to purchase workers com-
                                        pensation insurance coverage for himselflherseif. NOTE: In some states (consult
                                        Carrier as to which ones), workers' compensation coverage under this Agreement
                                        shall be mandatory if Contractor is corporation or limited liability company; OR

                                     4. Contractor has NO employees; and he/she IS NOT domiciled in a state whose stat-
                                        utes, regulations, or case law Carrier Interprets to deem owner-operators to be em-
                                        ployees absent worker's compensation coverage secured by the owner-operator.
                                        Contractor has nonetheless elected to purchase workers' compensation Insur-

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                                                                             CRST000035
    CONTRACTOR: Please
   Initial ONE Box Below If                                            STATEMENT
      Statement Is TRUE
                                    ance coverage for himself/herself. Attached hereto is the certificate of insurance
                                    and the declarations paqe from Contractor's workers' compensation insurance policy;
                                    OR

                                5. Contractor has [insert number]_ employees and, as REQUIRED by Section
                                   10(B)(2) of this Agreement, HAS purchased workers' compensation Insurance
                                   coverage (or occupational accident Insurance coverage where both state law al-
                                   lows and Carrier approves) for hln%seltTherselt (if Contractor is anatural person)
                                   and those of Contractor's drivers, employees, agents, and other persons re-
                                   quired to be covered under the workers' compensation law of any slate that is rea-
                                   sonably likely to have Jurisdiction over Contractor's business operations. Attached
                                   hereto is the certificate of insurance, and the declarations pane from Contractor's
                                   workers' compensation insurance policy. showing principal coverage in Iowa and in
                                   the state In which the work will be principally localized (as required by Sections
                                   10(B)(2) and 10(C) of this Anreement.

     7. ROUTING AND FUEL OPTIMIZATION SERVICES. To improve Contractor's efficiency and profitability, Contractor
may choose to rely on either free or purchased routing and fuel optimization information, software, or other services. It Con-
tractor elects to purchase such services from or through Carrier, he/she should initial OPTIONS 2 below. Otherwise, Con-
tractor should initial OPTION 1.

              0 TRACTOR SHOULD INITIAL ONLY ONE OF THESE OPTIONS:

                   OPTION 1:       Contractor shall obtain routing andlor fuel optimization Information, software, or
                   other services, including such free online services as those found at www.mapquest.com,
                   rnaps.yahoo.corn, and maps.google.com, on Contractor's own or forgo such services altogether.

                   OPTION 2:          Carrier shall facilitate Contractor's purchase of routing and/or fuel optimization
                   services from third-party vendor PC*Mller, using the most recent version of the PCMilorIWeb In-
                   ternet-based routing platform, by paying the $19.95 ]month price to the vendor (with no admin. fee
                   to Carrier) and deducting or otherwise recovering this expense from Contractor pursuant to Sec-
                   tion 8(A) of this Agreement in the amount of $4.99/week

                   OPTION 3:        Carrier shall sell Its own routing and/or fuel optimization services to Contractor
                   for $4.00/week price to the vendor and deducting or otherwise recovering this expense from Con-
                   tractor pursuant to Section 6A) of this Agreement.

     8.   PRINCIPAL IN ESCROW FUNDS.

         8(A). General Escrow Fund. The Principal Amount in the General Escrow Fund shall be two thousand dollars
($2,000), to be deducted, pursuant to Agreement §8(A)(1), at seventy-five dollars ($75) perweek.

          6(B).   Maintenance and Other Reserve Fund.

                  8(B)(1).   Minimum Principal. The mlnlmum Principal Amount in the Maintenance and Other Reserve Fund
     shall be two hundred fifty dollars ($250), to be deducted, pursuant to Agreement §8(A)(2), at one cent ($0.01) per n-rile
     for all loaded miles operated under Carrier dispatch (as specifically directed or authorized by Carrier), based on Carrier's
     most current (at the time of Contractor's trip) version of Rand McNally MIle Maker® computerized mileage guide, which
     Carrier shall make available for viewing and printing of particular Contractor-requested point-to-point mileage calcula-
     tions at any Carrier terminal during normal business hours.

                  8(B)(2).   Additional Principal. In accordance with Section 8A)2(b) of the Agreement     -




     CONTRACTOR SHOULD INITIAL ONLY ONE OF THESE TWO OPTIONS:
   A:)              OPTION 1:   -     Contractor chooses to continue building the Maintenance and Other Reserve
                    Fund once the minimum Principal Amount has been fully deposited, and hereby authorizes Carrier to
                    deduct from Contractor's settlement compensation and deposit In the Fund one hundredth of acent
                    ($0.01) per mile for all loaded miles operated under Carrier dispatch or Twenty-five Dollars ($25.00) -per
                    week up to atotal Additional Principal of $     O?         . If no total amount is stated, the specified

          -         deductions shall not end until Contractor notifies Carrier In writing to stop thorn.


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                                                                           CRST000036
                    OPTION 2        Contractor chooses NOT to build any Additional Principal in the Maintenance and
                    Other Reserve Fund.

         THIS APPENDIX A, which completely replaces and supersedes any earlier appendix or addendum or other
provisions of this Agreement frlatlng to the same subjects, is agreed to by the undersigned parties arid shall be
effective at,J__      .m. CentI Tim e jiie      .? .dayof:c\                        ,




 Contractor                    A                                Car- CRST Expedited, Inc.

By:                                                             By -
        Signature                                                      gIF, tu re

Authorized Representative'
                         sName (Typed or Printed)               Phillip Reges
                                                                Director Operations IC
                                                                         -              -




Title                        Drivers Name if Different          3930le Avenue
                                                                Cedar Rapids, IA 52406
Date                         Tractor No.                        Tel, 319-731389D
                                                                Fax 319-731 -9245




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                                                                              CRST000037
                          OMNITRACS LLC COMMUNICATION SYSTEMIEOBR RECEIPT

         Contractor hereby acknowledges that the following items of an Omnitracs, LLC, communications unit have been
received by him/her from, and installed in Contractor's Equipment (truck tractor) indicated below, by Carrier:

                         Each OmnUracs, LLC, System Unit:

                                  Outdoor Unit (Antenna)
                         I        Communications Unit (Black Box)
                         I        Display Unit (Keyboard and Screen)
                         I        Pager System

          Equipment (Tractor) #                     Omnitracs. LLC, Unit II




   Authorized Representative's Name (Typed or Printed)

   Tit                       Driver's Name if Different
           0:3   ,5?
   Date                      Tractor No.




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                                                                              CRST000038
                                                 SUPPLEMENT'l

                                     CRST FUEL PURCHASING PROGRAM

CRST Expedited, Inc. (  '
                        CRST") is committed to giving you options for reducing your operating costs by offering you
discount-purchase programs. By operating with CRST, you can choose to ,take advantage of our volume buying
power, though always remaining free to make different purchases using cash or personal credit cards. When you use
your CRST Advance/Fuel card, you qualify for afuel discount below cash (pump price in the amounts indicated at the
nationwide fuel chains listed below. These discounts apply only when you use your CRST Advance/Fuel card.




                                                                                 www.pitotflyinqj.com
                                                                            6cents off cash price per gallon
             wwwioves.com
     6cents off cash price per gallon



                FLYING ,J
          wwv.pllotflvinql.com                                                 www.tatravelcenters.com
     6cents off cash price per gallon                                       6cents off cash price per gallon




         w'nv.petrOt(uCkstoPS.COni
     6cents off cash price per gallon




                     CRST Expedited, Inc. Independent Contractor Operating Agreement                     Rev. October 2017
                     SUPPLEMENT I CRST FUEL PURCHASING PROGRAM Page 1
                                      -                                         -




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                                                                       CRST000039
                                                           APPENDIX B

                                                CONTRACTOR COMPENSATION

     1. CONTRACTOR'S GROSS COMPENSATION. As the total gross compensation for the use of the Equipment and
     -

for everything furnished, provided, done by, or required of Contractor in connection with this Agreement, including but not
limited to driving of the Equipment and all non-driving activities such as conducting pre- and post-trip inspections of the
Equipment, walling to load or unload (detention), loading or unloading if required, fueling, repairing and maintaining the
Equipment, hooking and unhooking empty trailers, preparing logbooks and other paperwork, and oilier activities and ser-
vices, Carrier shall pay Contractor Base Compensation plus Additional Compensation as follows:

         1(A).     Base Compensation

                i(A)(1).   Applicable Percentages Carrier shall pay A percentage of Adjusted Gross Revenue, as de-
                                                                              -




    fined In Paragraph 2 of this Subsection, billed to the shipper for a shipment as follows       seventy percent (70%) if the
                                                                                                   --




    Carrier provides the trailer; seventy-five percent (75%) if Contractor provides the trailer; or seventy-eight percent (78%)
    if Contractor provides arefrigerated trailer.

                   1(A)2).     Definitions. Throughout this Agreement     -




                       't(A)(2)(a),   Gross Revenue shall mean all revenue billed by Carrier to shippers, consigneos, bro-
                                                                                  -


         kers, logistics companies, freight forwarders, other carriers, or other customers (referred to together as "Carrier's
         Customer" throughout this Agreement) In connection with shipments Contractor hauls under this Agreement for           -




         pickup and delivery charges, mileage charges, linehaul transportation charges, hourly work, accessorial services,
         detention, and all other services, fuel surcharges, and other charges and surcharges.

                         1(A)(2)(b).    Adjusted Gross Revenue (AGR') shall mean Gross Revenue for a particular shipment,
         reduced by any and all:

                               1(A)(2)(b)(1).   Incentive, discount, fee (including for loading or unloading services provided by
                 Carrier's Customer either directly or through a Third Party), or commission Carrier gives Carrier's Customer
                 with respect to the shipment;

                               1(A)(2)(b)(2),     All amounts Carrier paid to third parties, including but not limited to Carrier's
                 Customer or an affiliate of Carrier, (together, 'Third Parties") in relation to movement of the shipment If not cov-
                 ered by acharge separately stated on Carrier's lnvoce to Carrier's Customer, including, but not limited to, fees
                 or commissions (including commission recoveries), paid to brokers, freight forwarders, interline or augmenting
                 carriers, warehouse or other storage providers, terminals, agents, or any other Third Party, expenses attributa-
                 ble to an accessorial service, escorts, overweight, overdimensional, or other permits, loading and/or unloading
                 (including lumper) services, freight payment-processing fees (consisting of the actual cost incurred by Carrier
                 for the shipment if Carrier's customer or an outside payer makes deductions from Carrier's freight charges re-
                 lated to electronically-transmitted billing and payment account use), amounts paid or accrued for cartage, cer-
                 tain specialized trailers and excessive trailer spotting, taming, or special security measures paid to aThird Par-
                 ty or to Contractor; and amounts paid to other contractors as a pro rata payment for their participation In the
                 movement of ashipment; and

                               1(A)(2)(b)(3).     Charges separately stated on Carrier's invoice to Carrier's Customer as fuel
                 surcharges (or fuel or other cost adjustments or special fuel charges), detention charges actually received from
                 the shipper, loading and unloading (including lumper) charges, "truck ordered but not used" charges, insurance
                 surcharges, escort service charges, toils, overdtmensional and other permits, trailer charges, cartage charges,
                 spotting charges, freight payment processing lees, excess-value charges or high-value freight charges, sur-
                 charges for special security measures, charges for Third-Party contract services, charges for the International p
                 ojilon of toads going to or coming from Mexico, and charges for other services Carrier obtained from abroker,
                 freight forwarder, interline or augmenting carrier, warehouse or other storage provider, terminal, agent, other
                 independent contractor, or other third party.

          1(B).     Additional Compensation

                    1(B)(1).   Fuel-Related.    Ninety-seven percent (97(/
                                                                         16) of the fuel surcharges billed to the shipper for a

     shipment; and

                    I(B)(2).   Accessorial Charges.                                       -




                                  CR81 Expedited, Inc. Independent Contractor Operating Agreement                 Rev. October 2017
                                           CONTRACTOR COMPENSATION Page B-I           -




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                                                                           CRST00004O
                        1(B)(2)(a).    Overdimenslonal Permit Fees.   One hundred percent (100%) of any overdlmensional
          permit fee (if paid by Contractor).

                      1(B)(2)(b)     Other Charges. The same percentage as Section 1(A)(1) of this Appendix applies to
          Adjusted Gross Revenue of any detention charges, (ruck ordered but not used' charges, loading and unloading
          (lumper) expense, tolls, and other accessorial charges that Carrier actually collects from the shipper for a ship-
          ment.

                 1(B)(3).   Hazardous Materials Charges. For hazardous materials shipments booked after October 21,
    2013, requiring the use of adriver that is certified by the DOT as qualified to operate avehicle containing hazardous ma-
    terials or where aShipper requests the use of ahazardous materials qualified driver for ashipment after that date, Car-
    rier shalt pay Contractor four cents ($.04) per mile on those shipments In addition to the compensation Carrier pays pur-
    suant to Section 1(A) of this Appendix B. In the event Contractor has as aco-driver on ashipment Contractor has ac-
    cepted pursuant to this Section 1(B)(3) adriver not qualified to operate avehicle containing hazardous materials, Carrier
    will pay Contractor four cents ($.04) per mile on asplit-mite basis. In the event Contractor has as his co-driver on a
    shipment Contractor has accepted pursuant to this Section 1(B)(3) adriver who is also certified to operate avehicle con-
    taining hazardous materials, then Carrier will pay four cents $.04) for all miles on the shipment. By accepting the haz-
    ardous materials shipments, Contractor represents to Carrier that the driver operating the motor vehicle used to
    transport thehazardous materials shipment is qualified to operate amotor vehicle containing hazardous materials.

    2.    CHANGES IN COMPENSATION.

         2(A). Temporary Change. Carder and Contractor may make atemporary change in Contractor's compensation
to be paid for one or more services relating to ashipment or shipments under this Agreement by both parties' signing (either
manually or, as indicated in Section 2(8) of this Appendix, electronically) an addendum, setting forth the change in advance
of any hauling assignments to which the change will apply. Contractor shall be under no obligation to accept the change in
compensation by signing such an addendum, and Carrier shall not terminate this Agreement for Contractor's failure to do so
(except to the extent the procedure below for an "Ongoing Change" is followed), although, in such event, Carrier are hereby
authorized not to assign you loads covered by such change in the meantime. Such temporary change shall not be effective
for more than twenty (20) calendar days,

         2(B). Ongoing Change. If any aspect of Contractor's compensation set forth In this Appendix B will be changing
on an ongoing basis, Contractor shall be provided aproposed addendum containing the change at least twenty (20) calen-
dar days in advance by hand, lax, overnight delivery, or, it the parties have agreed to such forms of communication by both
signing Appendix D (Consent to Conduct Business by Electronic, Methods) of, or a similar addendum to, this Agree-
ment, by (he electronic means specified in that appendix. If Contractor wishes to continue operating on behalf of Carrier,
he/she shall, by the effective date and time shown on the addendum, EITHER manually sign the addendum and deliver It to
Carrier by hand, fax, or overnight delivery OR, if both parties have signed Appendix D of, or asimilar addendum to, this
Agreement, by signing the addendum by the electronic means specified In that appendix. If Contractor does not take one of
these actions consenting to the change within the time indicated on the addendum,, the addendum shall operate as anotice
of termination under Section 14 of this Agreement, and this Agreement shall terminate as of the date and time set forth on
the addendum, provided that, in such event, Contractor shalt not be subject, either before or after termination, to the
change(s) proposed in the addendum.

     3.    EARNINGS ADJUSTMENTS.

          3(A). Bllllnq Error. If Carrier discovers and corrects an error in, or in Carder's sole judgment decides to retroac-
tively increase or decrease, the amount of any item billed to Carrier's customer on ashipment that Contractor hauled and for
which Contractor was compensated pursuant to apercentage of Adjusted Gross Revenue, Carrier shall credit to, or deduct
from, Contractor's gross compensation at the next settlement ashare       -   corresponding to the percentage of such revenue
normally payable to Contractor for the shipment of the additional amount Carrier actually collects or refunds in remedying
                                                  -




the error. Carrier shall provide Contractor, before or at the lime of settlement, with acopy of the amended rated freight bill or
acomputer-generated document that contains the same information, or, in the case of contract carriage, any other form of
documentation actually used for a shipment containing-the same information that would appear on a rated freight bill, and
shalt otherwise meet the requirements of Section 3(8) of this Agreement with respect to the shipment.

          3(8). Billed Amount Uncollectible. If, after making acommercially reasonable effort to do so, Carrier is unable
to collect from acustomer the full amount of any item billed to the customer for ashipment that Contractor hauled and for
which Contractor was compensated pursuant to a percentage of Adjusted Gross Revenue, Carrier shell deduct from Con-
tractor's gross compensation at the next settlement ashare of the unpaid amount that corresponds to the percentage of such
revenue normally payable to Contractor for the shipment. Carrier shall give Contractor, before or at the time of settlement, a
written explanation of Carrier's efforts to collect from its customer and the computation of the amount being deducted from
Contractor's gross compensation, Escrow Fund, and any other amounts due Contractor from Cartier.


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                                        CONTRACTOR COMPENSATION Page 8-2       -




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                                                                              CRST000041
    4. METHOD OF DISBURSEMENT OF SETTLEMENT COMPENSATION. Carrier shall pay Contractor any net set-
tlement compensation due through the OPTION specified by Contractor below (with no administrative fee to Carrier).

    ConfrStpr SHOULD INITIAL ONLY ONE OF THESE THREE OPTIONS                       (on   the line to the loft):

                  OPTION 1(Cash Loads onto Contractor's Settlement Cardi: Carrier shall pay settlement componsa-
         4 by loading cash onto Contractors Settlement Card, which is purely adebit card (in other words, Contractor may
         66




        use it for transactions only up to the total cash value on the card, not for credit transactions). For ear-It Carrier
        cash-load onto the Settlement Card, the third-party issuer of the Card will debit the Card atransaction fee for each
        direct-deposit or registration of a preaulborized check drawn from the Card after the first two debits. In addition,
        each time Contractor uses the Settlement Card to obtain cash from an automated teller machine, to make a pur-
        chase (at any truck stop or other vendor honoring such cards), or to make certain other transactions, the third-party
        issuer of the Card will deduct a per-transaction fee. None of the revenue from the Card-issuers fees shalt be
        shared with Carrier. All Settlement Card transactions are governed by Card-issuer rules, which, together with Card-
        issuer transaction fee information, shall be available to Contractor by contacting the Card Issuer at its Internet web
        address listed on the Card or the Card issuer's Customer Service telephone line, 1-8OO226-387O.

                 OPTION 2(Weekly Payments via Carrier Bank Check Malted): Carrier shall pay settlement compen-
                                                                            ..-


        sation by sending a bank check by U.S. First Class Mail to the address required by Section 13 (Notices) of this
        Agreement or, if Contractor chooses the following different address, to:


                                                   Address (Street, P.O. Box)


                                                     City, State & Zip Code

                  OPTION 3(Wosktv Payments via Carrier Bank Check Picked Up at TermlnaQ: Carrier shall pay any
                                                                           -




        Settlement Compensation by making abank check available for pick-tip by Contractor at the terminal of Carrier to
        which Contractor is assigned during normal business hours. If Contractor wishes to have an authorized representa-
        tive pick up the check, Contractor must first deliver to Carrier a signed and dated letter giving the full name, ad-
        dress, and telephone number of the representative and staling the period during which Contractor wishes the rep-
        resentative to pick up the check on Contractor's behalf.

    5. METHOD OF DELIVERY OF SETTLEMENT STATEMENT. Carrier shell deliver Settlement Statements, Including
any attachments, to Contractor through the OPTION specified by Contractor below:

    Contractor SHOULD INITIAL ONLY ONE OF THESE FOUR OPTIONS (on the line to the left):

                  OPTION I(U.S. First Class Mail): Carrier shall send the Settlement Statements to Contractor by U.S.
        First Class Mail to the address required by Section 13 (Notices) of this Agreement or to the address shown under
        OPTION 2of Section 4of this Appendix.

                 OPTION 2(Fax)      Carrier shall fax the Settlement Statements to Contractor at fax number


                OPTION 3(Email): Carrier shall email the Settlement Statements to Contractor at the email address
        shown in Appendix D (Consent to Conduct Business by Electronic Methods) of this Agreement If the parties
         avegreed to email communication by both parties so indicating In and then signing Appendix D.

                 OPTION 4(Online). Carrier shall post the Settlement Statements on the password-protected webpago,
        accessible only to Carrier and Contractor, Identified in Appendix D of this Agreement If the parties have agreed t
                                                                                                                         o
        online communication by both parties so Indicating in and then signing Appendix B.




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                                                                          CRST000042
         THIS APPENDIX S which completely replaces and supersedes any earlier appendix or addendum or other
provisions of this Agreement relating to the same subjects, is agreed to by the undersigned parties and shall be
effective at  _:_      in. Central Time on the       day of                    , 20_.




Contractor:                                                  Carrier , CRST Expedited, Inc.

 By:     /Wk h
             l                                               By:
        Signature                                                  gnaøre

Authorized Representatives Name (Typed or Printed)           Phillip Reges
                                                             Director OperaUons IC
                                                                    -            -




Title                    Driver's Name if Different          3930 16th Avenue
         3-                                                  Cedar Rapids, IA 52408
Date                     Tractor No.                         Tel. 319-731-3890
                                                             Fax 319-731-9245




                          CR81 Expedited,
                                        ,Inc. Independent Contractor Operating Agreement       Rev. October 2017
                                   CONTRACTOR COMPENSATION Page 9-4 -




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                                                                             CRST000043
                                                          APPENDIX C

                                          SUBLEASE OF EQUIPMENT LEASED TO


         Through    this   agreement    and    pursuant  to 49 C.F.R. § 376.12c(2) ç'Sublease"), the undersigned
                                                       ("Sublease Carrier') agrees to lease from CRST Expedited, Inc. C'Car-
rier"), and Carrier to lease to Sublease Carrier, the following commercial motor vehicle equipment ("Equipment"), currently
under lease from                                                          ("Contractor"):

   CONTRACTOR'S               CARRIER                                                       SERIAL                    BASE
   EQUIPMENT                  UNIT#           YEAR    MAKE                MODEL             (VIN)#                    PLATE#

   Tractor


          J.        TERM, Absent default, this Sublease shall begin at the time(s) set forth on completed Equipment Re-
ceipt(s), in the form attached hereto, that Sublease Carrier shall furnish to Carrier ("Effective Date"), and end when posses-
sion of the Equipment Is returned to Carrier. This Sublease may be terminated at any time for any reason by either party on
oral, followed by written, notice of termination to the other party. If, up to and including the date of termination, one or more
events occur that give rise, before or after that date, to aliability or entitlement of Sublease Carrier or Carrier under this Sub-
lease, such liability or entitlement shall continue, notwithstanding the termination of this Sublease, until such liability or enti-
tlement is satisfied in full.

          2.        IDENTIFICATION OF EQUiPMENT, Sublease Carrier shall ensure that for the duration of the Sublease,
the identification of equipment requirements in 49 C.F.R. §376.11(c) are complied with by removing or covering up all of
Carrier's identification on the Equipment and displaying instead Sublease Carder's identification.

          3.        CONTROL AND RESPONSIBILITY. Sublease Carrier shall have exclusive possession, control, and use
of the Equipment, and shall assume complete responsibility for the operation of the Equipment, for the duration of the Sub-
lease from the time possession is taken by the Sublease Carrier and the receipt required under 49 C.F.R. §376.11(b) is giv-
en to Carrier until possession of the Equipment Is returned to Carrier. The foregoing declarations are -made in order to com-
ply with FMCSA regulations @9 C.ER. §37O.12c(1)) and shall not be used to classify Contractor as an employee of Sub-
lease Carrier or Carrier. As 49 C.F.R. §376.12(c)(4) provides, nothing in the provisions required by 49 C.F.R. §376.12(c)(1)
is Intended to effect whether Contractor and Contractors drivers are Independent contractors or employees of Sublease Car-
rier or Carrier and "an independent contractor relationship may exist when acarrier lessee complies with 49 U.S.C. §14102
and attendant administrative requirements".

         4,       INDEMNIFICATION. Sublease Carrier shall defend, Indemnify, and hold harmless Carrier from any
claim (including any for which Carrier not Indemnified by Carrier's insurance and any claim of loss of or damage to
the Equipment or to Carrier's other property) of loss, damage. delay. fine, civil penalty, or expense. Including rea-
sonable attorney's foes and costs of litigation (together "Damages") that Carrier pays or otherwise incurs arislnq
out of or in connection with the Sublease Carrier's or Contractor's (including their respective aqents' or employees')
negligence, gross negligence, willful misconduct, or other culpable acts or omissions.                          -




         5.        INSURANCE Sublease Carrier agrees to, and warrants that Sublease Carrier does, maintain public liabil-
ity insurance (bodily-injury/property-damage coverage and environmental restoration coverage) and cargo loss-and-damage
coverage, In at least the amounts required by Federal Motor Carrier Safety Administration regulations promulgated under 49
U.S.C. §13906 and pursuant to applicable state laws, covering the Equipment for the duration of this Sublease. These in-
surance coverages shell be primary, as between Sublease Carrier and Carrier, to any insurance coverages that Carrier may
maintain. Sublease Carrier shall evidence the insurance coverages by furnishing to Carrier, along with this executed Sub-
lease, avalid certificate of insurance.

           6.      SUBLEASE CARRIER'S COMPENSATION OF CONTRACTOR, Sublease Carrier shall enter into an in-
 dependent contractor operating agreement with Contractor regarding compensation (including the sublease payments owed
 to Carrier pursuant to Section 7of this Appendix) and other terms that complies with the Federal Truth-in-Leasing Regula-
 tions, 49 C.F.R. Part 376, and shall pay Contractor the agreed compensation, within (fifteen) 15 calendar days after Contrac-
 tor submits to Sublease Carrier the driver log books required by the U.S. Department of Transportation and those documents
 necessary for Sublease Carrier to secure payment of freight charges from the shipper (together "Sublease Trip Documents").

          1.       SUBLEASE PAYMENTS, As consideration for this Sublease, Sublease Carder shall remit to Contractor
 at the same time Sublease Carrier pays compensation to Contractor for atrip, and Contractor has agreed to remit the same
 amount to Carrier, a$150-per-trip Alternative Use Fee,


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                                                                           CRST000044
          8.       DRIVER LOGS. Sublease Carrier shall obtain from Contractor acopy of all driver logs after each trip. All
driver logs should name both Carrier and Sublease Carrier; show all duty time for each 24-hour period of each trip; and the
beginning and finishing time (designating a.m. or p.m.) worked for each identified motor carrier. Pursuant to 49 C.F.R. §
395.8(j), before each Sublease trip, Contractor shall provide to Sublease Carrier asigned statement stating the Contractors
total time on duty during the immediately preceding seven days and the time at which Contractor was last relieved from duty
prior to beginning work for CARRIER.

           9.       CONTROLLED SUBSTANCES TESTING PROGRAM. Sublease Carder thai! obtain From Carrier at least
once every six months thereafter (if subleasing is continuing even intermittently) the following information relating to Carrier's
controlled substances testing program: the name and address of the program; averification that Contractor participates or
participated in the program; averification that the program conforms to 49 C.F.R. Part 40; a verification that Contractor is
qualified under 49 C.FR. Part 382, including that Contractor has not refused to be tested for controlled substances; the date
Contractor was last tested for controlled substances; and the results of any tests taken within the previous six months and
any other violations of Subpart B of 49 C.F.R. Part 382. If Sublease Carrier cannot verify that Contractor Is participating in a
controlled substances testing program in accordance with 49 C.F.R. Parts 40 and 382, Sublease Carrier shalt administer an
Initial controlled substances test to Contractor.

          to.       QUALIFICATION CERTIFICATE. By executing, along with Contractor, the attached Qualification Certili-
cate", Carrier hereby certifies that Contractor is fully qualified to drive a conithercial motor vehicle under the rules In 49
C.F.R. Part 391. Pursuant to 49 C.F.R. §39t65(b(1), Sublease Carder and Carrier agree that Sublease Carrier has veri-
fied the validity of the Qualification Certificate, Sublease Carrier agrees to maintain the Qualification Certificate for aperiod
of three years from the Effective Date of this Sublease.

          II.      DRIVER VEHICLE INSPECTION REPORTS AND REPAIR RECORDS. For the term of this Sublease,
Carrier shall require Contractor to prepare and submit awritten Driver Vehicle Inspection Report complying with the require-
ments of 49 C.F.R. §396.11, and Carrier shall obtain from Contractor and maintain all records relating to repairs of the
Equipment.

          12,    INTERNATIONAL REGISTRATION PLAN REPORTING. With respect to international Registration Plan
reporting, Sublease Carrier shall be responsible for reporting all miles traveled by Contractor's Equipment and in what
state(s). Sublease Carrier shall provide Carrier promptly with documentation showing all miles traveled by state for each trip.

         13.       INDEPENDENT CONTRACTOR RELATIONSHIP. It is the Intent of the parties to this Sublease that Sub-
lease Carrier, Carrier, and Contractor shall all be independent contractors.

       14.       COPY OF SUBLEASE, Sublease Carrier shall ensure that a copy of the Sublease is carried in the
Equipment for the duration of the Sublease.

         15,       GENERAL. If any provision Cincluding any sentence or pelt of asentence) of this Sublease (including its
appendices and addendunis) is deemed invalid for any reason whatsoever, the Sublease shall be void only as to such provi-
sion, and this Sublease shall remain otherwise binding between the parties. This Sublease (including the appendices and
any addendums) constitute the entire Sublease between Carrier and Sublease Carrier pertaining to the subject matter con-
tained herein and fully replaces and supersedes all prior and contemporaneous agreements, representations, and under-
standings. No supplement, modification, or amendment to this Sublease shall be binding unless in writing and signed by
both parties. Original, faxed, or otherwise imaged signatures shall be equally Valid.

           16.     GOVERNING LAW AND FORUM. This Sublease shalt be interpreted in accordance with, and governed
by, the laws of the United States and, of the State of Iowa, without regard to the choice-of-law rules of Iowa or any other ju-
risdiction. THE PARTIES AGREE THAT ANY CLAIM OR DISPUTE ARISING FROM OR IN CONNECTION WITH THIS
SUBLEASE, WHETHER UNDER FEDERAL STATE, LOCAL, OR FOREIGN LAW (INCLUDING BUT NOT LIMITED TO 49
C.F.R. PART 376), SHALL BE BROUGHT EXCLUSIVELY IN THE STATE OR FEDERAL COURTS SERVING CEDAR
RAPIDS, IA. CARRIER AND SUBLEASE CARRIER HEREBY CONSENT.TO THE JURISDICTION AND VENUE OF SUCH
COURTS.




          IN   WITNESS WHEREOF,           the   parties   hereby    execute    this   Sublease    on   this              day    of
                     ,20

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                                                                           CRST000045
SUBLEASE CARRIER:                                       CARRIER: CRST EXPEDITED, INC.
Fed. Taxpayer 1D No.



By: Signature                                             wlguree••
                                                        13Y.



Authorized Rep's Name (Typed or Printed)                 Phillip Reges
                                                         Director— Operations IC
                                                                             -



Tub                                                      3930 1& Avenue
                                                         Cedar Rapids, 1A 52406
Address (Street, P.
                  O. Box)                                Tel. 319-731-3890
                                                         Fax 319-731-9245
City, State & Zip Code

Mobile Telephone Number       Fax Number

Email Address




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                                                                           CRST000046
                                              QUALIFICATION CERTIFICATE

          Pursuant to 49 C.F.R. §391.66, CRST Expedited, Inc. "Carder") certifies that the undersigned independent con-
tractor ('Contractor'), as defined In 49 C.F.R. §390.5. is regularly driving acommercial motor vehicle operated by CARRIER
and is fully qualified under 49 C.F.R. Part 391.                  His current medical examiner's certificate expires on
                                 This Qualification Certificate expires on                              (a dale not later than
the expiration of the medical examiner's certificate).

Issued on                               by:

  CONTRACTOR:                                                   CARRIER: CRST EXPEDITED, INC.
  Check one:         LI Corporation
                     El Limited Liability Company
                     LI Partnership
                     0 Sole Proprietorship
  Organized in State of:
  With Employer ID No.:
  OR Social Security No. (last 4digits);

  By:                                                           By:   P77       I_7
          Signature                                                   Sig

  Authorized Rep.'s Name (Typed or Printed)                     Phillip Rages
                                                                Director Operations IC
                                                                            -         -




  Title                                                         3930 .18th Avenue
                                                                Cedar Rapids, IA 52405
  Address (Street. P.O. Box)                                    TeL 319-731-3890
                                                                FaX 319-731-9245
  City. State & Zip Code

  Mobile Telephone Number           Fax Number

  Email Address

  Date




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                                          SUBLEASE OF EQUIPMENT— Page 0-4




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                                                         APPENDIX D

                         CONSENT TO CONDUCT BUSINESS USING ELECTRONIC METHODS

     1. Pursuant to Regulatory Guidance Concerning Electronic Signatures and Documents, 74 Fed. Rag. 411 (Jan. 4,
2011). issued by the Federal Motor Carrier Safety Administrallon (FMCSA"), CRST Expedited. Inc. ('Carrier) and the con-
tractor who completes the signature block below rContractor") hereby consent and agree to conduct business using one or
more of the following methods:

         1(A).   Captured Image Method. Under the Captured Image Method, an image of ascripted name or legal mark
is created using astylus on an electronic pad, and that image is then used to populate an electronic version of the document
to be signed electronically by Carder, Contractor, or both, as authorized by FMCSA in its guidance in response to Question 6
at 74 Fed. Rag. 411, 413,

          1(B). Communications Equipment Method. Under the Communications Equipment Method, electronic signa-
tures are accomplished via the Communications Equipment System, as described In Section 5(E) of this Agreement and
Section 3of Appendix A, installed in the Equipment in amanner that identifies and authenticates Contractor as the user of
the System and the source of the electronic communication (i.e.. by Contractor's logging onto the System with Contractor's
unique Driver Number and Owner Number and electronically signing messages by appending to the electronic communica-
tion the last (our digits of Contractor's Social Security Number or another form of identification known only to Contractor).

         1(C). Web-Portal Method. Under the Web-Portal Method, electronic signatures are accomplished via aweb por-
tal in a manner that identifies and authenticates Contractor as the source of the electronic communication transmitted
through the web portal (i.e., by Contractor's logging onto the web portal using unique credentials) and Indicates Contractor's
approval of the Information contained in the electronic communication (i.e., by Contractor's clicking on an "I Accept" dialog
box after reviewing electronic communications on the web portal).

     2. This consent encompasses the use of electronic methods to accomplish the signature of any document, Including,
without limitation, any supplement, modification, addendum, amendment, notice, consent and/or waiver, required by this
Agreement or required by FMCSA regulations to be generated and maintained (or exchanged by private parties), including,
without limitation, applications, driver histories and other qualification records, leases formed under 49 C.F.R. Part 376, driv-
er-vehicle inspection reports, and records of duty status.

     3. The parties agree that when Contractor uses any of the above electronic methods described In Section 1of this
Appendix to accomplish electronic signatures, the chosen method: (1) identifies and authenticates contractor as the source
of the electronic communication; (2) Indicates Contractor's approval of the information contained in the electronic communi-
cation; and (3) produces an electronic document with the same integrity, accuracy, and accessibility as apaper document or
handwritten signature

     4. The parties agree that when Carrier uses any of the above electronic methods described in Section 1 of this Ap-
pendix to accomplish electronic signatures, the chosen method: (1) identifies and authenticates Carrier as the source of the
electronic communication; (2) indicates Carrier's approval of the information contained in the electronic communication; and
(3) produces an electronic document with the same integrity, accuracy, and accessibility as apaper document or handwritten
signature.

     5. Either party may elect, with respect to any document, to use amanual/hardcopy signature, provided that such elec-
tion shall not preclude the other party from applying an electronic signature, of the above-specified kind, to the same docu-
ment.




THIS APPENDIX D Is agreed to by the undersigned parties as of the latest date set forth below.

              -             CRST Expedited, Inc. Independent Contractor Operating Agreement Rev. October 2017
                      CONSENT TO CONDUCT BUSINESS USING ELECTRONIC METHODS Page D-1                -




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                                                                           CRST000048
Contractor:                                                  Carrier:       CRST Expedited, Inc.
                        Name (Typed or Printed)
If Sole Proprietor:
                        Social Security No. (last 4digits)
IF Corp., PrtnrshIp 3     LLC:
                                  Fed. Taxpayer ID No.

By:      &A,k- I
        Signature

Authorized Representative's Name (Typed or Printed)          Phillip Reges
                                                             Director Operations
                                                                        -          -   IC
                                                                    16th Avenue
Title
                                                             Cedar Rapids, IA 52406
Address (Street, P.O. Box)                                   Tel. 319-731-3890
                                                             Fax 319- 731 -9245
City. State & Zip Code

Telephone Number              Fax Number

EqalI Address

Date




                            CRST Expedited, Inc. Independent Contractor Operating Agreement Rev. October 2017
                      CONSENT TO CONDUCT BUSINESS USING ELECTRONIC METHODS Page D-2




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                                                                           CRST000049
                                                        APPENDIX E

                               PRIVACY-RELATED DISCLOSURES AND CONSENT FORM

         EOBR Renuirernent and Its Purposes. All Contractors that enter into an Independent Contractor Operating Agree-
ment ('Agreement') with CRST Expedited, Inc. ç'Carrioe') have, under the Agreement (including Section 4C)3)) and this
Appendix, agreed to maintain in each unit of Equipment (as defined in Section 1(A) of the Agreement) acompliant and func-
tioning Electronic On-Board Recorder (referred to in the Agreement and this Form as "Communication Syatem/EOBR" or
simply 'EOBR')), also sometimes referred to as an Electronic Logging Device ('ELD'). The principal purpose of this new
requirement is to assist Contractor's drivers and Carrier In complying with Federal Motor Carrier Safety Administration's
(FMCSK) Hours of Service regulations and other Applicable Law (as defined in Section 4of the Agreement) and in avoiding
adverse safety scores and FMCSA Interventions under FMCSA'S Compliance, Safety, Accountability ('CSA") Program. The
EOBR may also assist in providing load dispatching and tracking services to meet the requirements of Carriers customers.

         Categories of Electronic Information Collected by EOBR. The EOBR is capable of collecting various categories of
data regarding the Equipment and its operation, Including but not limited to (collectively "Electronic information'):

         •   Name of the driver and any co-driver(s), and corresponding driver identification information
         •   Duty status (that Is, 'Off Duly,' 'Sleeper Berth.' 'Driving," and 'On-Duty Not Driving')
         •   Date and time the Equipment is in operation
         o   Location of the Equipment (as determined by satellite or terrestrial sources)
             Distance travelled (including when the Equipment crosses state lines)
             Name and U.S. Department of Transportation number of Carrier
         •   24-hour period starting time
         •   Multiday basis used by Carrier to compute cumulative duty hours and driving time.
         •   Hours in each duty status for the 24-hour period, and total hours
         •   Equipment number
         •   Load information, such as shipping document number(s), or name of shipper and comrnodlty(ies)
         •   Fuel use, Including when the Equipment is refuelled
         •   Speed of the Equipment
         •   Hard-braking events
         •   Power-on self-tests and diagnostic error codes.                                          -




         The Electronic Information is transmitted from your Equipment to the third-party vendor of the EOBR (see below)
and than from the vendor to Carrier. Carrier may from time to time access certain categories of the Electronic Information In
furtherance of its efforts to comply with Applicable Law, Including FMCSA's Hours of Service regulations, or to meet custom-
er requirements.

          Carrier Uses of the Electronic Information. The third-party vendor Omnitacs, LLC
                                                                             -                  --responsible for the collection
and storage of the Electronic Information. Carder does not collect or store the Electronic Information, but has access to (he
Electronic Information and reserves the right to request that the third-party vendor collect and store the Electronic Infor-
mation for as long as the Equipment with the EOBR Installed operates under tease to Carrier, and for a reasonable time
thereafter. If Contractors or their drivers have questions about the safeguards those companies have put in place to protect
against the loss, unauthorized access, use, destruction, or improper disclosure of the Electronic Information may contact
Omnitracs. Inc. at http:/Avww.omnitracs.com Carrier has reasonable safeguards in place to secure the Electronic infor-
mation it receives from the third-party vendors, and limits access to the Electronic Information to authorized Individuals who
need to know the information In order to comply with Applicable Law, including the Hem's of Service Regulations.

          Right to Review Electronic Information. Contractor and any Contractor's driver shall have the right, on written re-
quest to Carrier, to review the collected Electronic Information that Carrier itself continues to have access to, but only Elec-
tronic Information rotating to the requesting Contractor (Including that contractors drivers') or the requesting driver, respec-
tively. A written request for such areview should be addressed to me by email or U.S.' Mall.

        Skininu This Form, By signing below, the listed Contractor (whether or not adriver) and Driver (If any, em-
ployed by Contractor) represents that he!she has read and understood the privacy-related disclosures described
above.

         CONSENT TO CARRIER'S ACCESSING CERTAIN SAFETY-PERFORMANCE DATA OF DRIVERS. In addi-
tion, by signing below, the listed Contractor (if adriver) and Driver (If any, employed by Contractor) authorize Carri-
er to access applicable driver files, FMCSA Safety Measurement System ("8MB") safety scores and other data, and
FMCSA's Pro-Employment Screening System ("PSP") reports on such driver, both during the qualification process
and at any time thereafter.


                              CRST Expedited, Inc. Independent Contractor Operating Agreement                Rev. October 2017
                            PRIVACY-RELATED DISCLOSURES AND CONSENT FORM Page E-1           -




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                                                                           CRST00005O
         If you have questions regarding the Electronic Information collected through the EOBR or how the Electronic Infor-
mation is accessed and used by Carrier, please feet free to contact your Operations Director. Thank you.




  If you are a Contractor (or authorized officer, partner,    OR, if you are aprofessional truck driver employed by
  member, or proprietor of one) for ORS Expedited. Inc.,      such aContractor, please complete this signature block:
  please complete this signature block:

  CONTRACTOR (Print Name):                                    DRIVER (Print Name):
                                                              Soc. Sec. No. (last 4digits only):
                                                              Employed by CONTRACTOR (Print Name):
  Employer ID No.:
  OR Soc. Sec. No. (lasi 4 igits only):


  By:     -kAA•1•                                             By:
                      A
          Signature                                                 Signature

  Printed Name of Authorized Rep., it any

  Title

  Mobile Telephone Number                                     Mobile Telephone Number

  Date                                                        Date




                              CRST Expedited, Inc. Independent Contractor Operating Agreement             Rev. October 20 17
                            PRIVACY-RELATED DISCLOSURES AND CONSENT FORM Page E-2        -




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                                                                             CRST000051
                                                  CRST EXPEDITED, INC.

                                                  STATEMENT OF LEASE

           q the extent ­provided by the Independent Contractor Operating Agreement entered into between
          Fit +hrt1 Ctyfcv-k"S                  (Contractor")     and    CRST        Expedited,     Inc.    (Carder")        on
                             c   ,  20jC'ICOA or "lease'), this Equipment is being operated by the undersigned Carrier.
Contractor is the Equipment's "owner," as the latter term is defined by 49 C.F.R. § 376.2(d). The ICOA Is for aterm com-
mencing at            _.m. Central Time on the             day of                     ,2Q     and ending at 11:59 p.m. Cfln-
tral Time on October 1, 2018, unless sooner terminated by either party pursuant to Section 14 of this Agreement and in-
cludes no restrictions relative to the comnioditis to be transported. The original of the ICOA Is kept by Carrier at its -head-
quarters address, shown below.                             -   -




       Pursuant to 49 C.F.R. §376.11(c)(2), A COPY OF THIS "STATEMENT OF LEASE" IS TO BE CARRIED ON THE
EQUIPMENT DURING ALL PERIODS THAT, PURSUANT TO THE ICOA, THE EQUIPMENT IS BEING OPERATED BY
OR ON BEHALF OF CARRIER.

 Contractor:                                                       Carder:        CRST Expedited, Inc.

 By: 4      .




         Signature
                                                                   ByJPJt
                                                                       Signatu

 Authorized Representative's Name (Typed or Printed)               Phillip Reges
                                                                   Director— Operations IC-




 Title                       Driver's Name If Different            3930 16'' Avenue
                                                 toO               Cedar Rapids, IA 52406
  Date                      Tractor No.     (1                     Tel. 319-731-3690
                                                                   Fax 319-731-9245




                               CRST Expedited, Inc. Independent Contractor Operating Agreement               Rev. October 2017
                                                   STATEMENT OF LEASE




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                                                                              CRST000052
                      CRST Expedited, Inc. Independent Contractor Operating Agreement

                                     ADDENDUM        EQUIPMENT LEASE CHARGES

          Whereas the undersigned Contactor has elected to lease a vehicle from CRST Lincoln Sales, Inc.. 3930 16
Avenue, SW, Cedar Rapids, IA, 52406.0068 ('Lincoln Sales')) to use as the Equipment under the CRST Expedited, Inc.
Independent Contractor Operating Agreement ('Agreement") Contractor has entered into with CRST Expedited, Inc.
('Carrier"), and whereas Contractor wishes to have Carrier, and Carrier is willing to, deduct the vehicle rent and reIted
payments from Contractor's settlement compensation or otherwise recover them pursuant to Section 6A of the Agreement,
the parties agree, pursuant lo Section 16(D)3 of the Agreement, to amend the Agreement as follows:

         1.       OVERALL LEASE PAYMENTS. Contractor hereby authorizes and directs Carrier to deduct from
Contractor's compensation or otherwise recover pursuant to Section 6A) of the Agreement, and to remit electronically to
Lincoln Sales each week, the Overall Lease Payment items computed under the attached "Authorization and Assignment"
and accompanying "Lincoln Sales, Inc. Equipment Lease," entered into by Contractor (as "Lessee") and Lincoln Saleaas
"Lessor") on                                 20_, in the varying amounts communicated to Carder by Lincoln Sales. Upon
termination of either the Agreement or the attached Equipment Lease, Contractor authorizes and directs Carrier to deduct
from Contractor's Escrow Fund (to the extent permitted under Section 8of the Agreement) or otherwise recover pursuant to
Section 6A) of the Agreement, to the extent Contractor's compensation is insufficient, all amounts due and owing Lincoln
Sales. This Addendum is being executed by Carrier and Contractor to comply ',i(li the requirements of 49 C.F.R. §
376.12(i).

       2.    CONTRACTOR HEREBY ACKNOWLEDGES THAT VEHICLES SUITABLE FOR CONTRACTOR'S
PROVISION OF SERVICES UNDER THE AGREEMENT ARE AVAILABLE FOR PURCHASE OR LEASE FROM
NUMEROUS VENDORS OTHER THAN LINCOLN SALES AND THAT CONTRACTOR IS NOT REQUIRED TO LEASE A
VEHICLE FROM LINCOLN SALES AS A CONDITION OF ENTERING INTO THE AGREEMENT.

         3.      LIMITED SCOPE AND COPIES. Except as expressly amended by this Addendum                      - or by other
addendums or amendments, if any, not inconsistent with this Addendum the Agreement shall remain In full force and effect
                                                                         -




in accordance with its terms. Carrier shall keep the original of this Addendum and furnish acopy, signed by both parties, to
Contractor. Both parties shall then attach this Addendum to their copy of the Agreement.

          THIS ADDENDUM, which completely replaces and supersedes any earlier appendix or addendum or other
 provisions of this Agreement relating to the same subjects, Is agreed to by the undersigned parties and shall be
 effective at_:_        m. Central Time on the         day of               20_.   ,




    CONTRACTOR:                                                CARlER: CRST EXPEDITED, INC,
                                                                ('T

    By:                     pA-                                By:
             Signature                                                    Ignaturo
                                                               Phill[D Reges
    Authorized Rep.'s Name (Typed or Printed)                  Authorized Rep.'s Name (Typed or Printed)

    Tijl                                                       Title

    Date                                                       Date




                                  CRST Expedited, Inc. Independent Contractor Operating Agreement          Rev. October 2017
                                          ADDENDUM EQUIPMENT LEASE CHARGES
                                                       -




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                                                                           CRST000053
                       CRST Expedited, Inc. Independent Contractor Operating Agreement

                             ADDENDUM         -   AMERICAN TRUCK BUSINESS SERVICES

        Whereas the undersigned Contractor wishes to purchase accounting and other services from American Truck
Business Services, and-whereas CRST Expedited, Inc. ('Carder") is willing to facilitate such purchase through settlement
deductions and other means of recovery, therefore, pursuant to Section 16(D)(3) of the CRST Expedited, Inc. Independent
Contractor Operating Agement (  '
                                Agreement) they have entered Into, the parties hereby agree to amend the Agreement as
                                                                   -




follows:

        1.       PURCHASE OF SERVICES. By signing this Addendum, Contractor elects to obtain accounting and other
business services from American Truck Business Services ("ATBS") in accordance with a contract between Contractor and
ATBS, documentation of which Is attached.

         2.       SETTLEMENT DEDUCTION OR OTHER RECOVERY. Contractor hereby authorizes and directs Carrier
to deduct or otherwise recover pursuant to Section 6(A) of the Agreement, and to remit to ATBS, initially $
per month and, in the future, such other amounts as may be billed by ATBS to Contractor through Carrier.

        3.        DISCONTINUATION. Contractor may discontinue the above deductions from compensation by requesting
such discontinuation in awritten notice to Carder, attaching acopy of the totter or other document by which Contractor has
given ATBS written notice of Contractors wish to cancel his/her participation in the plan.

         4.      LIMITED SCOPE AND COPIES. Except as expressly amended by this Addendum                        or by other
                                                                                                               -




àddendums or amendments, if any, not inconsistent with this Addendum the Agreement shall remain in full force and effect
                                                                        -




in accordance with its terms. Carrier shall keep the original of this Addendum and furnish acopy, signed by both parties, to
Contractor. Both parties shall then attach this Addendum to their copy of the Agreement.

        THIS ADDENDUM, which completely replaces and supersedes any earlier appendix or addendum or other
provisions of this Agreement relating to the same subjects, is agreed to by the undersigned parties and shall be
effective at      :        .m. Central Time on the         day of                 ,   20_.

    CONTRACTOR:                                               CARRIER: CRST EXPEDITED, INC.

    By:                                                       By                                         -



               Signature                                               'signature
                                                              Phillip Reqes
    Authorized Rep.'s Name (Typed or Pdned)                   Authorized Rep's Name (Typed or P(Inted)

    Title                                                     Title

    Date                                                      Date




                                CRST Expedited, Inc. Independent Contractor Operating Agreement              Rev. October 2017
                                   ADDENDUM AMERICAN TRUCK BUSINESS SERVICES
                                                   -




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                                                                           CRST000054
                        CRST Expedited, Inc. Independent Contractor Operating Agreement

                                         ADDENDUM        CO-DRIVER SCHOOLING

          Whereas the undersigned Contractor may wish in the future to have CRST Expedited, Inc. C'Carrieil arrange for
driver-t(aining of aco-driver, and whereas Carrier is willing to advance the expense and deduct or otherwise recover it From
Contractor pursuant to Section 6(A) of the CRST Expedited, Inc. Independent Contractor Operating Agreement
("Agreement) that Contractor and Carrier have entered into, the parties agree, pursuant to Section 1.6(13)(3) of the
Agreement, to amend the Agreement as follows :

          1.      CO-DRIVER SCHOOLING. If Contractor elects to have Carrier arrange for Co-Driver Schooling by
signing this Addendum. Carrier shalt arrange to have a driver-training school that it has approved furnish driver-training
services (including all necessary classroom and In-vehicle training, written training materials and housing cost) and driver-
qualification services (including DOT-required physical examination and prequalificalion drug test), beginning on
                         ,20    to

            (NAME]                                                                                              'Co-Driver")

            (STREETAbDRESS)

            (CiTY, STATE, ZIP CODE)

            (PHONE)

          2.       PAYMENT FOR SCHOOLING. Contractor hereby authorizes Carrier to deduct or otherwise recover
pursuant to Section 6(A) of the Agreement the cost of such driver-training services and driver-qualification services, which
shall total two thousand five hundred dollars ($2,500) (including administrative fee and markup to Carrier) at the rate of fifty
dollars ($50) per week, beginning with the week of                                            . 20_.    The total comprises
schooling and transportation expense paid to third-party vendors (including any admin. Fee to Carrier), drug testing expense
paid to third-party vendor (including any admin. fee to Carrier), actual lodging expense paid to third-party vendors (not
Including an admin. fee to Carrier), and aprocessing fee retained by Carder.

      3.     CONTRACTOR ACKNOWLEDGES THAT DRIVER TRAINING SUITABLE FOR CONTRACTOR'S
                   -




PLANNED CO-DRIVER IS AVAILABLE FOR PURCHASE FROM NUMEROUS DRIVER-TRAINING SCHOOLS OTHER
THAN CARRIER'S, AND THAT CONTRACTOR IS NOT REQUIRED TO OBTAIN DRIVER TRAINING FOR
CONTRACTOR'S CO-DRIVER FROM CARRIER'S SCHOOL AS A CONDITION OF ENTERING INTO THE AGREEMENT.

         4.      LIMITED SCOPE AND COPIES. Except as expressly amended by this Addendum                        or by other
                                                                                                                -




addendums or amendments, If any, not inconsistent with this Addendum the Agreement shall remain in full force and effect
                                                                           -


In accordance with its terms. Carrier shall keep the original of this Addendum and furnish acopy, signed by both parties, to
Contractor. Both part[es shall then attach this Addendum to their copy of the Agreement.

         THIS ADDENDUM, which completely replaces and supersedes any earlier appendix or addendum or other
provisions of this Agreement relating to the same subjects, Is agreed to by the undersigned parties and shall be
effective at_L._.     .n, central Time on the        day of               ,2O..  -




    CONTRACTOR: " j                                             CARRIER: CRT EXPEDITED, INC.

    By      /iu(        i1L1.
               sgntre                                                          flat
                                                                Ph llip Rages
                                                                   i


    Authorized Rep.'s Name (Typed or Printed)                   Authorized Rep.'s Name (Typed or Printed)

    Tilts                                                       Title

    Date                                                        Date




                               CRST Expedited, Inc. Independent Contractor Operating Agreement              Rev. October 2017
                                     -    ADDENDUM CO-DRIVER SCHOOLING
                                                         -




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                          CRST Expedited, Inc. Independent Contractor Operating Agreement
                                        ADDENDUM -DRIVER RECRUITING

         Whereas the undersigned Contractor may in the future wish to employ (together, "hire") an individual serving at the
time as an employee-driver by CR81 Expedited, Inc. ("Carrier"), and whereas Carder does not wish to lose the services of a
driver whom Carrier, on average, has incurred substantial expense to recruit and, in some instances, provide driver
schooling to, without receiving compensation, the parties agree, pursuant to Section 16(D)(3) of the CRST Expedited, inc.
Independent Contractor Operating Agreement ('Agreement") they have entered into, to amend the Agreement as follows:

         1.        LIMITATION ON HIRING. For the duration of the Agreement and for six months after Its termination,
Contractor shall not, without Carrier's prior written consent, hire an individual with acommercial drivers license ("CDL") who
is employed at the time as acommercial truck driver by Carrier.

        2.       RECRUITING FEE, If Contractor elects, with Carrier's prior written consent, to hire an individual with a
commercial drivers license ("CDL'), employed at the time by Carrier, Contractor agrees to pay Carrier afee, per driver, of:

                 2(A).    Six thousand live hundred dollars ($6,500). reflecting Carrier's approximate average cost of
recruiting anew employee-driver not including the cost of driver schooling to obtain aCDL), plus

                   2(B).     Any portion of the driver's driver-schooling expense not already reimbursed to Carrier if the driver
received, at Carrier's expense, driver schooling to obtain aCDL and has not yet fulfilled his/hercontractual conimitnentto
Carrier either to drive for Carrier for the contractually required number of months or to reimburse Carrier the full schooling-
expense amount set forth in the driver's driver-schooling contract with Carrier.

        3.        FULL FEE OWED, Contractor shall owe the full amount of the recruiting fee computed pursuant to
Section 2of this Addendum, regardless of how short aperiod the driver remains an employee of Contractor.

         4.       TIMING OF PAYMENTS, If Contractor elects not to pay the $6;500 employee-driver recruiting fee under
Section 2(A) of this Addendum in alump sum before the driver begins his/her service with Contractor, Conti-actor hereby
authorizes Carrier to deduct the fee In weekly installments of three hundred fifty dollars ($350) each, or otherwise recover it
pursuant to Section 6(A) of the Agreement, until fully paid. Any additional amount owed under Section 2(8) of this
Addendum, however, must be paid immediately In alump sum.

          5.       DRIVER QUALIFICATION. Carrier's employment of the driver shall cease immediately upon the driver's
first performing services for Contractor, If Carrier's employment of the driver has not already ended for other reasons. As
long as Contractor continues thereafter to provide services to Carrier pursuant to the Agreement and no otherwise
disqualifying circumstances develop, the driver shall remain qualified by Carrier, under Federal Motor Carrier Safety
Administration driver-qualification requirements, to operate Equipment leased to Carrier,

       6.     CONTRACTOR ACKNOWLEDGES THAT COMMERCIAL TRUCK DRIVERS CAPABLE OF MEETING
CARRIER'S DRIVER QUALIFICATIONS AND OF SERVING AS A DRIVER OF CONTRACTOR'S EQUIPMENT ARE
AVAILABLE FOR HIRE FROM SOURCES OTHER THAN CARRIER AND THAT CONTRACTOR IS NOT REQUIRED TO
HIRE A DRIVER EMPLOYED AT THE TIME BY CARRIER AS A CONDITION OF ENTERING INTO THE AGREEMENT,

         7.      LIMITED SCOPE AND COPIES. Except as expressly amended by this Addendum                        or by other
                                                                                                                 -




addendums or amendments, if any, not inconsistent with this Addendum the Agreement shall remain in full force and effect
                                                                             -




in accordance with Its terms. Carrier shall keep the original of this Addendum and furnish acopy, signed by both parties, to
Contractor. Both parties shall then attach this Addendum to their copy of the Agreement.

         THIS ADDENDUM, which completely replaces and supersedes any earlier appendix or addendum or other
provisions of this Agreement relating to the same subjects, Is agreed to by the undersigned parties and shall be
effective at  _:_   _.m. Central Time on the         day of               J 20_,


    CONTRACTOR                                                  CARRIER: CRST EXPEDITED, INC.

    By:                                                         By:
              Signature
                                                                Phillip Reqes
    Authorized Rep.
               Rep's
                   's Name (Typed or P(inted)                   Authorized Rep.'s Name (Typed or Printed)
                                                                Di rector Independent Contractors
                                                                         -




    Title 0                                                     Title

    Date                                                         Date




                                CRST Expedited, Inc. Independent Contractor Operating Agreement              Rev. October 2017
                                             ADDENDUM DRIVER RECRUITING
                                                           -




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